(1 of 130), Page 1 of 130   Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 1 of 130




                                               APPEAL NO. 24-142
                                UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
              PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                               Plaintiffs-Appellees,
                                                      v.
              RAÚL LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                            Defendants-Appellants,
                                                     and
               JAN M. BENNETTS, in official capacity as Ada County Prosecuting Attorney, et al.
                                                                                        Defendants.
                                On Appeal from the United States District Court
                            for the District of Idaho / Case No. 1:23-cv-00269-BLW

                              EXCERPTS OF RECORD OF APPELLANTS
                                        VOLUME 5 of 5

                 RAÚL R. LABRADOR              JOHN J. BURSCH              DAVID H. THOMPSON
                 ATTORNEY GENERAL              LINCOLN DAVIS WILSON        BRIAN W. BARNES
                 ALAN M. HURST                 ALLIANCE DEFENDING          JOHN D. RAMER
                 Solicitor General             FREEDOM                     COOPER & KIRK, PLLC
                                               440 First Street, NW,       1523 New Hampshire
                 JOSHUA N. TURNER              Suite 600                   Avenue, NW
                 Chief, Constitutional         Washington, DC 20001        Washington, DC 20036
                 Litigation and Policy         (202) 393-8690              202-220-9600
                 JAMES E. M. CRAIG             jbursch@ADFlegal.org        dthompson@cooperkirk.com
                 Chief, Civil Litigation and   lwilson@ADFlegal.org        bbarnes@cooperkirk.com
                 Constitutional Defense        JONATHAN A. SCRUGGS         jramer@cooperkirk.com
                 OFFICE OF IDAHO               HENRY W. FRAMPTON, IV
                 ATTORNEY GENERAL              ALLIANCE DEFENDING
                 700 W. Jefferson St.          FREEDOM
                 Boise, ID 83720               15100 N. 90th Street
                 (208) 334-2400                Scottsdale, AZ 85260
                 alan.hurst@ag.idaho.gov       (480) 444-0020
                 josh.turner@ag.idaho.gov      jscruggs@ADFlegal.org
                 james.craig@ag.idaho.gov      hframpton@ADFlegal.org
                                               Counsel for Appellants



                                                       i
(2 of 130), Page 2 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 2 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 1 of 8




            Li Nowlin-Sohl*                           Brad S. Karp*
            (admitted only in Washington)             Alexia D. Korberg*
            Leslie Cooper*                            Jackson Yates*
            Taylor Brown*                             Dana L. Kennedy*
            AMERICAN CIVIL LIBERTIES UNION            PAUL, WEISS, RIFKIND, WHARTON
            FOUNDATION                                & GARRISON LLP
            125 Broad St.                             1285 Avenue of the Americas
            New York, NY 10004                        New York, NY 10019
            Tel: (212) 549-2584                       Tel: (212) 373-3000
            lnowlin-sohl@aclu.org                     bkarp@paulweiss.com
            lcooper@aclu.org                          akorberg@paulweiss.com
            tbrown@aclu.org                           jyates@paulweiss.com
                                                      dkennedy@paulweiss.com

            Richard Eppink (ISB no. 7503)             *Admitted pro hac vice
            Casey Parsons (ISB no. 11323)
            David A. DeRoin (ISB no. 10404)           Attorneys for P laintif.fs
            WREST COLLECTIVE
            812 W. Franklin St.                       Additional counsel for Plaintiffe identified on
            Boise, ID 83702                           the following page
            Tel: (208) 742-6789
            ritchie@wrest.coop
            casey@wrest.coop
            david@wrest.coop


                              IN THE UNITED STATES DISTRICT COURT FOR
                                       THE DISTRICT OF IDAHO



             PAM POE, by and through her parents
             and next friends, Penny and Peter Poe;
             PENNY POE; PETER POE, et al.,
                                                          Case No. 1:23-cv-00269-CWD
                                  v.
                                       Plaintiffs,      DECLARATION OF PAM POE
                                                             IN SUPPORT OF
             RAUL LABRADOR, in his official             PLAINTIFFS' MOTION FOR A
             capacity as Attorney General ofIdaho,      PRELIMINARY INJUNCTION
             et al.,

                                       Defendants.




                                                                                            ER0937
(3 of 130), Page 3 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 3 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 2 of 8




            Eric Alan Stone*                        Jordan Orosz*
            Ariella C. Barel*                       PAUL, WEISS, RIFKIND, WHARTON
            Kyle Bersani*                           & GARRISON LLP
            GROOMBRIDGE, Wu, BAUGHMAN AND           2001 K Street, NW
            STONELLP                                Washington, DC 20006-1047
            565 5th A venue, Suite 2900             Tel: (202) 223-7300
            New York, NY 10017                      jorosz@paulweiss.com
            Tel: (332) 269-0030
            eric.stone@groombridgewu.com
            ariella. barel@groombridgewu.com
            kyle.bersani@groombridgewu.com

            Philip S. May*                          Dina Flores-Brewer (ISB no. 6141)
            GROOMBRIDGE, Wu, BAUGHMAN AND           ACLU OF IDAHO FOUNDATION
            STONELLP                                P.O. Box 1897
            801 17th St. NW, Suite 1050             Boise, ID 83701
            Washington, DC 20006                    (208) 344-9750
            Tel: (202) 505-5830                     Tel: dfloresbrewer@acluidaho.org
            philip.may@groombridgewu.com

            *Admitted pro hac vice                  Attorneys.for Plaintfffs




                                                                                        ER0938
(4 of 130), Page 4 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 4 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 3 of 8




                              DECLARATION OF PAM POE IN SUPPORT OF
                         PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

                  I, Pam Poe, hereby declare as follows:

                   1.     I am a fifteen-year-old transgender girl, living with my mom, dad, and sibling in

           Meridian, Idaho. I am a Plaintiff in this lawsuit and call myself "Pam Poe." Our counsel have

           explained to me and my family what a preliminary injunction is, and we eagerly join the other

           Plaintiffs in seeking an injunction. Our lawyers have helped me prepare this Declaration, but the

           story below is mine. I have personal knowledge of the facts I explain below, and I would testify

           to them if called as a witness.

                   2.      I have lived in Meridian, Idaho my entire life. I will be a sophomore in high school

           beginning in August 2023. I am interested in engineering, programming, and math. During the

           summer, I have a part-time job. This year is my second year working there.

                   3.      While I am a girl, I was designated male at birth. Growing up, I always felt different,

           like I was not really a boy, but I did not know how to describe those feelings. I also did not know

           how to describe the mental and emotional distress I began experiencing as I got older because I

           knew that my gender was wrong. I know that I am a girl, not a boy. I just want to live and be

           treated like any other girl.

                   4.      Around the time I was in 7th grade, as I began to experience puberty, I noticed how

           heavily I was struggling with depression, anxiety, and thoughts of self-harm. I started engaging in

           acts of self-injury. I did not really understand why exactly, but I was in a very dark place. During

           that time, there were times I felt like I did not want to exist anymore because I was so unhappy

           with what was happening to my body, feeling trapped and not like myself, and because people saw

           me as a boy and addressed me as one.




                                                              1

                                                                                                     ER0939
(5 of 130), Page 5 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 5 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 4 of 8




                    5.    Eventually, these feelings became so overwhelming that I finally told my mom what

           I was feeling in August 2021.

                    6.    I remember that moment clearly. We had a bunch of family over at the house, but

           I was feeling uncomfortable with myself, so I stayed in my room for most of the evening. As it got

           late that night, I realized that I could not wait any longer. I had to tell my mom my truth. I had

           been wanting to tell her for so long, but I was scared. I decided to text her and come out. I told

           her that I was non-binary (I was still exploring my gender identity and knew I was not a boy, but

           did not yet understand that I am a girl), that I wanted to be called "Pam," and that I wanted people

           to use different pronouns in referring to me. I was not sure how or if she was going to respond,

           because it was so late and she was entertaining family. But she did respond. She used my new

           name and told me that she loved me, and that we would talk about it in the morning, when things

           were quieter and we would have more privacy.

                    7.     The next morning my mom came into my room. She sat by me on the floor and

           hugged me. She told me that she loved me. It was very emotional, but I was so happy that she

           accepted me. Because we still had family in town and some staying with us, we also talked about

           who knew, who did not know, and who we should avoid finding out for now. My mom was already

           trying to protect me, and that also made me feel very happy, safe, and loved.

                    8.     I continued to try to understand my gender identity and who I am. Not long after

           coming out, I told my parents I was more comfortable with she/her pronouns. I knew I didn't feel

            like a boy and was coming to realize I didn't have to force a masculine presence on myself. I was

            still exploring whether nonbinary, transgender, or no gender felt like the right label for how I was

            feeling. I stopped trying to be the boy that society told me to be, and I focused on presenting my

            true self.



                                                             2

                                                                                                   ER0940
(6 of 130), Page 6 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 6 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 5 of 8




                  9.      My parents found a counselor, who I started seeing weekly. He diagnosed me with

           depression. Even with counseling, I continued to struggle. Due to puberty, my body was still

           changing in ways that were making me feel miserable, because with every change, I became more

           and more physically a boy, and I just knew that was not who I was.

                   10.    One day in early 2022, I sent my mom a text at 2am because I did not want to wake

           her, asking for admission to hospitalized care. I told her that I did not want to be alive anymore. It

           was hard to describe to her how I was feeling at the time. I decided that an inpatient stay at a

           residential treatment facility would help me and provide me with greater support. With my parents'

           support, I entered residential treatment at the end of February 2022 and stayed there for one week.

           During my time in inpatient treatment, I opened up more to one of the providers I was seeing about

           my gender identity and the distress, depression, and anxiety around my body. That provider

           diagnosed me with gender dysphoria, in addition to my depression and anxiety.

                   11.    Before, when I thought about the possibility of being diagnosed with gender

           dysphoria, I had assumed it would be something negative and that I would feel shame about the

           diagnosis. However, when I received the diagnosis, I felt relief and validation. I felt like I had

           permission to stop fighting my identity and pretending to be someone I wasn't. My body and its

           developments were causing me severe dysphoria, because I was unable to be seen by others as a

           girl, or even a feminine human being

                   12.     After I left the residential treatment facility, I was referred to a doctor who is an

           expert in treating gender dysphoria. Unfortunately, the next available appointment was not until a

           few weeks later, in May 2022.

                   13.     At the appointment, my doctor evaluated me, talked with my parents and me about

           the possibility of me being treated with puberty blockers, and discussed with us the benefits of


                                                             3

                                                                                                     ER0941
(7 of 130), Page 7 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 7 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 6 of 8




            treatment and the risks. I also had blood drawn to figure out where my body was, in terms of

            puberty. I remember leaving that first appointment with a huge smile and feeling just overwhelmed

            with relief . Learning that puberty blockers were possible and that they would stop the changes

            happening to my body took a huge weight off my shoulders and helped my mental health.

                    14.     At my next visit with the doctor, after again discussing everything we discussed at

            the first meeting, my parents and I, along with the doctor, decided that puberty blockers were the

            right treatment for me. I began puberty blockers in June 2022. I just felt so happy and relieved

            because I knew that it was going to stop what was happening to me. My mental health started to

            improve and only continued to improve over the next few months.

                    15.     A counselor had been recommended to us as someone with experience caring for

            people with gender dysphoria, and after several months on the waitlist, I began therapy with her

            in July 2022.

                    16.     With my parents' support, I had begun socially transitioning after coming out to

            them. I started wearing more feminine clothing, wearing makeup, and dying my hair and growing

            it out. Making these changes made me feel more like myself. Seeing that that my family saw me,

            accepted me, and treated me as who I really am also made me feel more like myself.

                   17.      Being able to be myself, because of the puberty blockers and socially transitioning,

            I became more confident. I was already out to my close friends and family, and I realized I was

            ready to reintroduce myself, my real self, to other people in my life. When I started high school in

            August 2022, I entered as a girl and have been treated as a girl since day one.

                   18.      Socially transitioning helped me feel like I wasn't hiding when I was in public. I

            felt more confident that people were seeing me, not the masculine role I was assigned. It didn't

            alleviate all of my distress though. I still constantly worried about people seeing certain parts of



                                                             4

                                                                                                   ER0942
(8 of 130), Page 8 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 8 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 7 of 8




            me that are not in line with my gender identity and expression. Puberty blockers paused more

            changes to my body that did not align with my gender identity, and I was still having a lot of gender

            dysphoria about the ways my body didn't align with my gender identity.

                   19.     In April 2023, after being on puberty blockers for almost a year, my parents and I

            had a conversation with my doctor about starting estrogen therapy. My doctor performed more

            bloodwork, talked to us about the potential risks and benefits of estrogen therapy, discussed options

            for fertility preservation, and confirmed my ongoing therapy and mental health support. My

            parents and I, in talking with my doctor, decided that estrogen therapy was the best and appropriate

            treatment for my gender dysphoria. I started treatment and I have been on estrogen ever since.

            Just like with the puberty blockers, the estrogen therapy has made such a difference in my life.

            My mental health is the best it has ever been. I am feeling more confident, happy, and excited that

            I am developing as a girl.

                   20.     Before I began gender-affrrming medical treatment, I was in a very dark place. I

            struggled so hard, with anxiety, depression, hiding away by myself, thoughts of self-harm, and

            even harming myself to cope with it all. The changes because of male puberty were making me

            miserable and causing all of those bad symptoms. I could not see a future for myself and did not

            want to exist. Gender-affrrming medical care saved my life. When I think back to that time, it

            makes me sad. I know it really scared my parents. It scared me too. I did not want to die, I just

            wanted to be myself, my true self. I am so glad that I told my parents about what I was struggling

            with. I wish I had told them sooner.

                    21.    It is hard for me to find the words to explain the difference in my life now that I am

            receiving gender-affrrming medical care and living as the girl that I know I am. I am happy and

            confident. I am excited about the future I see for myself.



                                                              5

                                                                                                    ER0943
(9 of 130), Page 9 of 130    Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 9 of 130
                      Case 1:23-cv-00269-BLW Document 32-2 Filed 07/21/23 Page 8 of 8




                   22.     That is also why I am incredibly anxious and scared about H.B. 71. My entire family

           is very scared. If H.B. 71 becomes law, I would have to stop receiving the medical treatment that

           has saved me. I have already lived through the extreme mental health symptoms of not receiving

           treatment and I never want to experience that again. I cannot go back to that.

                   23.     If H.B. 71 becomes law, my parents have talked about moving out of Idaho when

           my sister graduates from high school next year. We also talked about traveling to get care, but that

           would be a significant financial burden for my family. If we move, I will leave the only home I

           have ever known, my close community of friends, and my healthcare providers, who I trust, who

           have supported me, and who have changed iny life for the better. I do not want to leave. I want to

            stay in Idaho, in my home, and continue receiving the healthcare I need. Please, please do not let

           this law take effect.


                   I declare under penalty of perjury that the foregoing is true and correct.

                   Executed in Idaho, on this 18th day of July, 2023




                   Pam Poe




                                                             6

                                                                                                  ER0944
(10 of 130), Page 10 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 10 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 1 of 8




            Li Nowlin-Sohl*                                Brad S. Karp*
            (Admitted only in Washington)                  Alexia D. Korberg*
            Leslie Cooper*                                 Jackson Yates*
            Taylor Brown*                                  Dana L. Kennedy*
            AMERICAN CIVIL LIBERTIES UNION                 Jordan Orosz*
            FOUNDATION                                     PAUL, WEISS, RIFKIND, WHARTON
            125 Broad St.                                  & GARRISON LLP
            New York, NY 10004                             1285 6th Avenue
            Tel: (212) 549-2584                            New York, NY 10019
            lnowlin-sohl@aclu.org                          Tel: (212) 373-3000
            lcooper@aclu.org                               akorberg@paulweiss.com
            tbrown@aclu.org                                jyates@paulweiss.com
                                                           dkennedy@paulweiss.com
                                                           jorosz@paulweiss.com

            Richard Eppink (ISB no. 7503)                  *Admitted Pro hac vice
            David A. DeRoin (ISB no. 10404)
            Casey Parsons (ISB no. 11323)                  Attorneys for Plaintiffs
            WREST COLLECTIVE
            812 W. Franklin St.                            Additional counsel for Plaintiffs identified
            Boise, ID 83702                                on the following page
            Tel: (208) 742-6789
            ritchie@wrest.coop
            casey@wrest.coop
            david@wrest.coop


                              IN THE UNITED STATES DISTRICT COURT FOR
                                       THE DISTRICT OF IDAHO


             PAM POE, by and through her parents
             and next friends, Penny and Peter Poe;
             PENNY POE; PETER POE, et al.,                 Case No. 1:23-cv-00269-CWD
                               v.                         DECLARATION OF JANE DOE
                                       Plaintiffs,             IN SUPPORT OF
                                                          PLAINTIFFS’ MOTION FOR A
             RAÚL LABRADOR, in his official               PRELIMINARY INJUNCTION
             capacity as Attorney General of Idaho,
             et al.,                                  ]

                                       Defendants.




                                                                                             ER0945
(11 of 130), Page 11 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 11 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 2 of 8




             Eric Alan Stone*                       Jordan Orosz*
             Ariella C. Barel*                      PAUL, WEISS, RIFKIND, WHARTON
             Kyle Bersani*                          & GARRISON LLP
             GROOMBRIDGE, WU, BAUGHMAN AND          2001 K Street, NW
             STONE LLP                              Washington, DC 20006-1047
             565 5th Avenue, Suite 2900             Tel: (202) 223-7300
             New York, NY 10017                     jorosz@paulweiss.com
             Tel: (332) 269-0030
             eric.stone@groombridgewu.com
             ariella.barel@groombridgewu.com
             kyle.bersani@groombridgewu.com

             Philip S. May*                         Dina Flores-Brewer (ISB no. 6141)
             GROOMBRIDGE, WU, BAUGHMAN AND          ACLU OF IDAHO FOUNDATION
             STONE LLP                              P.O. Box 1897
             801 17th St. NW, Suite 1050            Boise, ID 83701
             Washington, DC 20006                   Tel: (208) 344-9750
             Tel: (202) 505-5830                    dfloresbrewer@acluidaho.org
             philip.may@groombridgewu.com

             *Admitted pro hac vice                 Attorneys for Plaintiffs




                                                                                    ER0946
(12 of 130), Page 12 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 12 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 3 of 8




                                DECLARATION OF JANE DOE IN SUPPORT OF
                            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                     I, Jane Doe, hereby declare as follows:

                     1.     I am a Plaintiff in this action, and refer to myself here as “Jane Doe.” I make this

            Declaration in support of my and the other Plaintiffs’ Motion for a Preliminary Injunction. My

            lawyers have helped me prepare this Declaration because I am not a lawyer and I have no

            experience with Declarations. The facts I describe below are about my own experience, however.

            I have personal knowledge of them, and would testify competently to them if called as a witness.

                     2.     I am a sixteen-year old girl. I live with my mom, dad, and siblings in Boise, Idaho,

            where I have lived my entire life. This fall, I will be a high school senior. After high school, I plan

            to attend college. I am in interested in majors related to computer coding, cybersecurity, or

            videogame development.

                     3.     I am transgender. I have a female gender identity, but I was designated as male at

            birth.

                     4.     I have gender dysphoria, and was diagnosed with gender dysphoria by my doctor

            in November 2020.

                     5.     For as long as I can remember, I knew that something felt off about my being a boy.

            I have always naturally related to other girls, felt the most like myself around other girls, and had

            similar interests as other girls. When I was younger, I did not have the words to express my feelings

            related to my gender identity or being transgender. But I knew it even before I knew the words for

            it.

                     6.     In school, when we would be divided into girls’ teams and boys’ teams, I always

            wanted to be and felt like I belonged on the girls’ team. When I would play “make believe” with

            my friends, I was always a girl character. When I would play video games, I would almost always

                                                               1

                                                                                                      ER0947
(13 of 130), Page 13 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 13 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 4 of 8




            choose a girl avatar. My mom and dad have told me that when I was little and my mom was

            pregnant with my younger sibling, I would lay down and place a doll on my stomach and tell them

            that I wanted to be a mom.

                   7.      While I always felt like I was not a boy, it was difficult and scary for me to address

            these feelings. That distress became severe with puberty. I now understand this to be gender

            dysphoria. But I never tried to tell my parents about my feelings when I was young, out of my own

            fear of rejection from friends and the community.

                   8.      I did not meet a transgender person, or at least someone I knew was transgender,

            until I was about 10 years old and met a transgender woman who was friends with my parents. My

            parents explained to me that their friend was transgender, that she had been born a boy but was a

            woman on the inside, and was now living her life as a woman. It was like hearing them describe

            my own life to me. Before that, I did not know that transitioning was even possible. I was

            immediately excited about the possibility that I could do the same one day.

                   9.      In 2018, my body started changing as I entered puberty. It became increasingly

            devastating to me, and my mental health began to deteriorate. The changes to my body made me

            look like a boy. I remember that I would often refuse to allow my photograph to be taken during

            that time because of the pain it caused me seeing myself as someone I was not. I could not hide all

            of the physical changes, and I would often self-isolate and avoid social settings. I wanted to be

            social, but the pain of being perceived as a boy and seeing myself with male features was too much

            to bear. I also began to suffer academically at school because I could not focus on my schoolwork

            due to the severe mental health issues my gender dysphoria was causing me. There were times that

            I simply just did not want to exist because the physical changes to my body were trapping me in

            an existence that was not me and caused me so much pain, on a constant basis.


                                                             2

                                                                                                    ER0948
(14 of 130), Page 14 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 14 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 5 of 8




                   10.     In June 2020, my gender dysphoria had intensified so badly that I needed to tell

            someone. I told one friend in July and then a couple more in September. In late September 2020, I

            finally found the courage to tell my parents that I am transgender, that I am a girl, that I was

            suffering, and that I needed help. My parents did not hesitate. They told me they loved me, they

            would support me in anything, and they just wanted me to be happy and healthy.

                   11.     With my parents’ support, I began socially transitioning in October 2020. I began

            going by a female first name and using feminine pronouns. I wore a feminine hairstyle and I started

            wearing girls’ clothes. I told my mom I wanted to wear makeup and, as part of all of the ways in

            which she supported me when I asked for her help, she taught me about makeup and how to apply

            it. All of this helped my gender dysphoria, but I was still experiencing male puberty, which was

            causing significant physical changes to my body that I could not hide or cover up with makeup or

            clothes. And I knew that some of these unwanted changes would be permanent. My gender

            dysphoria was still causing me significant pain.

                   12.     In mid-October 2020, my parents and I had a visit with my pediatrician to discuss

            what I was experiencing. My pediatrician referred me to a doctor who specializes in the treatment

            of gender dysphoria. My parents also found a therapist for me.

                   13.     We had our first visit with the doctor in November 2020. The doctor examined me,

            asked me about my experience regarding my gender over the years, took blood for tests, and talked

            to me about the options for treating gender dysphoria based on my age, the risks and benefits of

            treatment, and things we could do to preserve my ability to have children.

                   14.     After several months of therapy, an additional visit with the doctor, and much

            discussion with my parents, we decided to start on puberty blockers. I began receiving that

            treatment in January 2021.


                                                               3

                                                                                                  ER0949
(15 of 130), Page 15 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 15 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 6 of 8




                   15.     The puberty blockers stopped any new changes from happening to my body and

            prevented my gender dysphoria from getting worse. Knowing that further changes would not

            happen was a big relief to me and improved my mental health.

                   16.     After a few successful months on puberty blockers, we began talking about starting

            gender-affirming estrogen therapy. I spoke to my parents about it and during one of our visits with

            my doctor, he talked to my parents and me about the risks and benefits of estrogen therapy and

            fertility preservation, and he drew more blood for tests. Eventually, my parents and I agreed that

            gender-affirming estrogen therapy was appropriate for me. The doctor agreed. In April 2021, at the

            age of 14, I began a low dose of gender-affirming estrogen therapy.

                   17.     Since April 2021, I see my doctor regularly for lab work, so that he can make sure

            I remain healthy and so he can check my hormone levels and change my estrogen dosage if needed

            to remain in target ranges for my age.

                   18.     Estrogen has been amazing. It has changed my body in more feminine ways that I

            am so happy with. Seeing these bodily changes has helped my gender dysphoria a lot, and I feel

            like my body more accurately reflects who I am.

                   19.     With the help of my parents, I began legally transitioning in 2023. My parents and

            I first obtained a court-ordered name change in Idaho. We then had my Idaho birth certificate

            corrected with my new legal name and we corrected the gender marker, changing it from male to

            female. My parents also helped me update my information with the United States Social Security

            Office and helped me obtain a United States passport with my new legal name and a female gender

            marker.

                   20.     My parents and I also spoke to the administrators at my school, who were great

            about everything. They readily corrected my name and gender marker in my digital school records,


                                                            4

                                                                                                  ER0950
(16 of 130), Page 16 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 16 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 7 of 8




            so that my teachers and any substitute teachers would not use the wrong name for me or the wrong

            pronouns and gender. This is really important to me, and I am so glad that the administrators at my

            school are supportive of me.

                   21.     Being able to medically transition and see myself, and be seen by others, as the girl

            I am absolutely saved my life. Before I told my parents I was transgender and about the feelings

            of my gender dysphoria, I was not me. I was isolating myself, depressed, anxious, and I felt trapped

            and scared almost daily. I could not see a future for myself and did not want to exist. I am so

            grateful that when I told my parents about what I was experiencing, they listened to me, trusted

            me, and took me to providers who could give me the gender-affirming health care that I needed to

            be who I am.

                   22.     My whole life has turned around. I am confident in who I am. My academics have

            improved. My mental health has improved substantially. I no longer feel the need to isolate, and I

            can live my life more fully and authentically. I am excited about what comes next in my life and

            everything I hope to do in the future.

                   23.     Now all of that is at risk because of H.B. 71 and I am really scared. My parents and

            siblings are scared, and the others who love and care about me are scared, too. The anxiety from

            H.B. 71 and the possibility of my healthcare being taken away and having to go back to life as it

            was before I began receiving gender-affirming medical care is very stressful and harmful to my

            mental health. It caused me to miss a lot of school while the law was being debated. As a result,

            my grades suffered last semester.

                   24.     If H.B. 71 becomes law, I would no longer be able to receive the estrogen therapy

            that I have been on for over two years that treats my gender dysphoria. I fear what would happen




                                                             5

                                                                                                   ER0951
(17 of 130), Page 17 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 17 of 130
                     Case 1:23-cv-00269-BLW Document 32-4 Filed 07/21/23 Page 8 of 8




           to my mental, emotional, and physical health if my medication is cut off because of H.B. 71 and

           I have to resume male puberty. 1 have already lived that pain.

                   25.     M parents have talked to my siblings and me about trying to find care for me

           out of state or selling our house and leaving Idaho-the only home I've ever known-because of

           H.B. 71. I don't know if we can find care out of state or what it would look like to have to

           regularl tra el for healthcare. Having to move would mean losing my friends, my family, my

           home. my community, my school, and everything that I have always known. It would mean the

           same for my parents and siblings. My oldest sibling is starting college in Idaho in the fall. I

           worry about what impact moving will have on him, his college plans, and our relationship. I do

           not want to move to a different state far away from him. I do not want any of this. I just want to

            stay in Idaho, my home, and continue receiving the healthcare I have been receiving that has

           made the life I am now living possible. But if H.B. 71 goes into effect, my family understands

           that this healthcare is so central to my wellbeing that we will likely have no other choice but to

           move out ofldaho.

                   26.    I ask that the Court please help me. Please do not let my healthcare be taken away.


                   I declare under penalty of perjury that the foregoing is true and correct.

                   Executed in Idaho, on this 18th day of July, 2023



                                                                                                     '
                   Jane Doe




                                                             6

                                                                                                 ER0952
(18 of 130), Page 18 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 18 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 1 of 49




            Li Nowlin-Sohl*                              Brad S. Karp*
            (admitted only in Washington)                Alexia D. Korberg*
            Leslie Cooper*                               Jackson Yates*
            Taylor Brown*                                Dana L. Kennedy*
            AMERICAN CIVIL LIBERTIES UNION               PAUL, WEISS, RIFKIND, WHARTON
            FOUNDATION                                   & GARRISON LLP
            125 Broad St.                                1285 Avenue of the Americas
            New York, NY 10004                           New York, NY 10019
            Tel: (212) 549-2584                          Tel: (212) 373-3000
            lnowlin-sohl@aclu.org                        bkarp@paulweiss.com
            lcooper@aclu.org                             akorberg@paulweiss.com
            tbrown@aclu.org                              jyates@paulweiss.com
                                                         dkennedy@paulweiss.com

            Richard Eppink (ISB no. 7503)                *Admitted pro hac vice
            Casey Parsons (ISB no. 11323)
            David A. DeRoin (ISB no. 10404)              Attorneys for Plaintiffs
            WREST COLLECTIVE
            812 W. Franklin St.                          Additional counsel for Plaintiffs identified on
            Boise, ID 83702                              the following page
            Tel: (208) 742-6789
            ritchie@wrest.coop
            casey@wrest.coop
            david@wrest.coop

                                   UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF IDAHO

            PAM POE, by and through her parents and next friends,
            Penny and Peter Poe; PENNY POE; PETER POE; JANE
            DOE, by and through her parents and next friends, Joan and
            John Doe; JOAN DOE; JOHN DOE,
                     Plaintiffs,                                         Case No. 1:23-cv-00269-CWD
                                          v.
            RAÚL LABRADOR, in his official capacity as Attorney
            General of the State of Idaho; JAN M. BENNETTS, in her
            official capacity as County Prosecuting Attorney for Ada,
            Idaho; and the INDIVIDUAL MEMBERS OF THE
            IDAHO CODE COMMISSION, in their official capacities,
                     Defendants.

                   EXPERT REBUTTAL DECLARATION OF JACK TURBAN, MD, MHS




                                                                                              ER0953
(19 of 130), Page 19 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 19 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 2 of 49




            Eric Alan Stone*                       Jordan Orosz*
            Ariella C. Barel*                      PAUL, WEISS, RIFKIND, WHARTON
            Kyle Bersani*                          & GARRISON LLP
            GROOMBRIDGE, WU, BAUGHMAN AND          2001 K Street, NW
            STONE LLP                              Washington, DC 20006-1047
            565 5th Avenue, Suite 2900             Tel: (202) 223-7300
            New York, NY 10017                     jorosz@paulweiss.com
            Tel: (332) 269-0030
            eric.stone@groombridgewu.com
            ariella.barel@groombridgewu.com
            kyle.bersani@groombridgewu.com

            Philip S. May*                         Dina Flores-Brewer (ISB no. 6141)
            GROOMBRIDGE, WU, BAUGHMAN AND          ACLU OF IDAHO FOUNDATION
            STONE LLP                              P.O. Box 1897
            801 17th St. NW, Suite 1050            Boise, ID 83701
            Washington, DC 20006                   (208) 344-9750
            Tel: (202) 505-5830                    dfloresbrewer@acluidaho.org
            philip.may@groombridgewu.com

            *Admitted pro hac vice                 Attorneys for Plaintiffs




                                                                                   ER0954
(20 of 130), Page 20 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 20 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 3 of 49




            I, JACK TURBAN, MD, MHS hereby declare as follows:

                   1.     I have been retained by counsel for Plaintiffs as an expert witness in connection with

            the above-captioned litigation.

                   2.      I have actual knowledge of the matters stated herein.

                   3.      In preparing this declaration, I reviewed the State’s combined memorandum of law

            in opposition to motion for preliminary injunction and in support of motion to dismiss and the

            expert declarations by Drs. James Cantor and Daniel Weiss. The materials I have relied upon in

            preparing this declaration are the same types of materials that experts in my field of study regularly

            rely upon when forming opinions on the subject. I may wish to supplement these opinions or the

            bases for them as a result of new scientific research or publications or other developments in my

            area of expertise.

                                      BACKGROUND AND QUALIFICATIONS

                   4.      My curriculum vitae is attached as Exhibit A to this declaration. I am currently an

            Assistant Professor of Child & Adolescent Psychiatry at the University of California, San

            Francisco (UCSF) School of Medicine, where I am also Affiliate Faculty at the Philip R. Lee

            Institute for Health Policy Studies. As a member of the faculty at UCSF, I serve as director of the

            Gender Psychiatry Program in the Division of Child & Adolescent Psychiatry. I also serve as an

            attending psychiatrist in the adult LGBT psychiatry clinic and in the eating disorders program. In

            my career, I have cared for at least 100 adolescents with gender dysphoria. In addition to my

            clinical work, I conduct research focusing on the determinants of mental health among transgender

            youth and teach medical students, psychology trainees, psychiatry residents, and child and

            adolescent psychiatry fellows.

                   5.      I received my undergraduate degree in neuroscience from Harvard College. I

            received both my MD and Master of Health Science (MHS) degrees from Yale University School
                                                              1

                                                                                                     ER0955
(21 of 130), Page 21 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 21 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 4 of 49




            of Medicine. I completed residency training in general psychiatry in the combined Massachusetts

            General Hospital / McLean Hospital residency training program (Harvard Medical School) and

            fellowship training in child and adolescent psychiatry at Stanford University. I am board certified

            in psychiatry by The American Board of Psychiatry and Neurology.

                   6.      My research focuses on the mental health of transgender youth and youth

            experiencing gender dysphoria. While at Yale, I was awarded the Ferris Prize for my thesis entitled

            “Evolving Treatment Paradigms for Transgender Youth.” In 2017, I received the United States

            Preventative Health Services Award for Excellence in Public Health based on my work related to

            the mental health of transgender youth. I have lectured on the mental health of transgender youth

            at Yale School of Medicine, UCSF, Stanford University, and The Massachusetts General Hospital

            (a teaching hospital of Harvard Medical School). I have given invited grand rounds presentations

            at academic institutions around the country and have presented nationally and internationally on

            topics related to the mental health of transgender people and people experiencing gender

            dysphoria.

                   7.      I have served as a manuscript reviewer for numerous professional publications,

            including The Journal of The American Medical Association (JAMA), JAMA Pediatrics, JAMA

            Psychiatry, The Journal of The American Academy of Child & Adolescent Psychiatry, Pediatrics,

            The Journal of Adolescent Health, and The American Journal of Public Health. I received

            commendation as a top peer reviewer from Annals of Internal Medicine, the academic journal of

            the American College of Physicians. I am an academic editor for the journal PLoS One and a

            contributing editor for The Journal of The American Academy of Child & Adolescent Psychiatry.

            I have served as lead author for textbook chapters on the mental health of transgender youth,

            including for Lewis’s Child & Adolescent Psychiatry: A Comprehensive Textbook and the textbook



                                                            2

                                                                                                  ER0956
(22 of 130), Page 22 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 22 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 5 of 49




            of The International Academy for Child & Adolescent Psychiatry and Allied Professionals. I am

            co-editor of the textbook Pediatric Gender Identity: Gender-Affirming Care for Transgender and

            Gender Diverse Youth.

                    8.     I have published extensively on the topic of transgender youth, including nine

            articles in peer-reviewed journals within the past two years.

                    9.     In the last four years, I have been retained as an expert and provided testimony at

            trial or by deposition in the following cases: Brandt et al. v. Rutledge, et al., No. 21-CV-450 (D.

            Ark.) (deposition and trial testimony); K.C. v. Medical Licensing Board of Indiana, No. 1:23-cv-

            00595-JPH-KMB (S.D. Ind.) (deposition).

                    10.    I am being compensated at an hourly rate of $400 per hour for preparation of expert

            declarations and reports and time spent preparing for or giving deposition or trial testimony. My

            compensation does not depend on the outcome of this litigation, the opinions I express, or the

            testimony I provide.

                THERE IS NO BASIS FOR THE STATE’S EXPERTS’ ASSERTIONS THAT THERE IS
                NO RELIABLE RESEARCH SHOWING THE EFFICACY AND EFFECTIVENESS OF
                        GENDER-AFFIRMING MEDICAL CARE FOR ADOLESCENTS

                    11.    There are over a dozen studies evaluating the efficacy and effectiveness 1 of puberty

            blockers and gender-affirming hormones for the treatment of adolescents with gender dysphoria. 2


            1
              Efficacy refers to studies looking at an intervention under “ideal circumstances” (e.g., in a
            research clinic), whereas effectiveness studies look at the impact of an intervention under “real
            world” conditions (i.e., in the general community practice setting).
            2
             Such studies include: De Vries, A. L., Steensma, T. D., Doreleijers, T. A., & Cohen‐Kettenis, P.
            T. (2011). Puberty suppression in adolescents with gender identity disorder: A prospective follow‐
            up study. The Journal of Sexual Medicine, 8(8), 2276-2283; De Vries, A. L., McGuire, J. K.,
            Steensma, T. D., Wagenaar, E. C., Doreleijers, T. A., & Cohen-Kettenis, P. T. (2014). Young adult
            psychological outcome after puberty suppression and gender reassignment. Pediatrics, 134(4),
            696-704; Costa, R., Dunsford, M., Skagerberg, E., Holt, V., Carmichael, P., & Colizzi, M. (2015).
            Psychological support, puberty suppression, and psychosocial functioning in adolescents with
            gender dysphoria. The Journal of Sexual Medicine, 12(11), 2206-2214; Allen, L. R., Watson, L.
                                                             3

                                                                                                   ER0957
(23 of 130), Page 23 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 23 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 6 of 49




            These studies can be roughly delineated into two categories: uncontrolled longitudinal studies and

            controlled cross-sectional studies. Uncontrolled longitudinal studies (e.g., Chen et al. New

            England Journal of Medicine 2023 3 and deVries et al. Journal of Sexual Medicine 2011 4) have

            examined mental health before and after gender-affirming medical interventions and found that

            mental health is improved after treatment. Controlled cross-sectional studies (e.g., van der Miesen




            B., Egan, A. M., & Moser, C. N. (2019). Well-being and suicidality among transgender youth after
            gender-affirming hormones. Clinical Practice in Pediatric Psychology, 7(3), 302-311; Kaltiala,
            R., Heino, E., Työläjärvi, M., & Suomalainen, L. (2020). Adolescent development and
            psychosocial functioning after starting cross-sex hormones for gender dysphoria. Nordic Journal
            of Psychiatry, 74(3), 213-219; de Lara, D. L., Rodríguez, O. P., Flores, I. C., Masa, J. L. P.,
            Campos-Muñoz, L., Hernández, M. C., & Amador, J. T. R. (2020). Psychosocial assessment in
            transgender adolescents. Anales de Pediatría (English Edition), 93(1), 41-48; van der Miesen, A.
            I., Steensma, T. D., de Vries, A. L., Bos, H., & Popma, A. (2020). Psychological functioning in
            transgender adolescents before and after gender-affirmative care compared with cisgender general
            population peers. Journal of Adolescent Health, 66(6), 699-704; Kuper, L. E., Stewart, S., Preston,
            S., Lau, M., & Lopez, X. (2020). Body dissatisfaction and mental health outcomes of youth on
            gender-affirming hormone therapy. Pediatrics, 145(4), e20193006; Turban, J. L., King, D.,
            Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal suppression for transgender youth and risk
            of suicidal ideation. Pediatrics, 145(2), e20191725; Green, A. E., DeChants, J. P., Price, M. N., &
            Davis, C. K. (2021). Association of gender-affirming hormone therapy with depression, thoughts
            of suicide, and attempted suicide among transgender and nonbinary youth. Journal of Adolescent
            Health, 70(4), 643-649; Turban, J. L., King, D., Kobe, J., Reisner, S. L., & Keuroghlian, A. S.
            (2022). Access to gender-affirming hormones during adolescence and mental health outcomes
            among transgender adults. PLoS One, 17(1), e0261039; Tordoff, D. M., Wanta, J. W., Collin, A.,
            Stephney, C., Inwards-Breland, D. J., Ahrens, K. (2022). Mental Health Outcomes in Transgender
            and Nonbinary Youths Receiving Gender-Affirming Care. JAMA Network Open, 5(2), e220978;
            Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A., Rosenthal, S. M.,
            Tishelman, A. C., & Olson-Kennedy, J. (2023). Psychosocial functioning in transgender youth
            after 2 years of hormones. New England Journal of Medicine, 388(3), 240-250.
            3
             Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A., Rosenthal, S. M.,
            Tishelman, A.C., & Olson-Kennedy, J. (2023). Psychosocial functioning in transgender youth after
            2 years of hormones. New England Journal of Medicine, 388(3), 240-250.
            4
              De Vries, A. L., Steensma, T. D., Doreleijers, T. A., & Cohen‐Kettenis, P. T. (2011). Puberty
            suppression in adolescents with gender identity disorder: A prospective follow‐up study. The
            Journal of Sexual Medicine, 8(8), 2276-2283.

                                                            4

                                                                                                  ER0958
(24 of 130), Page 24 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 24 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 7 of 49




            et al. Journal of Adolescent Health 5 and Turban et al. PLoS One6) have compared those who

            accessed gender-affirming medical care to those who desired but did not access this treatment and

            found that those who accessed treatment had better mental health outcomes. These two types of

            study designs offer complementary information that make experts in this field confident regarding

            the mental health benefits of these treatments. These studies are additionally supplemented by

            decades of clinical experience from experts around the world who care for adolescents with gender

            dysphoria.

                   12.     The State’s experts devote many pages to quarreling with individual studies’

            methodologies. All studies in medicine have strengths and weaknesses, and one must examine the

            body of literature as a whole to draw conclusions. Examining the body of literature regarding

            gender-affirming medical care for adolescent gender dysphoria as a whole provides a rich scientific

            perspective, linking these treatments to clear mental health benefits.

                   13.     The State’s experts often discuss the concept of “confounding” variables—the

            notion that certain other variables that are related to gender-affirming care and mental health

            outcomes may be the true reason for observed mental health benefits.             The question of

            “confounding effect” has been examined in several ways. For instance, a 2022 paper from my

            research group that assessed the relationship between treatment with gender-affirming medical

            interventions and improved mental health statistically adjusted for a range of potentially

            confounding variables including age, gender identity, sex assigned at birth, sexual orientation,



            5
              van der Miesen, A. I., Steensma, T. D., de Vries, A. L., Bos, H., & Popma, A. (2020).
            Psychological functioning in transgender adolescents before and after gender-affirmative care
            compared with cisgender general population peers. Journal of Adolescent Health, 66(6), 699-704.
            6
             Turban, J. L., King, D., Kobe, J., Reisner, S. L., & Keuroghlian, A. S. (2022). Access to gender-
            affirming hormones during adolescence and mental health outcomes among transgender
            adults. PLoS One, 17(1), e0261039

                                                             5

                                                                                                  ER0959
(25 of 130), Page 25 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 25 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 8 of 49




            race/ethnicity, level of family support for gender identity, relationship status, level of education,

            employment status, household income, having ever received pubertal suppression, having ever

            been exposed to gender identity conversion efforts, and having experienced any harassment based

            on gender identity in school. 7 Even after adjusting for these potential confounding factors, the

            study found that treatment with gender-affirming medical care during adolescence was associated

            with lower odds of adverse mental health outcomes.

                   14.     A potential confounder that the State’s experts raise in particular is whether or not

            participants received supportive psychotherapy in addition to gender-affirming medical care. Of

            note, there is no evidence-based psychotherapy that treats gender dysphoria itself, so such therapy

            is generally aimed at supporting the patient in general with their mental health. Some studies

            assessing gender-affirming medical care in adolescents have taken psychotherapy into account and

            found that benefits seen were not explained by the psychotherapy. Costa et al. 8 examined two

            cohorts of adolescents with gender dysphoria. Both cohorts received six months of supportive

            psychotherapy for the initial six months of the study. For the next twelve months, one group

            continued to receive supportive psychotherapy alone (the “delayed eligible” group), while the

            other received supportive psychotherapy and pubertal suppression (the “immediately eligible”

            group). The delayed eligible group had statistically significant improvement in global functioning

            after six months of psychotherapy alone. Of note, this supportive psychotherapy was aimed at

            improving mental health generally, not gender dysphoria specifically. The delayed eligible group



            7
             Turban, J. L., King, D., Kobe, J., Reisner, S. L., & Keuroghlian, A. S. (2022). Access to gender-
            affirming hormones during adolescence and mental health outcomes among transgender
            adults. PLoS One, 17(1), e0261039.
            8
              Costa R, Dunsford M, Skagerberg E, Holt V, Carmichael P, Colizzi M (2015). Psychological
            support, puberty suppression, and psychosocial functioning in adolescents with gender dysphoria.
            The Journal of Sexual Medicine, 12(11), 2206-2214.

                                                             6

                                                                                                    ER0960
(26 of 130), Page 26 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 26 of 130
                    Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 9 of 49




            likely had worse mental health at baseline and thus was more likely to have their mental health

            improve with therapy. The “immediately eligible” group, which was deemed eligible for puberty

            blockers likely in part because their other mental health conditions besides gender dysphoria were

            reasonably well-controlled, did not see an improvement with therapy over these first six months.

            For the next twelve months of the study, the delayed eligible group that continued to receive

            psychotherapy alone saw no further improvement in their mental health.                     However, the

            immediately eligible group that received pubertal suppression in addition to psychotherapy saw

            statistically significant improvement in their global mental health functioning. This shows that

            pubertal suppression alleviated psychological distress that supportive psychotherapy alone could

            not—presumably gender dysphoria-related distress, given the mechanism of the medication. A

            study by Tordoff et al. similarly examined psychotherapy as a potentially confounding variable

            and their results showed that mental health improvements seen were not from psychotherapy

            alone. 9 Another study by Achille et al. 10 ran regression analyses in order to separate out the

            impacts of gender-affirming medical interventions from the impact of counseling and psychiatric

            medications. Though the sample size made it statistically difficult to detect differences, pubertal

            suppression was associated with better scores on the Center for Epidemiology Studies Depression

            Scale for participants assigned male at birth, which was a statistically significant finding. 11


            9
              Tordoff, D. M., Wanta, J. W., Collin, A., Stepney, C., Inwards-Breland, D. J., & Ahrens, K.
            (2022). Mental health outcomes in transgender and nonbinary youths receiving gender-affirming
            care. JAMA Network Open, 5(2), e220978.
            10
              Achille, C., Taggart, T., Eaton, N. R., Osipoff, J., Tafuri, K., Lane, A., & Wilson, T. A. (2020).
            Longitudinal impact of gender-affirming endocrine intervention on the mental health and well-
            being of transgender youths: preliminary results. International Journal of Pediatric
            Endocrinology, 2020(8). doi: 10.1186/s13633-020-00078-2.
            11
               It is important to note that in statistics, a statistically significant finding tells you that a finding
            is likely to represent a true effect and the finding was not due to random chance. In contrast, the
            lack of a statistically significant finding does not tell you one way or another if there is an effect.
            I would caution against over-interpreting non-statistically significant findings. Lack of a
                                                                7

                                                                                                         ER0961
(27 of 130), Page 27 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 27 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 10 of 49




                  15.     As discussed above, Dr. Cantor is likely correct (Cantor, ¶ 196) that the pubertal

           suppression plus therapy group in Costa was different from the therapy alone group in that the

           latter group had other mental health concerns. However, this would mean that this group would

           be even more likely to respond well to psychotherapy than the therapy plus pubertal suppression

           group—as the study found in the first six months of psychotherapy alone; the pubertal suppression

           plus therapy had improvement over the latter course of the study when pubertal suppression was

           added, whereas the therapy alone group did not.12 Again, this speaks to the mental health benefits

           of pubertal suppression for gender dysphoria, separate from the impact of supportive

           psychotherapy.

                  16.     Of note, Dr. Cantor asserts that Carmichael et al. 2021 13 supersedes the results of

           Costa et al. 2015 because “neither group actually had experienced any significant improvement at

           all.” (Cantor, ¶196). He failed to recognize that the Carmichael study did find that global

           functioning scores improved; however, for reasons not clearly outlined in the Carmichael study,




           statistically significant finding does not mean that no effect exists; it simply means the analysis in
           question does not tell the researchers one way or another if an effect exists.
           12
              Dr. Cantor also references a letter to the editor about the Costa study that mentions the “dropout”
           rate being high (Cantor, ¶ 196). However, the dropout rate is nearly identical in the two groups,
           and there is no clear reason to think that the dropout rates would have thus impacted the results.
           If one had seen, for instance, that the dropout rate was much higher in the pubertal suppression
           group, one may think that people were leaving the study due to adverse effects of treatment;
           however, this was not seen in the study—the dropout rates were nearly identical in both groups.
           Biggs, M. (2019). A letter to the editor regarding the original article by Costa et al: Psychological
           support, puberty suppression, and psychosocial functioning in adolescents with gender
           dysphoria. Journal of Sexual Medicine, 16(12), 2043.
           13
             Carmichael, P., Butler, G., Masic, U., Cole, T. J., De Stavola, B. L., Davidson, S., Skageberg,
           E. M., Khadr, S., Viner, R. M. (2021). Short-term outcomes of pubertal suppression in a selected
           cohort of 12 to 15 year old young people with persistent gender dysphoria in the UK. PLoS One,
           16(2), e0243894.

                                                             8

                                                                                                    ER0962
(28 of 130), Page 28 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 28 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 11 of 49




           the authors did not run statistical analyses on this measure, as they did in the Costa 2015

           publication. 14

                   17.       Dr. Cantor raises the possibility that the studies finding benefits of gender-affirming

           medical care for adolescents reflect reverse causation (i.e., the notion that improved mental health

           causes one to access gender-affirming medical care rather than the reverse, that gender-affirming

           medical care leads to better mental health). (See Cantor, ¶ 61). This issue has been examined in

           the literature. For example, in a recent major publication in The New England Journal of Medicine,

           Chen et al. used a technique called parallel process modeling and found that improvements in

           mental health tracked along with improvements in appearance congruence over time (a measure

           of the degree to which study participants’ bodies aligned with their gender identities), suggesting

           that gender-affirming medical care was the cause of the improvements in mental health, and

           arguing against the notion of reverse causation. 15

                   18.       The State’s experts spend a great deal of time focusing on the lack of randomized

           controlled trial (“RCT”) studies in this area.          First, controlled cross-sectional studies and

           uncontrolled longitudinal cohort studies are well-accepted in medical research and often relied

           upon in medicine. It is true that randomized controlled trials provide valuable information and

           strong evidence of causation that other studies do not. But such studies are not always feasible or

           ethical in medicine, and many treatments are provided without the benefit of randomized



           14
             The discussion in the Carmichael study goes on to say, “Participant experience of treatment as
           reported in interviews was positive for the majority, particularly relating to feeling happier, feeling
           more comfortable, better relationships with family and peers and positive changes in gender role”
           and that their lack of statistically significant findings for other measures that were statistically
           analyzed “may relate simply to sample size.”
           15
              Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A., Rosenthal, S.
           M., Tishelman, A.C., & Olson-Kennedy, J. (2023). Psychosocial functioning in transgender youth
           after 2 years of hormones. New England Journal of Medicine, 388(3), 240-250.

                                                               9

                                                                                                       ER0963
(29 of 130), Page 29 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 29 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 12 of 49




           controlled trials. Randomized controlled trials are not feasible in the realm of gender-affirming

           medical care for adolescent gender dysphoria in particular. Because of the existing body of

           literature linking gender-affirming medical care to improved mental health outcomes for

           adolescents with gender dysphoria, it would be extraordinarily difficult to recruit people to

           participate in studies, knowing they could be randomized to receive no treatment. Particularly for

           vulnerable and pediatric populations, is not considered ethical to randomize patients to placebo

           treatments when there is substantial evidence that active treatment confers important benefits.

           Thus, a randomized controlled trial of gender-affirming medical care for adolescent gender

           dysphoria would be unlikely to be approved by an Institutional Review Board (IRB), the ethical

           boards at universities that decide if research is allowed to proceed). 16

                  19.     The State’s experts also claim that data based on self-report and surveys are not

           valid or reliable evidence. Their claims represent a broad misunderstanding of psychiatry. Clinical

           psychiatry and clinical psychiatric research almost always involve patient reports of their

           symptoms. Because psychiatric conditions (e.g., generalized anxiety disorder, major depressive

           disorder, schizophrenia, obsessive compulsive disorder, and gender dysphoria, among many

           others) do not have laboratory tests, diagnosis is made largely based on patient reports of their

           symptoms.     At times these may be supplemented by reports from parents and clinician

           observations, particularly for establishing a diagnosis; however, they are not considered standard



           16
              Of note, an RCT was recently conducted in Australia among adults with gender dysphoria to
           examine the impact of testosterone therapy. Nolan, B. J., Zwickl, S., Locke, P., Zajac, J. D., &
           Cheung, A. S. (2023). Early Access to Testosterone Therapy in Transgender and Gender-Diverse
           Adults Seeking Masculinization: A Randomized Clinical Trial. JAMA Network Open, 6(9),
           e2331919. The RCT found that those randomized to immediate testosterone therapy had better
           mental health outcomes than those randomized to the clinic’s regular waitlist. Given that they are
           a vulnerable group that generally warrants stricter protection under IRB review, it is unlikely that
           such an RCT would be approved for minors.

                                                            10

                                                                                                  ER0964
(30 of 130), Page 30 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 30 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 13 of 49




           or necessary in clinical trials that track symptoms over time or compare the mental health of those

           receiving treatment to those not receiving treatment. The studies cited in this declaration utilize

           commonly used and validated self-report psychometric measures including the Kessler-6 measure

           of past-month severe psychological distress, 17 Beck Depression Inventory II, 18 and self-report

           measures from the National Institutes of Health Toolbox Emotion Battery. 19 These self-report

           instruments are standard in psychiatric research.

                  20.     Survey methodologies are widely used in psychiatric research. Of note, the State’s

           experts repeatedly cite survey research in their own reports (e.g., Littman 2018, 20 Diaz 2023, 21

           Littman 2021 22). It is worth highlighting that there exist both high-quality and low-quality survey




           17
             Kessler, R. C., Green, J. G., Gruber, M. J., Sampson, N. A., Bromet, E., Cuitan, M., Furukawa,
           T.A., Gureje, O., Hinkov, H., Hu, C., Lara, C., Lee, S., Mneimneh, Z., Myer, L., Oakley-Browne,
           M., Posada-Villa, J., Sagar, R., Viana, M. C., & Zaslavsky, A. M. (2010). Screening for serious
           mental illness in the general population with the K6 screening scale: results from the WHO World
           Mental Health (WMH) survey initiative. International Journal of Methods in Psychiatric
           Research, 19(S1), 4-22.
           18
             Beck, A. T., Steer, R. A., & Brown, G. (1996). Beck depression inventory–II. Psychological
           Assessment.
           19
              Slotkin, J., Nowinski, C., Hays, R., Beaumont, J., Griffith, J., Magasi, S., & Gershon, R. (2012).
           NIH Toolbox scoring and interpretation guide. Washington (DC): National Institutes of Health, 6-
           7.
           20
             Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a
           rapid onset of gender dysphoria. PLoS One, 13(8), e0202330.
           21
              Diaz, S. & Bailey, J. M. (2023). Rapid Onset Gender Dysphoria: Parent Reports on 1655
           Possible Cases. Archives of Sexual Behavior, 52(3), 1031-1043. This article was later retracted by
           the journal. Diaz, S. & Bailey, J. M. (2023). Retraction Note: Rapid Onset Gender Dysphoria:
           Parent Reports on 1655 Possible Cases. Archives of Sexual Behavior, doi: 10.1007/s10508-023-
           02635-1.
           22
              Littman, L. (2021). Individuals treated for gender dysphoria with medical and/or surgical
           transition who subsequently detransitioned: A survey of 100 detransitioners. Archives of Sexual
           Behavior, 50(8), 3353-3369.

                                                            11

                                                                                                   ER0965
(31 of 130), Page 31 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 31 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 14 of 49




           methodologies. For example, Littman 2018 has been criticized for asking leading questions to a

           group that is ideologically focused, making it easy for participants to bias results and analyses. 23

           In contrast, the 2015 US Transgender Survey had over 180 questions across 32 sections. 24 If

           participants were to attempt to bias the results in a certain direction, they would have needed to

           answer questions at distant parts of the survey in a particular fashion, based on what study design

           they believed researchers would use. Our group’s analyses also utilized regression analyses that

           adjusted for a range of potentially confounding variables, further adding to the complexity of the

           analyses. Of note, the analysis plans for our group’s studies were designed only after the 2015

           USTS was already administered.

                  21.     The State’s experts’ opinions concerning the evidence related to gender-affirming

           medical care and its impact on suicidality demonstrate a lack of understanding of suicidality

           research. Dr. Weiss and Dr. Cantor focus on a lack of data showing elevated rates of completed

           suicides among youth with gender dysphoria, at least as compared to youth with other mental

           health disorders. (Weiss, ¶ 89; Cantor, ¶¶ 147–53). It is true that there is a paucity of literature in

           this regard. Such research is often conducted by examination of death records, and because gender

           identity is rarely recorded on such records, this research has been difficult to conduct. However,

           there have been studies showing lower odds of suicidal ideation among those who receive

           treatment. 25 The suggestion that there is not really an elevated risk of suicide because the data we


           23
             Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a
           rapid onset of gender dysphoria. PLoS One, 13(8), e0202330; Littman, L. (2019). Correction:
           Parent reports of adolescents and young adults perceived to show signs of a rapid onset of gender
           dysphoria. PLoS One, 14(3), e0214157.
           24
             James, S. E., Herman, J. L., Rankin, S., Keisling, M., Mottet, L., & Anafi, M. (2016). The Report
           of the 2015 U.S. Transgender Survey. Washington, DC: National Center for Transgender Equality.
           25
             See for example Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal
           suppression for transgender youth and risk of suicidal ideation. Pediatrics, 145(2), e20191725 in
           the realm of cross-sectional studies and Allen, L. R., Watson, L. B., Egan, A. M., & Moser, C. N.
                                                             12

                                                                                                     ER0966
(32 of 130), Page 32 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 32 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 15 of 49




           have is about suicidal ideation and not completed suicides demonstrates a profound lack of

           understanding of suicidality. Moreover, suicidal ideation is an indicator of severe psychological

           distress, rising to the level of the individual not wanting to live. Whether or not it ultimately results

           in a completed suicide, suicidal ideation is a serious negative outcome to be prevented. Reducing

           suicidal ideation is an important goal of mental health treatment, and it is vital for patients to have

           access to interventions that that reduce suicidal ideation.

                   22.     The State’s experts highlight that rates of suicidality are elevated among

           transgender people after gender-affirming care and Dr. Weiss even suggests that gender-affirming

           medical care “may increase the risk of suicide.” (Weiss, ¶ 90). For example, he highlights a study

           by Dhejne et al. published in 2011 26 that found that those who had gender-affirming surgery had a

           19-fold increased odds of suicidality when compared to the general population. Such statistics are

           not evidence that gender-affirming care is ineffective or that it increases suicide risk. The

           discussion from that very study explains:

                   “It is therefore important to note that the current study is only informative with
                   respect to transsexual persons health after sex reassignment; no inferences can be
                   drawn as to the effectiveness of sex reassignment as a treatment for transsexualism.
                   In other words, the results should not be interpreted such as sex reassignment per
                   se increases morbidity and mortality. Things might have been even worse without
                   sex reassignment. As an analogy, similar studies have found increased somatic
                   morbidity, suicide rate, and overall mortality for patients treated for bipolar disorder
                   and schizophrenia. This is important information, but it does not follow that mood
                   stabilizing treatment or antipsychotic treatment is the culprit.”




           (2019). Well-being and suicidality among transgender youth after gender-affirming
           hormones. Clinical Practice in Pediatric Psychology, 7(3), 302-311 in the realm of longitudinal
           studies.
           26
             Dhejne, C., Lichtenstein, P., Boman, M., Johansson, A. L., Långström, N., & Landén, M. (2011).
           Long-term follow-up of transsexual persons undergoing sex reassignment surgery: Cohort study
           in Sweden. PLoS One, 6(2), e16885.

                                                              13

                                                                                                      ER0967
(33 of 130), Page 33 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 33 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 16 of 49




           In other words, though gender-affirming care improves mental health, it does not eliminate other

           factors like societal experiences of transphobia that adversely impact mental health. To evaluate if

           gender-affirming medical care is helpful to mental health using a control group, the control group

           would need to be transgender people who desired but did not access the treatment, not the general

           population. Almazan & Keuroghlian used that appropriate control group in a study published in

           JAMA Surgery in 2021 27 and found that access to gender-affirming surgery was associated with

           lower odds of past-year suicidal ideation. They further conducted post-hoc analyses that argued

           against the possibility of reverse causation (i.e., they showed that people who received surgery had

           better mental health after the treatment, rather than having better mental health at baseline prior to

           having the surgery).

            THE STATE’S EXPERTS’ CLAIM THAT IDAHO’S BAN ON GENDER-AFFIRMING
           MEDICAL CARE FOR ADOLESCENT GENDER DYSPHORIA IS CONSISTENT WITH
                        INTERNATIONAL CONSENSUS IS NOT ACCURATE

                  23.     The State’s experts rely on reports from some European countries and imply that

           Idaho’s ban on gender-affirming medical care is in line with “international consensus.” (See for

           example Cantor, ¶¶ 17-33). 28 This is not accurate. None of these countries have banned—let alone


           27
             Almazan, A. N., & Keuroghlian, A. S. (2021). Association between gender-affirming surgeries
           and mental health outcomes. JAMA Surgery, 156(7), 611-618.
           28
              For example, Cass, H. (2022, February). The Cass Review: Independent review of gender
           identity services for children and young people Interim report. National Health Service (NHS),
           UK (England); COHERE Finland (Council for Choices in Health Care in Finland) (2020, June
           16). Medical treatment methods for dysphoria associated with variations in gender identity in
           minors—Summary            of     a     recommendation.      [Translated],      available    at
           https://palveluvalikoima.fi/documents/1237350/22895008/Summary_minors_en+(1).pdf/fa2054c
           5-8c35-8492-59d6-b3de1c00de49/Summary_minors_en+(1).pdf?t=1631773838474 (Finland);
           Swedish Socialstyrelsen. (2022, February 22). Uppdaterade rekommendationer för
           hormonbehandling vid könsdysfori hos unga. [Updated recommendations for hormone therapy for
           gender dysphoria in young people.], available at https://www.socialstyrelsen.se/om-
           socialstyrelsen/pressrum/press/uppdateraderekommendationer-for-hormonbehandling-vid-
           konsdysfori-hos-unga/ (Sweden); Swedish Socialstyrelsen. (2022, December). Care of children
           and adolescents with gender dysphoria. Summary of national guidelines, available at
                                                            14

                                                                                                    ER0968
(34 of 130), Page 34 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 34 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 17 of 49




           criminalized—gender-affirming medical care for adolescents with gender dysphoria as Idaho does.

           Rather, the government health authorities in the select countries referenced have made changes to

           the way in which gender-affirming care is being delivered (e.g., moving care to research settings

           where more data can be collected). 29 Rather than put it in line with “international consensus,”

           Idaho’s ban on gender-affirming medical care for adolescent gender dysphoria puts the law

           squarely outside of mainstream medical views and policies around the world.

                  24.     The State’s experts focus on the European reports’ assessment of the body of

           research on gender-affirming care for minors. Of note, most of these reports were not peer-

           reviewed and were published by government entities. 30 These types of government reports are not

           the types of research that experts rely upon when forming conclusions about research. Moreover,

           they do not include all of the relevant literature. The State’s experts attempt to bolster the

           importance of these reports by calling them “systematic reviews.” But all a “systematic review”

           means is that the authors of the reports pre-defined the search terms they used when conducting

           literature reviews in various databases. 31 Merely pre-defining search terms does not guarantee that


           https://www.socialstyrelsen.se/globalassets/sharepoint-
           dokument/artikelkatalog/kunskapsstod/2023-1-8330.pdf (Sweden); French Academy of Medicine.
           (2022) Medicine and gender transidentity in children and adolescents, available at
           https://www.academie-medecine.fr/la-medecine-face-a-la-transidentite-de-genre-chez-les-
           enfants-et-les-adolescents/?lang=en.
           29
              Contrary to the suggestion of Dr. Weiss (¶ 168), that gender services for minors have been shut
           down in the U.K., the National Health Service replaced a centralized clinic with several regional
           clinics.
           30
              The one exception is that the Swedish Agency for Health Technology Assessment and
           Assessment of Social Services (SBU) published its systematic review in the journal Acta
           Paediatrica, a Swedish medical journal that appears to be peer-reviewed. See Ludvigsson, J. F.,
           Adolfsson, J., Höistad, M., Rydelius, P.-A., Kriström, B., & Landén, M. (2023). A systematic
           review of hormone treatment for children with gender dysphoria and recommendations for
           research. Acta Paediatrica. doi: 10.1111/apa.16791.
           31
              Harvard Countway Library. Systematic Reviews and Meta Analysis Q&A. Accessed: October
           1, 2023, available at https://guides.library.harvard.edu/meta-analysis/GettingStarted.

                                                           15

                                                                                                  ER0969
(35 of 130), Page 35 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 35 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 18 of 49




           the systematic review will identify the full body of relevant literature, 32 nor does it tell you

           anything about the reliability of the review authors’ description and analysis of the literature. The

           primary advantage to a systematic review would be its potential (though no guarantee) to identify

           research publications that had not previously been identified in this discussion. The reports cited

           by the State’s experts did not identify any such new research reports that affect my conclusions

           about the research.

                 THE STATE’S EXPERTS HAVE INAPPROPRIATELY APPLIED RESEARCH ON
                PREPUBERTAL CHILDREN TO TRANSGENDER ADOLESCENTS IN CLAIMING
                    THAT THERE IS A HIGH LIKELIHOOD OF “DESISTANCE” AMONG
                              ADOLESCENTS WITH GENDER DYSPHORIA

                   25.    Dr. Cantor inappropriately uses studies of young prepubertal children to imply that

           adolescents who are candidates for gender-affirming medical care are likely to desist if not

           provided with gender-affirming care.       (Cantor, ¶115).     Though the terms “children” and

           “adolescents” are sometimes used synonymously in common parlance, these terms have specific

           and distinct meanings in the context of child and adolescent psychiatric research. In this field,

           “child” and “children” refer to minors who have not yet reached the earliest stages of puberty (i.e.,

           Tanner 2). The terms “adolescent” and “adolescents” refer to minors who have begun puberty.

           Studies of prepubertal children (who are not candidates for gender-affirming medical interventions

           under any existing clinical guidelines) cannot be conflated with studies of adolescents (who,




           32
              This is the case with a Cochrane review abstract from 2020 cited by Defendants’ experts
           regarding gender-affirming hormone therapy among transgender women (Haupt, C., Henke, M.,
           Kutschmar, A., Hauser, B., Baldinger, S., Saenz, S. R., & Schreiber, G. (2020). Antiandrogen or
           estradiol treatment or both during hormone therapy in transitioning transgender women. Cochrane
           Database of Systematic Reviews, 2020(11), CD013138). The Cochrane review did not identify
           several cohort studies examining gender-affirming medical care for adolescent gender dysphoria,
           likely due to its search methodology, and because it only examined studies published prior to 2019.

                                                            16

                                                                                                   ER0970
(36 of 130), Page 36 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 36 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 19 of 49




           depending on several factors, may be candidates for various forms of gender-affirming medical

           interventions).

                  26.        This distinction is vital in the realm of “desistence” studies (i.e., studies that aim to

           assess how many young people who identify as transgender will later identify as cisgender). The

           suggestion by Dr. Cantor that a majority of transgender minors affected by the Idaho law will come

           to identify with their assigned sex at birth inappropriately relies on studies of gender diverse

           prepubertal children, which have, in the past, shown that many of these children will not grow up

           to be transgender. These studies do not apply to transgender minors who have reached puberty

           (i.e., “adolescents”). 33 Once a transgender youth begins puberty, it is extremely rare for them to

           later identify as cisgender. 34 The notion that puberty will generally result in transgender people

           coming to identify as cisgender is also clearly not true given the fact that there are over 1 million

           transgender adults in the U.S. 35 and the vast majority of older cohorts were unable to access

           pubertal suppression. 36




           33
             Dr. Cantor suggests that the desistance studies are not irrelevant to adolescents because they do
           not specify at what developmental stage the reported desistance occurred. (Cantor, ¶119). But
           those studies say nothing about whether desistance is common among adolescents with gender
           incongruence.
           34
              See Turban, J.L., de Vries, A.L.C., & Zucker, K. (2018). Gender Incongruence & Gender
           Dysphoria. In Martin A., Bloch M.H., & Volkmar F.R. (Editors): Lewis’s Child and Adolescent
           Psychiatry: A Comprehensive Textbook, Fifth Edition. Philadelphia: Wolters Kluwer. This
           textbook chapter provides comment from the directors of two of the oldest and most established
           gender clinics in the world.
           35
              Flores, A. R., Herman, J., Gates, G. J., & Brown, T. N. (2016). How many adults identify as
           transgender in the United States? (Vol. 13). Los Angeles, CA: Williams Institute.
           36
             See, for example, Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal
           suppression for transgender youth and risk of suicidal ideation. Pediatrics, 145(2), e20191725,
           which found that only 2.5% of those who desired pubertal suppression for gender dysphoria were
           able to access it.

                                                                17

                                                                                                        ER0971
(37 of 130), Page 37 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 37 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 20 of 49




                  27.     Any study regarding prepubertal children and their likelihood of ultimately

           identifying as transgender should not be used to assess the interventions targeted by the Idaho law,

           namely, pubertal suppression, gender-affirming hormones, and gender-affirming surgery, since

           none of these interventions are provided to prepubertal patients under current medical guidelines. 37

                  28.     Further, the utility of “desistence” studies even for predicting the future gender

           identity of prepubertal children is not appropriate due to their reliance on an outdated diagnosis of

           “gender identity disorder in children,” which did not require a child to identify as a sex different

           than their sex assigned at birth. This diagnosis likely captured many cisgender “tomboys” or

           cisgender boys with feminine interests like dresses or dolls who never identified as transgender to

           begin with and, thus, unsurprisingly did not identify as transgender when followed up with later in

           life. In fact, an analysis of the so-called “desistence” studies found that, when asked their gender

           identity, 90% of the children with “gender identity disorder” in these studies reported an answer

           that aligned with their sex assigned at birth. 38 In contrast, the diagnosis of “gender dysphoria in

           children” requires one to not merely have gender atypical interests and behaviors; one must

           identify as a gender different than one’s sex assigned at birth. This is a vital distinction. While

           the diagnostic category of “gender identity disorder” would capture many cisgender children, the

           diagnostic category of “gender dysphoria” from the DSM-5, by definition, does not. 39




           37
             Hembree, W.C., Cohen-Kettenis, P.T., Gooren, L., et al. (2017). Endocrine Treatment of
           Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice
           Guideline. Journal of Clinical Endocrinology & Metabolism, 102(11), 3869-3903.
           38
             Olson, K. R. (2016). Prepubescent Transgender Children: What We Do and Do Not
           Know. Journal of the American Academy of Child and Adolescent Psychiatry, 55(3), 155-156.
           39
              For more information on the limits of “desistence studies” see Olson, K.R. (2016).
           Prepubescent Transgender Children: What We Do and Do Not Know. Journal of the American
           Academy of Child & Adolescent Psychiatry, 3(55), 155-156.

                                                            18

                                                                                                   ER0972
(38 of 130), Page 38 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 38 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 21 of 49




            THE STATE’S EXPERTS’ ASSERTION THAT GENDER AFFIRMING CARE CAUSES
            PERSISTENCE OF GENDER INCONGRUENCE IS NOT SUPPORTED BY EVIDENCE

                    29.    The State’s experts suggest that gender affirming care, including social transition,

           causes the persistence of gender incongruence among youth. Despite Dr. Cantor spending a

           considerable portion of his declaration on the importance of differentiating correlation from

           causation, he does not apply that to the findings that social transition is correlated with

           “persistence.” He outlines data showing that youth who socially transition are more likely to

           continue to identify as transgender later in life (i.e., correlation). But this correlation could be due

           to two possibilities: (1) social transition could influence a child’s gender identity, making them

           identify more strongly as transgender and thus more likely to persist, or (2) children who go on to

           socially transition identified more strongly as transgender than those who did not prior to social

           transition, and thus their pre-transition gender incongruence lead to the social transition in the first

           place.

                    30.    Research by Rae et al. has shown that the second possibility is far more likely to be

           what is occurring. 40 Rae et al.’s 2019 study showed that gender identification is not significantly

           different before and after a social transition, but that those who ultimately underwent a social

           transition had a greater degree of gender incongruence prior to social transition. 41 The study

           made clear that this correlation—between pre-pubertal social transition and transgender identity—

           is because those who undergo a pre-pubertal social transition had stronger discordance between




           40
             Rae, J. R., Gülgöz, S., Durwood, L., DeMeules, M., Lowe, R., Lindquist, G., & Olson, K. R.
           (2019). Predicting early-childhood gender transitions. Psychological Science, 30(5), 669-681.
           41
              Note that in most studies, a lack of a statistically significant finding is not informative. This
           study used sophisticated Bayesian statistics to show that gender identification was not different
           before and after a social transition. Such a finding of something not being different is, under these
           methods, reliable.

                                                             19

                                                                                                     ER0973
(39 of 130), Page 39 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 39 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 22 of 49




           their sex assigned at birth and their gender identity to begin with, and that social transition itself

           does not appear to increase gender discordance.

                   31.    The State’s experts also point to studies showing that the overwhelming majority

           of transgender adolescents who start pubertal suppression go on to future additional gender-

           affirming medical interventions, suggesting that pubertal suppression causes continued gender

           incongruence. (E.g., Weiss, ¶119, referring to a “conveyer belt of ‘gender transition’”). It is

           another logical fallacy to infer that a study showing that the majority of adolescents on puberty

           blockers proceeding on to future gender-affirming medical interventions is evidence that the

           treatment causes persistence; rather, it is just as possible, and in my opinion more likely, that, given

           the comprehensive biopsychosocial mental health assessment that is done prior to starting gender-

           affirming medical interventions under current guidelines, the adolescents who started pubertal

           suppression were those who were, through medical and mental health screening, determined, prior

           to starting pubertal suppression, to have a low likelihood of future desistence in their transgender

           identity.

                 THE STATE’S EXPERTS’ SUGGESTION THAT PATIENTS SEEK GENDER-
                   AFFIRMING MEDICAL CARE BECAUSE OF SOCIAL INFLUENCE IS
                                        WITHOUT BASIS

                   32.    The State’s experts claim that social influence is responsible for adolescents seeking

           gender-affirming medical care and is a cause of “rapid-onset gender dysphoria”. (Cantor ¶ 136;

           Weiss ¶¶ 35, 106.)

                   33.    As an initial matter, Defendants’ experts fail to note that “rapid-onset gender

           dysphoria” is not a recognized mental health condition. 42 The term “rapid-onset gender dysphoria”



           42
             Littman, L. (2019). Correction: Parent reports of adolescents and young adults perceived to show
           signs of a rapid onset of gender dysphoria. PLoS One, 14(3), e0214157.

                                                             20

                                                                                                     ER0974
(40 of 130), Page 40 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 40 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 23 of 49




           entered the literature in 2018 through a publication by Dr. Lisa Littman, discussed briefly above.43

           Soon after the initial publication of Dr. Littman’s article, a correction was published. 44 The

           correction noted, “Rapid-onset gender dysphoria (ROGD) is not a formal mental health diagnosis

           at this time. This report did not collect any data from the adolescents and young adults (AYAs) or

           clinicians and therefore does not validate the phenomenon.” 45 The correction goes on to say “the

           term should not be used in any way to imply that it explains the experiences of all gender dysphoric

           youth . . . .” The American Psychological Association has highlighted that, due to the lack of

           empiric basis, “rapid-onset gender dysphoria” should not be used in assessment or clinical

           treatment contexts. 46 Despite this, the State’s experts cite the 2018 Littman article to make

           unsubstantiated claims about adolescents with gender dysphoria.

                  34.     The Littman study was an anonymous online survey of the parents of transgender

           youth, recruited from websites where this notion of “social contagion” leading to transgender

           identity is popular. The anonymous survey participants were asked what they thought was the


           43
             Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a
           rapid onset of gender dysphoria. PLoS One, 13(8), e0202330.
           44
             Littman, L. (2019). Correction: Parent reports of adolescents and young adults perceived to show
           signs of a rapid onset of gender dysphoria. PLoS One, 14(3), e0214157.
           45
             A recent study by Bauer et al. in The Journal of Pediatrics examined some of the associations
           that would be consistent with the existence of “rapid-onset gender dysphoria” and concluded that
           their results “did not support the rapid onset gender dysphoria hypothesis.” Bauer, G. R., Lawson,
           M. L., Metzger, D. L., & Trans Youth CAN! Research Team. (2022). Do Clinical Data from
           Transgender Adolescents Support the Phenomenon of “Rapid Onset Gender Dysphoria”?. Journal
           of Pediatrics, 2022(243), 224-227. Two recent publications from our group similarly did not
           support the notion: Turban, J. L., Dolotina, B., King, D., & Keuroghlian, A. S. (2022). Sex assigned
           at birth ratio among transgender and gender diverse adolescents in the United
           States. Pediatrics, 150(3), e2022056567 and Turban, J. L., Dolotina, B., Freitag, T. M., King, D.,
           & Keuroghlian, A. S. (2023). Age of Realization and Disclosure of Gender Identity Among
           Transgender Adults. Journal of Adolescent Health, 72(6), 852-859.
           46
             American Psychological Association et al. CAAPS Position Statement on Rapid Onset Gender
           Dysphoria (ROGD). Available at: https://www.caaps.co/rogd-statement. Accessed: October 1,
           2023.

                                                           21

                                                                                                  ER0975
(41 of 130), Page 41 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 41 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 24 of 49




           etiology of their children’s transgender identity. Some of these parents believed that their children

           became transgender as a result of watching transgender-related content on websites like YouTube

           and having LGBTQ friends. The alternative interpretation, and in my opinion more likely

           interpretation, is that these youth sought out transgender-related media and LGBTQ friends

           because they wanted to find other people who understood their experiences and could offer

           support. The parent respondents also noted that, from their perspective, their children became

           transgender “all of a sudden,” hence the term “rapid-onset.” Once again, the problem here is that

           the study did not interview the adolescents themselves, nor their healthcare providers. It is

           common for transgender (as with gay, lesbian and bisexual) children and adolescents to conceal

           their identity from their parents for long periods of time. In a recent study from our research group,

           transgender people who first understood their gender identity in childhood waited a median 14

           years before sharing this with another person. 47 In my experience working with transgender youth

           and adults, the reasons for this tend to be out of fear of negative repercussions (rejection, being

           kicked out of the house, or even physical assault) were their parents to find out that they are

           transgender.   Children often learn to conceal their gender non-conforming behaviors and

           transgender identity early, particularly if their parents have strong negative reactions to them

           exhibiting gender non-confirming behavior.

                  35.     The State’s experts point to the increase in referrals to gender clinics, particular

           among birth-assigned females, over time as a point of concern. (E.g., Cantor, ¶17, ¶25; Weiss

           ¶179). The increase in referrals has coincided with increased visibility of transgender people,

           including transgender men, in society and greater awareness of gender dysphoria and access to


           47
             Turban, J. L., Dolotina, B., Freitag, T. M., King, D., & Keuroghlian, A. S. (2023). Age of
           Realization and Disclosure of Gender Identity Among Transgender Adults. Journal of Adolescent
           Health, 72(6), 852-859.

                                                            22

                                                                                                    ER0976
(42 of 130), Page 42 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 42 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 25 of 49




           medical care to treat it. In the past, people thought of gender dysphoria as something that primarily

           impacted birth-assigned males. This likely led to many cases of gender dysphoria among birth-

           assigned females being overlooked by families or undiagnosed or “missed” by doctors. In recent

           years, literacy regarding gender dysphoria among birth-assigned females has increased among

           physicians. As fewer birth-assigned females go undiagnosed, the sex ratio in gender clinics has

           shifted away from predominantly birth-assigned males. This is similar to a pattern that has been

           seen in autism spectrum disorder. For example, a large study found that with increasing awareness

           that autism spectrum disorder can impact birth-assigned females as well as birth-assigned males,

           the sex ratio shifted more toward birth-assigned females, from 5.1:1 (birth-assigned males to

           females) to 3.1:1. 48 The same study saw the sex ratio for the related diagnosis of Asperger’s

           syndrome similarly shift from 8.4:1 to 3.0:1. Whereas parents and pediatricians in the past may

           have had limited literacy regarding gender diversity in adolescents, today more Americans, as well

           as people abroad, have greater understanding of the experiences of transgender youth. This fact

           has undoubtedly increased the number of parents bringing their adolescents to gender clinics for

           evaluation and pediatricians referring patients to gender clinics. Additionally, insurance coverage

           of gender-affirming medical interventions has improved drastically, meaning that more families

           are able to afford care, which results in an increase in referrals for evaluation.

                  36.     Of note, not all adolescents who present at gender clinics ultimately go on to receive

           gender-affirming medical interventions. 49 In fact, in a large study from a Netherlands gender



           48
              Jensen, C. M., Steinhausen, H. C., & Lauritsen, M. B. (2014). Time trends over 16 years in
           incidence-rates of autism spectrum disorders across the lifespan based on nationwide Danish
           register data. Journal of Autism and Developmental Disorders, 44(8), 1808-1818.
           49
             Wiepjes, C. M., Nota, N. M., de Blok, C. J., Klaver, M., de Vries, A. L., Wensing-Kruger, S.
           A., de Jongh, R. T., Bouman, M. B., Steensma, T. D., Cohen-Kettenis, P., Gooren, L. J. G.,
           Kreukels, B. P. C., & den Heijer, M. (2018). The Amsterdam cohort of gender dysphoria study
                                                             23

                                                                                                   ER0977
(43 of 130), Page 43 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 43 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 26 of 49




           clinic, the percentage of patients who presented for evaluation who actually started any kind of

           gender-affirming treatment has decreased over time. 50 The authors of that study note:

                  “[T]his finding may be explained by the fact that in the past it was harder to find
                  information about [gender dysphoria] and its treatment, and only people with
                  extreme types of [gender dysphoria] managed to visit our gender identity clinic for
                  treatment. Currently, owing to media attention and the internet, it is easier to access
                  information about our gender identity clinic, making the threshold lower to search
                  for help.”

           This shows that while more people may be coming in for evaluation, the criteria for diagnosis and

           treatment remain stringent and a smaller percentage of patients are actually being diagnosed with

           gender dysphoria and referred on for medical treatment.

            THE STATE’S EXPERTS ASSERTIONS OF HIGH RATES OF TRANSITION REGRET
                            ARE UNSUPPORTED BY THE EVIDENCE

                  37.     The State’s experts suggest that a large number of adolescents who undergo gender-

           affirming medical care go on to regret treatment; however, this is not supported by extant evidence.

           In 2018, Amsterdam’s VUMC Center of Expertise on Gender Dysphoria published the rates of

           regret among their cohort of 6,793 transgender patients who had undergone gender-affirming

           medical and surgical interventions. 51 Among transgender women with gender dysphoria who

           underwent gender-affirming surgery, 0.6% experienced regret. Among transgender men with




           (1972–2015): trends in prevalence, treatment, and regrets. Journal of Sexual Medicine, 15(4),
           582-590.
           50
             Wiepjes, C. M., Nota, N. M., de Blok, C. J., Klaver, M., de Vries, A. L., Wensing-Kruger, S.
           A., de Jongh, R. T., Bouman, M. B., Steensma, T. D., Cohen-Kettenis, P., Gooren, L. J. G.,
           Kreukels, B. P. C., & den Heijer, M. (2018). The Amsterdam cohort of gender dysphoria study
           (1972–2015): trends in prevalence, treatment, and regrets. Journal of Sexual Medicine, 15(4),
           582-590.
           51
             Wiepjes, C. M., Nota, N. M., de Blok, C. J., Klaver, M., de Vries, A. L., Wensing-Kruger, S. A.,
           de Jongh, R. T., Bouman, M. B., Steensma, T. D., Cohen-Kettenis, P., Gooren, L. J. G., Kreukels,
           B. P. C., & den Heijer, M. (2018). The Amsterdam cohort of gender dysphoria study (1972–2015):
           trends in prevalence, treatment, and regrets. Journal of Sexual Medicine, 15(4), 582-590.

                                                            24

                                                                                                    ER0978
(44 of 130), Page 44 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 44 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 27 of 49




           gender dysphoria who underwent gender-affirming surgery, 0.3% experienced regret. Several of

           those who experienced regret were classified as having “social regret” rather than “true regret,”

           defined in the study as still identifying as transgender but deciding to reverse their gender-

           affirming surgery due to factors like “the loss of relatives [being] a large sacrifice.” The study also

           reported that only 1.9% of adolescents who started pubertal suppression did not choose to go onto

           gender-affirming hormones. In a second study of 143 transgender adolescents who started pubertal

           suppression, 5 (3.5%) decided not to proceed with further gender-affirming medical treatments. 52

           One of these adolescents noted that pubertal suppression helped them to better understand their

           gender identity, and they ultimately identified with their sex assigned at birth. One birth-assigned

           female had ongoing chest dysphoria but chose to live with a female gender expression regardless,

           though was dreading further breast development and menstruation.               One stopped due to

           unspecified “psychosocial reasons” but continued to identify as transgender. One identified as

           gender non-binary and felt they no longer needed treatment. One came to identify with his sex

           assigned at birth. There was no indication that any of these adolescents regretted pubertal

           suppression; rather, this study shows that the treatment served its goal of allowing adolescents

           more time to better understand their gender identity before being assessed for additional treatment.

                  38.     The State’s experts cite some studies discussing rates of discontinuing gender-

           affirming medical interventions. For example, Dr. Weiss cites findings from a study by Roberts et

           al. published in 2022 that “[a]mong those who had started hormonal intervention before age

           eighteen, 26% discontinued treatment. Among all the natal females in this follow up study, 36%




           52
             Brik, T., Vrouenraets, L. J., de Vries, M. C., & Hannema, S. E. (2020). Trajectories of
           adolescents treated with gonadotropin-releasing hormone analogues for gender dysphoria.
           Archives of Sexual Behavior, 49(7), 2611-2618.

                                                             25

                                                                                                     ER0979
(45 of 130), Page 45 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 45 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 28 of 49




           discontinued treatment.” 53   (Weiss, ¶159).    It is essential to note that discontinuation of a

           medication does not necessarily indicate regret. This study examined only rates of discontinuation,

           not reasons for discontinuation. Reasons for discontinuing can include satisfaction with degree of

           physical gender congruence already attained, social stress related to transphobia, or financial

           reasons like loss of insurance. As the paper notes, in citing our 2021 publication in the journal

           LGBT Health, “many individuals who report [stopping] gender-affirming hormones [report]

           subsequently restarting treatment or the intention to restart treatment.”

                  39.     Dr. Weiss also failed to mention that the Roberts study found that discontinuation

           rates were lower among those who started gender-affirming medical care as minors when

           compared to those who started as adults, likely due to the comprehensive psychosocial mental

           health evaluations conducted prior to initiating care. The publication’s discussion section notes,

           “Regardless of the reason for the higher hormone continuation rate among TGD youth, this finding

           provides support for the idea that TGD individuals below the age of legal majority, with the

           assistance of their parents or legal guardians and health care providers, can provide meaningful

           informed assent for gender-affirming hormones and do not appear to be at a higher risk of future

           discontinuation of gender-affirming hormones because of their young age alone.”

                  40.     The State, on page nine of its combined memorandum of law in opposition to

           motion for preliminary injunction and in support of motion to dismiss, asserts that a paper by Hall

           et al. shows that “the medical detransition rate among youth who underwent gender transitions in

           recent years may be as high as 30% . . .” The cited paper shows no such thing. First, this was a

           study of adults, not youth. Second, the study did not find a detransition rate of 30%. The paper


           53
              Roberts, C. M., Klein, D. A., Adirim, T. A., Schvey, N. A., Hisle-Gorman, E. (2022).
           Continuation of Gender-affirming Hormones among Transgender Adolescents and Adults.
           Journal of Clinical Endocrinology & Metabolism, 107(9) e3937-e3943.

                                                            26

                                                                                                 ER0980
(46 of 130), Page 46 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 46 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 29 of 49




           notes, “twelve cases (12/175, 6.9%) were agreed by all authors to meet the case definition for

           detransitioning. Regret was specifically documented in two cases [1.1%]” 54 Also of note in this

           study is that the authors did not record reasons for detransition (defined in this study as going back

           to presenting as one’s sex assigned at birth). The State also cites a press release from the French

           Academy of Medicine, which, though it states there is an “increasing number of transgender young

           adults wishing to “detransition,” provides no detransition rate, nor any citation that shows this is

           true. 55 One of the few citations the press release does provide is to the 2018 Littman paper I

           discuss above. 56

                  41.     In a peer-reviewed manuscript that was named Best Clinical Perspectives

           Manuscript of the year by The Journal of The American Academy of Child & Adolescent

           Psychiatry, Dr. Alex Keuroghlian and I created a framework for understanding transgender

           adolescent patients who discontinue gender-affirming medical interventions. 57 We explained that

           this may be due to external factors (e.g., pressure from family, societal rejection, harassment by

           peers) or internal factors (e.g., a change in the understanding of one’s gender identity). We

           highlighted that discontinuation of gender-affirming medical interventions does not always

           coincide with a change in understanding of one’s gender identity or with transition-related regret.


           54
             Hall, R., Mitchell, L., & Sachdeva, J. (2021). Access to care and frequency of detransition among
           a cohort discharged by a UK national adult gender identity clinic: retrospective case-note
           review. BJPsych Open, 7(6), e184.
           55
              French Academy of Medicine. (2022) Medicine and gender transidentity in children and
           adolescents, available at https://www.academie-medecine.fr/la-medecine-face-a-la-transidentite-
           de-genre-chez-les-enfants-et-les-adolescents/?lang=en.
           56
             The French Academy of Medicine press release itself recommends, “in the event of a persistent
           desire for transition, a careful decision about medical treatment with hormone blockers or
           hormones of the opposite sex within the framework of multi-disciplinary consultation meetings.”
           57
              Turban, J. L., & Keuroghlian, A. S. (2018). Dynamic gender presentations: understanding
           transition and" de-transition" among transgender youth. Journal of the American Academy of Child
           and Adolescent Psychiatry, 57(7), 451-453.

                                                            27

                                                                                                    ER0981
(47 of 130), Page 47 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 47 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 30 of 49




           Our team later published a study highlighting that a substantial number of currently identified

           transgender people (13.1%) have “de-transitioned” 58 at some point in their life, with the majority

           (82.5%) citing external factors like family rejection, societal stigma, or harassment. 59 Given that

           these people currently identify as transgender, it highlights that many people who “de-transition”

           choose to transition again in the future. This harkens to the history of the “ex-gay” movement in

           which many gay and lesbian individuals reported that they were “cured” of their homosexuality,

           only to later reveal that they were still gay but felt pressured by their communities to say for many

           years that they were not.

                  42.     The State’s experts cite two papers discussing the experiences of some individuals

           who detransitioned, one by Littman and one by Vandenbussche. 60 (Weiss, ¶157). Neither of these

           papers provide information on the prevalence of detransition or, specifically. the rate of

           detransition among those who initiate gender-affirming medical care during adolescence. In fact,

           the introduction of the Littman article states that the paper is not “designed to assess the prevalence

           of detransition as an outcome of transition.” In addition, in the Littman study, 34% of the

           participants reported that gender-affirming care was “a necessary part of [their] journey.” And




           58
              This study defined “de-transition” as an affirmative answer to the following: “Have you ever
           de-transitioned? In other words, have you ever gone back to living as your sex assigned at birth,
           at least for a while?”
           59
             Turban, J. L., Loo, S. S., Almazan, A. N., & Keuroghlian, A. S. (2021). Factors Leading to
           “Detransition” Among Transgender and Gender Diverse People in the United States: A Mixed-
           Methods Analysis. LGBT Health, 8(4), 273-280.
           60
              Littman L. (2021). Individuals treated for gender dysphoria with medical and/or surgical
           transition who subsequently detransitioned: A survey of 100 detransitioners. Archives of Sexual
           Behavior, 50(8), 3353–3369; Vandenbussche, E. (2021). Detransition-related needs and support:
           A cross-sectional online survey. Journal of Homosexuality, 69(9), 1602-1620. Of note, of the 237
           individuals in the Vandenbussche study, only 25% had medically transitioned as minors and many
           did not medically transition at all.

                                                             28

                                                                                                     ER0982
(48 of 130), Page 48 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 48 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 31 of 49




           among this group of people who de-transitioned, most reported that undergoing gender-affirming

           medical care was in some way helpful.

                  43.     Dr. Weiss cites Reddit in his attempt to claim there is evidence that rates of

           detransition and regret among those initiating gender-affirming medical care are high. (Weiss,

           ¶156). He notes that one Reddit group called r/detrains has over 49,000 members. However, there

           is no indication that all or even many of the 49,000 members of that group have detransitioned,

           even if that term is broadly defined. In fact, in reading r/detrans, one will find posts expressing

           concern that the group has been dominated by members who have not actually detransitioned but

           rather by “people who are wanting to prey on their vulnerability and use them as political pawns.” 61

                  44.     There are undoubtedly some people who start gender-affirming medical

           interventions and later stop them. A small minority of these appear to regret the treatment, though

           differentiating regret related to transphobia from regret related to the treatment itself can be

           difficult to disentangle. But as I reviewed above, all existing research suggests that regret

           following gender-affirming medical interventions is rare. As with all medical interventions,

           gender-affirming medical interventions cannot claim a 100% success rate. However, for the vast

           majority of adolescents, these interventions improve mental health. Accordingly, it is dangerous

           to take this option away from families and physicians.

                THERE IS NO EVIDENCE-BASED PSYCHOTHERAPY TO TREAT GENDER
                                        DYSPHORIA

                  45.     The State’s experts suggest that psychotherapy can provide relief for gender

           dysphoria in lieu of gender-affirming medical care. While psychotherapy can be very helpful for



           61
                 Post   by    a member of the Reddit               group     r/detrans,  available at:
           https://www.reddit.com/r/honesttransgender/comments/k6fidf/rdetrans_is_just_an_antitrans_sub
           _now/?utm_source=share&utm_medium=web2x&context=3. Accessed: October 1, 2023.

                                                            29

                                                                                                   ER0983
(49 of 130), Page 49 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 49 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 32 of 49




           adolescents with gender dysphoria to help explore their gender identity and address comorbid

           conditions like depression and anxiety, there are no evidence-based psychotherapy protocols that

           effectively treat gender dysphoria itself.

                   46.     In the past, some clinicians have described psychotherapeutic strategies to attempt

           to lead youth with gender dysphoria to identify with their sex assigned at birth. 62 Such practices,

           often referred to as “gender identity conversion efforts”, have subsequently been linked to adverse

           mental health outcomes, including suicide attempts, particularly when people are exposed to them

           as children. 63 In addition to being harmful, there is no peer-reviewed research to suggest that these

           gender identity conversion efforts are successful in changing a person from transgender to

           cisgender. 64

                   47.     While the State’s experts repeatedly criticize the extensive body of research linking

           gender-affirming medical care to improved mental health outcomes for adolescent gender

           dysphoria, they do not provide evidence to support their implication that gender dysphoria can be

           treated with psychotherapy alone.

                   48.     Dr. Weiss asserts that “exploratory, non-judgmental psychotherapy can alleviative

           suffering in patients with ‘gender dysphoria’ and may help them accept their natal sex.” (Weiss,


           62
             Meyer-Bahlburg, H.F. (2002). Gender Identity Disorder in Young Boys: A Parent-and Peer-
           Based Treatment Protocol. Clinical Child Psychology and Psychiatry, 7(3), 360-376.
           63
             Turban, J.L., Beckwith, N., Reisner, S.L., & Keuroghlian, A.S. (2020). Association Between
           Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and Suicide
           Attempts Among Transgender Adults. JAMA Psychiatry, 77(1), 68-76.
           64
              Gender identity conversion efforts have therefore been labelled unethical by major medical
           organizations including The American Medical Association and The American Academy of Child
           & Adolescent Psychiatry. American Medical Association. (2017). Health Care Needs of Lesbian,
           Gay, Bisexual and Transgender Populations. H-160.991. Available at https://policysearch.ama-
           assn.org/policyfinder/detail/gender%20identity?uri=%2FAMADoc%2FHOD.xml-0-805.xml;
           The American Academy of Child & Adolescent Psychiatry. (2018). Conversion Therapy.
           Available at https://www.aacap.org/AACAP/Policy_Statements/2018/Conversion_Therapy.aspx.

                                                            30

                                                                                                    ER0984
(50 of 130), Page 50 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 50 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 33 of 49




           ¶40). Exploratory psychotherapy can be helpful for adolescent patients who are unsure of their

           gender identity to come to understand it. Dr. Weiss appears to be suggesting that such therapy can

           help transgender people become cisgender. The sources he cites to support this do no such thing.

           The first is a letter to the editor that provides no data or evidence to support the assertion. 65 The

           second is a description of twelve adolescent patients who underwent the psychosocial assessment

           that is required prior to initiating gender-affirming medical care for adolescent gender dysphoria

           and ultimately did not pursue gender-affirming medical care. 66 This case series is not evidence

           that psychotherapy is effective in promoting identification with one’s sex assigned at birth, but

           rather, that the psychosocial evaluation is effective in identifying appropriate candidates for

           gender-affirming medical care. 67

                                                     CONCLUSION

                  49.     In summary, the declarations from the State’s experts do not provide justification

           for banning gender-affirming medical care for adolescents with gender dysphoria. The scientific

           evidence that I outlined above shows the benefits of the proscribed care. This research is consistent

           with the decades of clinical experience from around the world—including my own—of improved

           mental health outcomes from these interventions. None of the European countries the State’s

           experts cite have banned care. The research the State’s experts cite on “desistance” among

           prepubertal children has no bearing on adolescents with gender dysphoria, and there is no scientific


           65
              D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One
           size does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual
           Behavior, 50(1), 7-16.
           66
              Churcher Clarke, A., & Spiliadis, A. (2019). ‘Taking the lid off the box’: The value of extended
           clinical assessment for adolescents presenting with gender identity difficulties. Clinical Child
           Psychology and Psychiatry, 24(2), 338-352.
           67
             Incidentally, it is surprising to see Dr. Weiss rely on this study at all as throughout the remainder
           of his declaration, he dismisses research that lacks high GRADE-level data.

                                                             31

                                                                                                     ER0985
(51 of 130), Page 51 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 51 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 34 of 49




           support for their assertions that providing gender-affirming medical care causes “persistence” of

           gender incongruence. Nor is there any evidence supporting the State’s experts’ claims that youth

           are seeking gender-affirming medical care due to peer and social media influence, or that those

           who receive care are likely to come to regret it. Finally, there are no evidence-based alternatives

           for treating gender dysphoria. While the State’s experts critique the literature regarding the benefits

           of gender-affirming medical care, they offer no studies supporting an alternative treatment. The

           Idaho ban would leave physicians, adolescents, and their parents without any evidence-based

           treatments for adolescent gender dysphoria, a condition that can cause immense suffering.



           I declare under penalty of perjury under the laws of the United States of America that the foregoing

           is true and correct.




           Executed on: October 13, 2023                                  JACK L. TURBAN, MD, MHS




                                                             32

                                                                                                     ER0986
(52 of 130), Page 52 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 52 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 35 of 49




                      Exhibit A



                                                                               ER0987
(53 of 130), Page 53 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 53 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 36 of 49

                                               Jack Lewis Turban III MD MHS
                                                        401 Parnassus Ave
                                                     San Francisco, CA 94143
                                                          412.965.9388
                                                      jack.turban@ucsf.edu


     ACADEMIC APPOINTMENTS
     University of California, San Francsisco School of Medicine San Francisco, CA.                    September 2022-Present
     Assistant Professor of Child & Adolescent Psychiatry and Affiliate Faculty in the Philip R. Lee Institute for Health Policy
     Studies. Responsibilities include serving as director of the gender psychiatry program, and as an attending psychiatrist in
     the adult gender and sexual minority clinic, and in the eating disorders clinic, as well as research focusing on the
     determinants of mental health among transgender and gender diverse youth and the teaching of medical students,
     residents, and fellows.

     EDUCATION & TRAINING
     Stanford University School of Medicine Palo Alto, CA                                               July 2020-June 2022
     Fellow in Child & Adolescent Psychiatry. Fellow in child and adolescent psychiatry. Research focused on pediatric
     gender identity and LGBTQ mental health. Served as administrative chief fellow 2021-2022.

     Massachusetts General Hospital & McLean Hospital Boston, MA                                        July 2017 – May 2020
     Integrated Adult, Child, & Adolescent Psychiatry Resident. Resident physician in the integrated adult, child, and
     adolescent psychiatry program. Research focused on pediatric gender identity and LGBT mental health.

     Yale School of Medicine New Haven, CT.                                                           August 2012- May 2017
     Doctor of Medicine & Master of Health Science with honors. Clinical rotations included inpatient pediatrics, inpatient
     child psychiatry, inpatient adolescent psychiatry, residential adolescent psychiatry, psychiatric consult liaison service,
     clinical neuromodulation, neurology clinics, and neurosurgery. Completed award-winning masters’ thesis as a Howard
     Hughes Medical Institute (HHMI) medical research fellow on evolving treatment paradigms for transgender youth.
     Clerkship Grades: All Honors
     USMLE: Step 1 (252), Step 2 (256)

     Harvard University Cambridge, MA                                                            September 2007- May 2011
     B.A. Neurobiology magna cum laude with a secondary in the Dramatic Arts. Coursework included clinical neuroscience,
     systems neurobiology, visual neuroscience, positive psychology, neurobiology of behavior, CNS regenerative techniques,
     neuroanatomy, vertebrate surgery, and extensive coursework in dramatic theory and practice. International study included
     Spanish language (Alicante, Spain), stem cell biology (Shanghai, China), and studying how visual art may be used as a
     window into the mechanisms of neural processing (Trento, Italy). Honors thesis completed at The Massachusetts Eye &
     Ear Infirmary studying inner-ear development and regeneration. GPA: 3.8/4.0

     RESEARCH EXPERIENCE
     The Fenway Institute Boston, MA                                                                             2017-Present
     Post-doctoral Research Fellow. Currently using data from the National Transgender Discrimination Survey to determine
     the adult mental health correlates of recalled childhood experiences including exposure to conversion therapy and access
     to gender-affirming hormonal interventions. PIs: Timothy Wilens, Alex Keuroghlian, & Sari Reisner

     Stanford Division of Child & Adolescent Psychiatry Palo Alto, CA                                         2020-2022
     Post-doctoral Resaerch Fellow. Estabished the Stanford Evaluation of Gender Affirmation (SEGA) study, which
     examines the impact of gender-affirming medical and surgical interventions on the mental health of transgender and
     gender diverse youth. Mentors: Dr. David Hong & Dr. Tandy Aye

     McLean Institute for Technology in Psychiatry Belmont, MA.                                                2017-2020
     Post-doctoral Research Fellow. Conducted cross-sectional studies that examine the associations between geosocial
     “hook-up apps,” internalizing psychopathology, and compulsive sexual behavior. Utilizing the TestMyBrain platform. PI:
     Laura Germine


                                                                                                          ER0988
(54 of 130), Page 54 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 54 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 37 of 49

                                                Jack Lewis Turban III MD MHS
                                                         401 Parnassus Ave
                                                      San Francisco, CA 94143
                                                           412.965.9388
                                                       jack.turban@ucsf.edu

     Yale Program for Research on Impulsivity & Impulse Control Disorders New Haven, CT                             2016-2019
     Pre-doctoral Research Fellow. Conducted a studies of US military veterans who had recently returned from deployment,
     studying rates and comorbidities of those veterans who exhibit compulsive sexual behavior facilitated by social media. PI:
     Marc Potenza MD/PhD

     Yale Child Study Center New Haven, CT                                                                          2015-2017
     Pre-doctoral Research Fellow. Conducted a study to evaluate pediatric attending and medical student knowledge
     regarding transgender pediatric patient care. Additionally studied participants’ personal ethical views regarding pubertal
     blockade and cross-sex hormone therapy for adolescent patients. PI: Timothy VanDeusen MD

     Yale Department of Dermatology New Haven, CT                                                               2015-2016
     HHMI Medical Research Fellow. Studied the potential molecular mediators of Langerhans Cell-mediated UVB-induced
     epidermal carcinogenesis. Techniques included transgenic mouse models of chronic UV exposure, epidermal sheet
     preparations, immunohistochemistry, confocal microscopy, flow cytometry, Bioplex analysis, quantitative PCR and tissue
     culture. PI: Michael Girardi MD

     Yale Department Laboratory Medicine New Haven, CT                                                      2012-2014
     Pre-doctoral Research Fellow. Employed mass spectrometry to compare metabolite profiles of recurrent tumor versus
     radiation-induced necrosis following Gamma Knife Radiosurgery for brain metastases, working to identify novel
     biomarkers for non-invasive imaging techniques. PI: Tore Eid MD/PhD

     Yale Department of Neurosurgery New Haven, CT                                                                       2012-2012
     Pre-doctoral Research Fellow. Developed a database of patients who received gamma knife radiosurgery or whole brain
     radiation for the treatment of brain metastases. This database is designed to evaluate the relative risks of radiation-induced
     necrosis following these two treatment modalities. PI: Veronica Chiang MD

     Eaton-Peabody Laboratory Cambridge, MA                                                                  2009-2011
     Undergraduate Rearch Fellow. Worked at the Massachusetts Eye and Ear Infirmary laboratory, studying stem cells of the
     inner ear and working toward cochlear hair cell regeneration. PI: Albert Edge PhD

     Novartis Pharmaceuticals Shanghai, China                                                                      2009-2009
     Intern. Worked as a biological research intern, studying the role of Math-1 in inner-ear development and regeneration.

     LEADERSHIP
     UCSF Child & Adolescent Psychiatry Grand Rounds Committee San Francisco, CA.                            2023-Present
     Member. Works with with committee to select and work with grand rounds speakers for the weekly child and adolescent
     psychiatry grand rounds series.

     UCSF Child & Adolescent Psychaitry Fellowship Selection Committee San Francisco, CA                        2022-Present
     Member. Conducts interviews for applications to the UCSF child and adolescent psychiatry fellowship training program,
     sits on selection committee, works on recruitment efforts.

     The Upswing Fund                                                                                           2020-Present
     Scientific Advisory Board. Member of the scientific advisory board of a $15M charitable fund to support adolescent
     minority mental health during the COVID19 pandemic. Funded by Melinda Gates’s Panorama Global.

     Stanford Medicine Diversity Cabinet LGBTQ+ / Sexual and Gender Minority Subcommittee                        2021-2022
     Member. Working to improve Stanford School of Medicine in all aspects relevant to sexual and gender minorities
     including curriculum, clinical care, and employee support.


                                                                                                            ER0989
(55 of 130), Page 55 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 55 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 38 of 49

                                               Jack Lewis Turban III MD MHS
                                                        401 Parnassus Ave
                                                     San Francisco, CA 94143
                                                          412.965.9388
                                                      jack.turban@ucsf.edu


     Stanford Pediatric Gender Journal Club                                                                          2021-2022
     Founder. Organizing a monthly journal club focusing on the latest research relevant to the care of transgender and gender
     diverse youth.

     MGH Psychiatry Gender Lab Meetings Boston, MA                                                              2019-2020
     Founder. Established monthly lab meetings for those in the MGH psychiatry department to discuss ongoing research
     regarding transgender mental health.

     Yale School of Medicine Cultural Competence Committee New Haven, CT                                              2012-2017
     Chair. Worked with individual course directors to develop course material on cultural competence. Authored case studies
     on handling pediatric patient sexuality (Professional Responsibility Course), authored a pre-clinical lecture on LGBT
     healthcare (Ob/Gyn Module), and lectured on transgender pediatric patient care (Pediatrics Clinical Clerkship).

     Dean’s Advisory Committee on LGBTQ Affairs (Yale School of Medicine) New Haven, CT                          2016-2017
     Member. Served on the advisory committee to the Dean of Yale School of Medicine, advising on issues related to LGBTQ
     affairs.

     Yale HIV Dermatology Roundtable New Haven, CT                                                                   2014-2017
     Founder. Eighty percent of patients suffering from HIV face a dermatologic manifestation of their disease. Struck by
     these patients’ experience of stigma, I organized a bi-monthly interdisciplinary roundtable to improve research, education,
     and clinical care in HIV dermatology. Interventions have included primary care provider training on the treatment of
     genital warts and improved referral systems for cutaneous malignancies.

     Yale Gay & Lesbian Medical Association New Haven, CT                                                         2013-2017
     President. Led a group of medical students focused on supporting careers in medicine for LGBT individuals. Organized
     mixers with LGBT organizations from other graduate schools and with LGBT faculty. Coordinated trips to GLMA
     national conferences. Worked with the medical school administration to create an LGBT faculty advisor position.

     VOLUNTEER WORK & ADVOCACY
     American Academy of Child & Adolescent Psychiatry “Break the Cycle”                                        2017-2017
     Event Coordinator. Worked with Dr. Andres Martin to coordinate a fundraising indoor cycling event for the AACAP
     Break The Cycle fundraising campaign to fight children’s mental illness.

     Yale Hunger & Homelessness Auction New Haven, CT                                                               2012-2014
     Logistics Co-Chair. Organized a group of ten students to coordinate entertainment, donations, and event logistics for the
     Yale annual charity auction. All proceeds for the auction go to support local charities.

     Yale School of Medicine Admissions Committee New Haven, CT                                                     2015-2017
     Interviewer. Served as a full voting member of the admissions committee. Responsibilities include student interviewing,
     recruitment, and organizing LGBT-focused activities for admitted students.

     Harvard College Admissions New Haven, CT                                                                        2012-2020
     Interviewer. Interviewing students from the Boston area for admission to Harvard College.

     SELECTED PEER REVIEWED PUBLICATIONS: ORIGINAL RESEARCH
     Turban J.L., Dolotina B., Freitag T.M., King D., Keuroghlian A.S. Age of realization of transgender identity and mental
     health outcomes among transgender and gender diverse adults: examining the “rapid onset gender dysphoria” hypothesis.
     Journal of Adolescent Health. [In Press]


                                                                                                          ER0990
(56 of 130), Page 56 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 56 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 39 of 49

                                               Jack Lewis Turban III MD MHS
                                                        401 Parnassus Ave
                                                     San Francisco, CA 94143
                                                          412.965.9388
                                                      jack.turban@ucsf.edu

     Turban J.L., Dolotina B., King D., Keuroghlian A.S. (2022) Sex assigned at birth ratio among transgender and gender
     diverse adolescents in the United States. Pediatrics. [Accepted]

     Turban J.L., King D., Kobe J., Reisner S.L., Keuroghlian A.S. (2022) Access to gender-affirming hormones during
     adolescence and mental health outcomes among transgender adults. PLoS ONE, 17(1): e0261039.

     Passell E., Rutter L.A., Turban J.L., Scheuer L., Wright N., Germine L. (2021) Generalized Anxiety Disorder Symptoms
     are Higher Among Same- and Both-Sex Attracted Individuals in a Large, International Sample. Sexuality Research and
     Social Policy. [ePub ahead of print]

     Lewis, J. M., Monico, P. F., Mirza, F. N., Xu, S., Yumeen, S., Turban, J. L., Galan A., & Girardi, M. (2021). Chronic
     UV radiation–induced RORγt+ IL-22–producing lymphoid cells are associated with mutant KC clonal expansion.
     Proceedings of the National Academy of Sciences, 118(37).

     Turban J.L., King, D., Li, J.L., Keuroghian, A.S. (2021) Timing of Social Transition for Transgender and Gender
     Diverse Youth, K-12 Harassment, and Adult Mental Health Outcomes. Journal of Adolescent Health. 69(6), 991-998.

     Turban J.L., Loo, S. S., Almazan, A. N., Keuroghlian, A.S. (2021) Factors Leading to “Detransition” Among
     Transgender and Gender Diverse People in the United States: A Mixed-Methods Analysis. LGBT Health. 8(4), 273-280.

     Turban, J. L., Passell E, Scheer L, Germine L. (2020) Use of Geosocial Networking Applications Is Associated With
     Compulsive Sexual Behavior Disorder in an Online Sample. The Journal of Sexual Medicine. 17(8), 1574-1578.

     Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal suppression for transgender youth and
     risk of suicidal ideation. Pediatrics, 145(2), e20191725.

     Turban, J. L., Shirk, S. D., Potenza, M. N., Hoff, R. A., & Kraus, S. W. (2020). Posting Sexually Explicit Images or
     Videos of Oneself Online Is Associated With Impulsivity and Hypersexuality but Not Measures of Psychopathology in a
     Sample of US Veterans. The Journal of Sexual Medicine, 17(1), 163-167.

     Turban, J. L., Beckwith, N., Reisner, S. L., & Keuroghlian, A. S. (2020). Association between recalled exposure to
     gender identity conversion efforts and psychological distress and suicide attempts among transgender adults. JAMA
     Psychiatry, 77(1), 68-76.

     Acosta, W., Qayyum, Z., Turban, J. L., & van Schalkwyk, G. I. (2019). Identify, engage, understand: Supporting
     transgender youth in an inpatient psychiatric hospital. Psychiatric Quarterly, 90(3), 601-612.

     Turban, J. L., King, D., Reisner, S. L., & Keuroghlian, A. S. (2019). Psychological Attempts to Change a Person’s
     Gender Identity from Transgender to Cisgender: Estimated Prevalence Across US States, 2015. American Journal of
     Public Health, 109(10), 1452-1454.

     Turban, J. L., Winer, J., Boulware, S., VanDeusen, T., & Encandela, J. (2018). Knowledge and attitudes toward
     transgender health. Clinical Teacher, 15(3), 203-207.

     Turban, J. L., Potenza, M. N., Hoff, R. A., Martino, S., & Kraus, S. W. (2017). Psychiatric disorders, suicidal ideation,
     and sexually transmitted infections among post-deployment veterans who utilize digital social media for sexual partner
     seeking. Addictive Behaviors, 66, 96-100.




                                                                                                          ER0991
(57 of 130), Page 57 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 57 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 40 of 49

                                               Jack Lewis Turban III MD MHS
                                                         401 Parnassus Ave
                                                      San Francisco, CA 94143
                                                           412.965.9388
                                                       jack.turban@ucsf.edu

     Turban J. L.*, Lu, A. Y*., Damisah, E. C., Li, J., Alomari, A. K., Eid, T., ... & Chiang, V. L. (2017). Novel biomarker
     identification using metabolomic profiling to differentiate radiation necrosis and recurrent tumor following Gamma Knife
     radiosurgery. Journal of Neurosurgery, 127(2), 388-396.

     Kempfle, J. S., Turban, J. L., & Edge, A. S. (2016). Sox2 in the differentiation of cochlear progenitor cells. Scientific
     Reports, 6, 23293.

     SELECTED PEER REVIEWED PUBLICATIONS: COMMENTARY, REVIEWS, & PERSPECTIVES
     Lerario, M. P., Rosendale, N., Waugh, J. L., Turban, J., & Maschi, T. (2023). Functional Neurological Disorder Among
     Sexual and Gender Minority People. Neurologic Clinics. [In Press]

     Chen A, Cohen I.G., Kraschel K., Turban J.L.. Legal & Ethical Perspectives on Criminalization of Standard of Care
     Medical Practices. Cell Reports Medicine.

     Turban J.L., Brady C., & Olson-Kennedy J. Understanding & Supporting Patients with Dynamic Desires for Gender-
     affirming Medical Interventions. JAMA Network Open.

     Dolotina B. & Turban J.L. “Phantom Networks” Prevent Children & Adolescents from Obtaining the Mental Health
     Care They Need. Health Affairs. 41(7).

     Turban J.L., Kamceva M, Keuroghlian A.S. Pharmacologic Considerations for Transgender and Gender Diverse People.
     JAMA Psychiatry. 79(6): 629-630.

     Dolotina B. & Turban J.L.. (2022) A multipronged, evidence-based approach to improving mental health among
     transgender and gender diverse youth. JAMA Network Open. 5(2): e220926.

     Turban J.L., Almazan A.N., Reisner S.L., Keuroghlian A.S. (2022) The importance of non-probability samples in
     minority health research: lessons learned from studies of transgender and gender diverse mental health. Transgender
     Health. [ePub ahead of print]

     Turban J.L., Kraschel K.L., Cohen, G.C. (2021) Legislation to Criminalize Gender-affirming Medical Care for
     Transgender Youth. JAMA. 325(22), 2251-2252.

     Liu M., Turban J.L., Mayer K.H. (2021) The US Supreme Court and Sexual and Gender Minority Health. American
     Journal of Public Health. 111(7), 1220-1222.

     Suto, D.J., Macapagal, K., Turban, J.L. (2021) Geosocial Networking Application Use Among Sexual Minority
     Adolescents. Journal of the American Academy of Child & Adolescent Psychiatry. 60(4), 429-431.

     Turban, J. L., Keuroghlian, A. S., & Mayer, K. H. (2020) Sexual Health in the SARS-CoV-2 Era. Annals of Internal
     Medicine. 173(5), 387-389.

     Suozzi, K., Turban, J.L., & Girardi, M. (2020). Focus: Skin: Cutaneous Photoprotection: A Review of the Current Status
     and Evolving Strategies. The Yale Journal of Biology and Medicine, 93(1), 55.

     Malta, M., LeGrand, S., Turban, J.L., Poteat, T., & Whetten, K. (2020). Gender-congruent government identification is
     crucial for gender affirmation. The Lancet Public Health. 5(4), e178-e179.

     Turban J.L. (2019). Medical Training in the Closet. The New England Journal of Medicine, 381(14), 1305.


                                                                                                            ER0992
(58 of 130), Page 58 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 58 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 41 of 49

                                              Jack Lewis Turban III MD MHS
                                                       401 Parnassus Ave
                                                    San Francisco, CA 94143
                                                         412.965.9388
                                                     jack.turban@ucsf.edu

     Turban, J. L., & Keuroghlian, A. S. (2018). Dynamic gender presentations: understanding transition and" de-transition"
     among transgender youth. Journal of the American Academy of Child and Adolescent Psychiatry, 57(7), 451-453.

     Turban, J. L., Carswell, J., & Keuroghlian, A. S. (2018). Understanding pediatric patients who discontinue gender-
     affirming hormonal interventions. JAMA Pediatrics, 172(10), 903-904.

     Turban, J. L. (2018). Potentially Reversible Social Deficits Among Transgender Youth. Journal of Autism and
     Developmental Disorders, 48(12), 4007-4009.

     Turban, J. L., & van Schalkwyk, G. I. (2018). “Gender dysphoria” and autism spectrum disorder: Is the link
     real?. Journal of the American Academy of Child & Adolescent Psychiatry, 57(1), 8-9.

     Turban, J. L., & Ehrensaft, D. (2018). Research review: gender identity in youth: treatment paradigms and
     controversies. Journal of Child Psychology and Psychiatry, 59(12), 1228-1243.

     Turban J. L., Genel, M. (2017) Evolving Treatment Paradigms for Transgender Patients. Connecticut Medicine, 81(8),
     483-486.

     Turban, J., Ferraiolo, T., Martin, A., & Olezeski, C. (2017). Ten things transgender and gender nonconforming youth
     want their doctors to know. Journal of the American Academy of Child & Adolescent Psychiatry, 56(4), 275-277.

     Turban, J. L. (2017). Transgender Youth: The Building Evidence Base for Early Social Transition. Journal of the
     American Academy of Child and Adolescent Psychiatry, 56(2), 101.

     Turban J. L., Martin A. (2017) Book Forum: Becoming Nicole. Journal of the American Academy of Child & Adolescent
     Psychiatry, 56(1): 91-92.

     TEXTBOOKS AND TEXTBOOK CHAPTERS
     Forcier, M., Van Schalkwyk, G., Turban, J. L. (Editors). Pediatric Gender Identity: Gender-affirming Care for
     Transgender & Gender Diverse Youth. Springer Nature, 2020.

     Challa M., Scott C., Turban J.L. Epidemiology of Pediatric Gender Identity. In Forcier, M., Van Schalkwyk, G.,
     Turban, J. L. (Editors). Pediatric Gender Identity: Gender-affirming Care for Transgender & Gender Diverse Youth.
     Springer Nature, 2020.

     Turban J.L., Shadianloo S. Transgender & Gender Non-conforming Youth. In Rey, J.M. (Editor): IACAPAP e-Textbook
     of Child and Adolescent Mental Health. Geneva. International Association of Child and Adolescent Psychiatry and Allied
     Professionals, 2018.

     Turban, J. L., DeVries, A.L.C., Zucker, K. Gender Incongruence & Gender Dysphoria. In Martin A., Bloch M.H.,
     Volkmar F.R. (Editors): Lewis’s Child and Adolescent Psychiatry: A Comprehensive Textbook, Fifth Edition.
     Philadelphia: Wolters Kluwer 2018.


     INVITED GRAND ROUNDS PRESENTATIONS
     Turban JL. Transgender Youth Mental Health. Maudsley Hospital / Kings College London Grand Rounds, 2023.

     Turban JL. Resaerch Updates: Supporting the Mental Health of Transgneder and Gender Diverse Youth. Department of
     Behavioral Health, Wake Forest School of Medicine / Atrium Health, 2023.


                                                                                                        ER0993
(59 of 130), Page 59 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 59 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 42 of 49

                                            Jack Lewis Turban III MD MHS
                                                     401 Parnassus Ave
                                                  San Francisco, CA 94143
                                                       412.965.9388
                                                   jack.turban@ucsf.edu


     Turban JL. Supporting the Mental Health of Transgender and Gender Diverse Youth. Child & Adolescent Psychiatry
     Grand Rounds, Long Island Jewish Medical Center / Zucker Hillside, 2023.

     Turban JL. Suicidality in Sexual and Gender Minority Youth. Psychiatry Grand Rounds, Boston Children’s Hospital,
     2023.

     Turban JL. Opinion Writing to Promote Public Health & Evidence-Based Public Policy. Medical Education Grand
     Rounds, The University of Vermont Larner College of Medicine, 2022.

     Turban JL. Research Updates: Supporting the Mental Health of Transgender & Gener Diverse Youth. Division of Child
     & Adolescent Psychiatry Grand Rounds, Stanford University School of Medicine, 2022.

     Turban JL. Supporting Transgender & Gender Diverse Youth: Research Updates & Treatment Paradigms. Department
     of Psychiatry Grand Rounds, University of Nebraska Medical Center, 2022.

     Turban JL. Supporting the Mental Health of Transgener & Gender Diverse Youth. Department of Pediatrics, Division of
     Behavioral Health Grand Rounds, University of Utah, 2022.

     Turban JL. Gender Diverse Youth: Treatment Paradigms & Research Updates. Psychiatry Grand Rounds, Thomas
     Jefferson University, 2021.

     Turban JL. Supporting Gender Diverse Youth Throughout Development. Child Psychiatry Grand Rounds, Georgetown,
     2021.

     Turban JL. Understanding Pediatric Gender Identity through Childhood and Adolescence. Grand Rounds, Institute of
     Living, 2021.

     Turban JL. Evolving treatment paradigms for transgender youth. Pediatric Grand Rounds, Albany Medical Center, 2021.

     Turban JL. Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand Rounds, McLean Hospital
     (Harvard Medical School), 2021.

     Turban JL. Einstein Psychiatry Grand Rounds: Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand
     Rounds, Einstein Medical Center, 2021.

     Turban JL. COVID19 and Pediatric Mental Health. Pediatrics Grand Rounds, Stanford University School of Medicine,
     2021.

     Turban JL. Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand Rounds, Beth Israel Deaconess
     Medical Center (Harvard Medical School), 2020.

     ADDITIONAL INVITED PRESENTATIONS
     Turban JL. Suicide Prevention for LGBTQ+ Youth. National Institues of Health, Bethesda, 2023.

     Turban JL. NAMI LGBTQ+ Mental Health Roundtable Discussion. National Alliance on Mental Illness, San Francisco,
     2023.

     Turban JL. Supporting the Mental Health of Transgender & Gender Diverse Youth. United Nations NGO Committee on
     Mental Health, United Nations, 2023.

                                                                                                     ER0994
(60 of 130), Page 60 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 60 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 43 of 49

                                            Jack Lewis Turban III MD MHS
                                                     401 Parnassus Ave
                                                  San Francisco, CA 94143
                                                       412.965.9388
                                                   jack.turban@ucsf.edu


     Turban JL & Spetz J. How to Give Expert Testimony. UCSF Philip R. Lee Institute for Health Policy Studies Impacting
     Policy Series, San Francisco, 2023.

     Turban JL. The Research on Gender-affirming Care for Transgender Youth. AusPATH Research Seminar. Sydney, 2023.

     Turban JL. Building a Career in Sexual & Gender Minority Health Research. National Institutes of Health, Bethesda,
     2022.

     Turban JL. Research Updates: Gender-affirming Care for Transgender Youth. MUSC LGBTQ+ Health Equity Summit,
     Medical University of South Carolina, 2022.

     Turban JL. Keynote: Supporting The Mental Health of Transgender & Gender Diverse Youth. Edythe Kurz Educational
     Institute Conference, Westchester, 2022.

     Turban JL, Peters B, Olson-Kennedy J. Gender-Affirming Care: Through a Medical, Surgical, and Mental Health Lens.
     Critical Issues in Child & Adolescent Mental Health Conference, San Diego, 2022.

     Turban JL. Improving Mental Health Outcomes for Transgender and Gender Diverse (TGD) Youth Through Gender-
     affirming Care. National LGBTQIA+ Health Education Center, The Fenway Institute, 2022.

     Turban JL. Combatting anti-trans legislation through science, data, and writing. State of Queer Mental Health
     Conference by The Mental Health Association of San Francisco, Online, 2021.

     Turban JL. Updates on LGBTQ Mental Health. Annual Psychiatric Times World CME Conference, Online, 2021.

     Turban JL. Imbasciani LGBTQ Health Equity Lecture: Evolving Treatment Paradigms for Transgender and Gender
     Diverse Youth. University of Vermont Larner College of Medicine, Burlington, 2021.

     Turban JL. The Emergence of Gender-affirming Care for Transgender & Gender Diverse Youth, United Nations NGO
     Committee on Mental Health, Oral Presentation, Online, 2021.

     Turban JL. Keynote – Transgender & Gender Diverse Youth: Research Updates. Stony Brook Transgender Health
     Conference, Online, 2021.

     Turban JL. Opinion Writing on Sensitive Topics. Harvard Media & Medicine Course, Live Lecture, Online, 2021.

     Turban JL. Gender affirming care for transgender and gender diverse youth: what we know and what we don’t.
     University of Texas Pride Health Institute, Oral Presentation, Online, 2020.

     Turban JL. Q&A on Transgender Youth Mental Health. PEOPLE in Healthcare at University of Toledo, Oral
     Presentation, Online, 2020.

     Turban JL, Pagato S, Gold J, Broglie J, Naidoo U, Alvarado A. Innovation of Student Mental Health during COVID19.
     Panel to the People, Oral Presentation, Online, 2020.

     Turban JL, Belkin B, Vito J, Campos K, Scasta D, Ahuja A, Harris S. Discussion on Abomination: Homosexuality and
     the Ex-Gay Movement. Panelist, The Association of LGBTQ+ Psychiatrists Virtual Session, Oral Presentation, Online,
     2020.


                                                                                                    ER0995
(61 of 130), Page 61 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 61 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 44 of 49

                                             Jack Lewis Turban III MD MHS
                                                      401 Parnassus Ave
                                                   San Francisco, CA 94143
                                                        412.965.9388
                                                    jack.turban@ucsf.edu

     Turban JL. Is Grindr affecting gay men’s mental health? Oral Presentation, UCLA & AETC Coping with Hope, Online,
     Oral Presentation, 2020.

     Turban JL, Hall TM, Goldenberg D, Hellman R. Gay Sexuality and Dating. Moderator, The Association of LGBTQ+
     Psychiatrists Virtual Session, Oral Presentation, Online, 2020.

     CONFERENCE PRESENTATIONS & ABSTRACTS
     Turban JL, Calhoun A, Gold, J. Mission-Based Media Collaborative Work Concerning “Controversial” Topics in
     Psychiatry. Annual Meeting of The American Psychiatric Association, Oral Presentation, San Francisco, 2023.

     Turban JL, Ahuja A. Autogynephilia: Historical Context, Clarifications, and Controversy. Annual Meeting of The
     American Psychiatric Association, Oral Presentation, San Francisco, 2023. [Cancelled]

     Turban JL. A Systematic Approach for Understanding Gender Identity Evolution. Annual Meeting of The American
     Academy of Child & Adolesent Psychiatry, Oral Presentation, Toronto, 2022.

     Turban JL. Transgender Youth: Evolving Gender Identities and “Detransition.” Annual Meeting of The American
     Academy of Child & Adolesent Psychiatry, Session Chair of Oral Symposium, Toronto, 2022.

     Turban JL. From The New York Times to Hollywood: Communicating With the Public Through Opinion Writing,
     Publishing, Social Media, and Consulting for Film and TV, Annual Meeting of The American Academy of Child &
     Adolesent Psychiatry, Session Chair of Oral Symposium, Toronto, 2022.

     Turban JL. Writing for the Lay Press to Combat Misinformation Regarding Pediatric Mental Health, Annual Meeting of
     The American Academy of Child & Adolesent Psychiatry, Oral Presentation, Toronto, 2022.

     Turban JL. COVID-19 and Psychosexual Dynamics, Annual Meeting of the American Academy of Child & Adolescent
     Psychiatry, Oral Presentation, Toronto, 2022.

     Dolotina B, Turban JL, King D, Keuroghlian AS. Age of Realization of Gender Identity and Mental Health Outcomes
     among Transgender Adults: Evaluating the “Rapid Onset Gender Dysphoria” Hypothesis, Annual Meeting of The
     American Academy of Child & Adolescent Psychiatry, Poster, Toronto, 2022.

     Turban JL. Sex ratio among transgender adolescents in the United States. World Professional Association for
     Transgender Health Scientific Symposium, Oral Presentation, Montreal, 2022.

     Turban JL. Access To Gender-Affirming Hormones During Adolescence And Mental Health Outcomes Among
     Transgender Adults. World Professional Association for Transgender Health Scientific Symposium, Oral Presentation,
     Montreal, 2022.

     Turban JL, Gold J, Hartselle S, Yen J. From The New York Times to the Big Screen: Communicating With the Public
     Through Opinion Writing, Publishing, Social Media, and Consulting for Film and TV. Annual Meeting of The American
     Academy of Child & Adolesent Psychiatry, Session Chair of Oral Symposium, Online, 2021.

     Turban JL. Creating Change through Opinion Writing in Child & Adolescent Psychiatry. Annual Meeting of The
     American Academy of Child & Adolesent Psychiatry, Oral Presentation, Online, 2021.

     Turban JL, Giedinghagen A, Janssen A, Myint M, Daniolos P. Transgender Youth: Understanding “De-transition,” Non-
     linear Gender Trajectories, and Dynamic Gender Identities. Annual Meeting of The American Academy of Child &
     Adolesent Psychiatry, Session Chair of Oral Symposium, Online, 2021.

                                                                                                      ER0996
(62 of 130), Page 62 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 62 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 45 of 49

                                             Jack Lewis Turban III MD MHS
                                                      401 Parnassus Ave
                                                   San Francisco, CA 94143
                                                        412.965.9388
                                                    jack.turban@ucsf.edu


     Turban JL. A framework for understanding dynamic gender identities through internal and external factors. Annual
     Meeting of The American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2021.

     Turban JL, Geosocial networking application use among birth-assigned male adolescents. Annual Meeting of The
     American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2021.

     Turban JL. LGBTQ Families and the US Supreme Court. Annual Meeting of The American Academy of Child &
     Adolescent Psychiatry, Oral Presentations, Online, 2021.

     Turban JL, King D, Kobe J, Reisner SL, Keuroghlian AS. Access to Gender-affirming Hormones during Adolescence
     and Mental Health Outcomes among Transgender Adults. Annual Meeting of The American Academy of Child &
     Adolescent Psychiatry, Poster, Online, 2021.

     Turban JL. Gender Identity Conversion Efforts: Quantitative Perspectives. Annual Meeting of The American Psychiatric
     Association, Oral Presentation, Online, 2021.

     Turban JL. For Worse: Negative Aspects of Social Media for LGBT Youth. Oral Presentation, Annual Meeting of The
     American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2020.

     Turban JL. Hookup App Use among Gay and Bisexual Males: Sexual Risk and Associated Psychopathology. Oral
     Presentation, Annual Meeting of The American Academy of Child & Adolescent Psychiatry, Online, 2020.

     Turban JL. Communicating with the Public: From The New York Times to The Big Screen. Oral Presentation, Annual
     Meeting of The American Academy of Child & Adolescent Psychiatry, Online, 2020.

     Turban JL, McFarland C, Walters O, Rosenblatt S. An Overview of Best Outpatient Practice in the Care of Transgender
     Individual. Oral Presentation, Annual Meeting of the American Psychiatric Association, Philadelphia, 2020. [Accepted,
     but cancelled due to COVID19]

     Turban JL, Lakshmin P, Gold J, Khandai C. #PsychiatryMatters: Combating Mental Health Misinformation Through
     Social Media and Popular Press. Oral Presentation, Annual Meeting of the American Psychiatric Association,
     Philadelphia, 2020. [Accepted, but cancelled due to COVID19]

     Turban JL. The Pen and the Psychiatrist: Outreach and Education Through the Written Word. Oral Presentation, Annual
     Meeting of the American Academy of Child & Adolescent Psychiatry, Chicago, 2019.

     Turban JL. For Better and For Worse: Gender and Sexuality Online, Oral Presentation, Annual Meeting of the American
     Academy of Child & Adolescent Psychiatry, Chicago, 2019.

     Turban JL. Gender Diverse Young Adults: Narratives and Clinical Considerations, Oral Presentation, Annual Meeting of
     the American Academy of Child & Adolescent Psychiatry, Chicago, 2019.

     Turban JL. Transgender Youth: Controversies and Research Updates, Oral Presentation, Annual Meeting of the
     American Psychiatric Association, San Francisco, 2019.

     Turban JL, Beckwith N, Reisner S, Keuroghlian A. Exposure to Conversion Therapy for Gender Identity Is Associated
     with Poor Adult Mental Health Outcomes among Transgender People in the U.S. Poster Presentation, Annual Meeting of
     the American Academy of Child & Adolescent Psychiatry, Seattle, 2018.


                                                                                                      ER0997
(63 of 130), Page 63 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 63 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 46 of 49

                                               Jack Lewis Turban III MD MHS
                                                        401 Parnassus Ave
                                                     San Francisco, CA 94143
                                                          412.965.9388
                                                      jack.turban@ucsf.edu

     Shirk SD, Turban JL, Potenza M, Hoff R, Kraus S. Sexting among military veterans: Prevalence and correlates with
     psychopathology, suicidal ideation, impulsivity, hypersexuality, and sexually transmitted infections. Oral Presentation,
     International Conference on Behavioral Addictions, Cologne, Germany, 2018.

     Turban JL. Gender Identity and Autism Spectrum Disorder. Oral Presentation, Annual Meeting of the American
     Academy of Child & Adolescent Psychiatry, Washington D.C., 2017.

     Turban JL. Tackling Gender Dysphoria in Youth with Autism Spectrum Disorder from the Bible Belt to New York City.
     Oral Presentation, Annual Meeting of the American Academy of Child & Adolescent psychiatry, Washington D.C., 2017.

     Turban JL. Affirmative Protocols for Transgender Youth. Oral Presentation, Annual Meeting of the American Academy
     of Child & Adolescent Psychiatry, Washington D.C., 2017.

     Turban, JL. Evolving Management of Transgender Youth. Oral Presentation, Klingenstein Third Generation Foundation
     Conference, St Louis, 2017.

     Turban, JL, Potenza M, Hoff R, Martino S, Kraus S. Clinical characteristics associated with digital hookups,
     psychopathology, and clinical hypersexuality among US military veterans. Oral Presentation, International Conference on
     Behavioral Addictions, Haifa, Israel, 2017.

     Lewis J, Monaco P, Turban JL, Girardi M. UV-induced mutant p53 ketatinocyte clonal expansion dependence on IL-22
     and RORγT. Poster, Society of Investigative Dermatology, Portland, 2017.

     Turban JL, Winer J, Encandela J, Boulware S, VanDeusen T. Medical Student Knowledge of and Attitudes toward
     Transgender Pediatric Patient Care. Abstract, Gay & Lesbian Medical Association, St Louis, 2016.

     Turban JL, Lu A, Damisah E, Eid T, Chiang V. Metabolomics to Differentiate Radiation Necrosis from Recurrent
     Tumor following Gamma Knife Stereotactic Radiosurgery for Brain Metastases. Oral Presentation, 14th Annual Leksell
     Gamma Knife Conference, New York City, 2014

     Turban JL, Lewis J, Girardi M. UVB-induced HMGB1 and extracellular ATP increase Langerhans cell production of IL-
     23 implicated in ILC3 activation. Poster, Society of Investigative Dermatology, Scottsdale, 2016

     Turban JL, Lewis J, Girardi M. Characterization of cytokine pathways associated with Langerhans cell facilitation of
     UVB-induced epidermal carcinogenesis. Poster, American Society of Clinical Investigation, Chicago, 2016.

     Lewis J, Turban JL, Girardi M, Michael Girardi. Langerhans cells and UV-radiation drive local IL22+ ILC3 in
     association with enhanced cutaneous carcinogenesis. Poster, Society of Investigative Dermatology, Scottsdale, 2016.

     Sewanan L, Zheng D, Wang P, Guo X, Di Bartolo I, Marukian N, Turban JL, Rojas-Velazques D, Reisman A.
     Reflective Writing Workshops Led By Near Peers During Third-Year Clerkships: A Safe Space for Solidarity,
     Conversation, and Finding Meaning in Medicine. Poster & Workshop, Society of General Internal Medicine, New Haven
     and Hollywood, 2016.

     TEACHING PRESENTATIONS
     Advanced Topics in Pediatric Gender Care. Stanford Child & Adolescent Psychiatry Fellowship Didactics, 2023.
     Opinion Writing About The “Politically Sensitive” and Personal. Harvard Medical School Master of Science in Media,
     Medicine, and Health Degree Program, 2022.
     Gender-affirming Care for Transgender & Gender Diverse Youth, Zuckerberg San Francisco General Hospital Adolescent
     Psychology Internship Didactics, 2022.

                                                                                                           ER0998
(64 of 130), Page 64 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 64 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 47 of 49

                                               Jack Lewis Turban III MD MHS
                                                         401 Parnassus Ave
                                                      San Francisco, CA 94143
                                                           412.965.9388
                                                       jack.turban@ucsf.edu

     Supporting Transgender & Gender Diverse Youth. UCSF Trauma Recovery Center Didactics, 2022.
     Developmental Psychopathology, Psychotherapy & Psychopharmacology Course: Pediatric Gender. Stanford University
     School of Medicine Child & Adolescent Psychiatry Fellowship Didactics, 2021.
     Supporting Gender Diverse Youth Through Various Stages of Development. Univeristy of California San Francisco Child
     & Adolescent Psychiatry Fellowship Didactics, 2021.
     Treatment of Transgender and Gender Diverse Youth. Stanford University School of Medicine Psychiatry Residency
     Didactic, 2021.
     Caring for Transgender and Gender Diverse Youth. University of California San Diego General Psychiatry Residency
     Resident Rounds, 2021.
     Opinion Writing 101. Stanford Pediatrics Residency Program, 2021.
     Psychotherapeitic Considerations for Transgender Youth. Stanford PsyD Child Psychotherapy Course, 2021.
     Transgender Youth: Treatment Paradigms and Research Updates. Children’s Health Council DBT Program Lecture
     Series, 2021.
     Gender-affirming Care for Patients with Primary Psychotic Disorders. McLean Psychotic Disorders Division Seminar
     Series, 2019.
     Gender-affirming Care for Transgender Elders. McLean Geriatric Psychiatry Seminar Series, 2019.
     Writing about Gender & Sexuality (Guest Lecture), Course: Sexual Outcasts & Uncommon Desires, Emerson College,
     2019
     Gender-affirming Care for Transgender and Gender Diverse Patients on Inpatient Psychiatric Units, MGH Inpatient
     Psychiatry Seminar Series, 2019.
     Transgender & Gender Non-conforming Youth, MGH/McLean Adult Residency program, 2018.
     Writing about Gender Identity for the Lay Audience (Guest Lecture), Course: Kids These Days, Emerson Journalism
     Program, 2017
     International Approaches to the Treatment of Gender Incongruence, VU Medical Center, Amsterdam, 2017
     Time to Talk About It: Physician Depression and Suicide, Yale Clerkship Didactics, 2017
     Medical Management of Adolescent Gender Dysphoria. Yale Pediatrics Clerkship, 2015-2016
     Medical Management of Children and Adolescents with Gender Dysphoria, Yale Pediatrics Residency Didactics, 2016
     Reflective Writing Workshop Leader. Yale Surgery Clerkship, 2015-2016
     Langerhans Cell Facilitation of Photocarcinogenesis. Yale Department of Dermatology Research Forum, 2016
     Panel: Treating Transgender & Gender Non-conforming Patients in the Emergency Setting. Yale Emergency Medicine
     Clerkship, 2016
     Panel: Challenges to the Learning Climate: Difficult Patients, Harassment, and Mistreatment. Yale Pre-Clinical
     Orientation, 2016
     Panel: Personal Behavior and Professionalism, Introduction to the Profession, 2016

     RESEARCH SUPPORT

     Current Funding:
     Sorensen Foundation Fellowship, $287,000 (2021-2023)
     The Impact of Gender-affirming Medical and Surgical Interventions on Psychopathology and Implicit Gender
     Incongruence among Transgender Adolescents
     Role: Principal Investigator

     UCSF Population Health Equity Scholars Grant, $20,000 (2023-2024)
     Systematic content analysis of federal appellate court rulings regarding the constitutionality of bans on gender identity and
     sexual orientation conversion efforts
     Role: Principal Investigator

     Completed Funding:
     Stanford Department of Psychiatry and Behavioral Sciences Trainee Innovator Grant, $5,000 (2020-2021)

                                                                                                            ER0999
(65 of 130), Page 65 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 65 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 48 of 49

                                             Jack Lewis Turban III MD MHS
                                                      401 Parnassus Ave
                                                   San Francisco, CA 94143
                                                        412.965.9388
                                                    jack.turban@ucsf.edu

     Examining the impact of gender identity conversion therapy bans on suicidality among transgender and gender diverse
     people in the U.S.: a difference-in-differences analysis
     Role: Principal Investigator

     American Academy of Child & Adolescent Psychiatry Pilot Research Award, $15,000 (2019-2020)
     Childhood and Adolescent Experiences with Gender-related Medical Care and Adult Mental Health Outcomes: Analysis
     of the 2015 U.S. Transgender Survey
     Role: Principal Investigator

     AWARDS & HONORS
     Top Peer Review Service, Annals of Internal Medicine (2022)
     Stanford Child & Adolescent Psychiatry Chief Fellow (2021-2022)
     Wasserman Award for Advocacy in Children’s Mental Health (2021)
     Top Manuscript of The Year - Pediatrics (2020)
     American Psychiatric Association Child & Adolescent Psychiatry Fellowship (2019-2021)
     Ted Stern Scholarship and Travel Award (2019)
     Editor’s Pick for Best Clinical Perspectives Manuscript – Journal of The American Academy of Child & Adolescent
     Psychatry (2018)
     SciShortform Project: Best Shortform Science Writing, Columns & Op-Eds (2018)
     Ted Stern Scholarship and Travel Award (2018)
     Medaris Grant (2018)
     Editor’s Pick for Best Clinical Perspectives Manuscript – Journal of The American Academy of Child & Adolescent
     Psychatry (2017)
     United States Preventative Health Services Award for Excellence in Public Health (2017)
     NBC Pride 30 Innovator (2017)
     Ferris Thesis Prize, Yale School of Medicine (2017)
     Parker Prize, Yale School of Medicine (2017)
     Howard Hughes Medical Institute Medical Research Fellowship (2015-2016)
     American Academy of Child and Adolescent Psychiatry Life Members Mentorship Grant (2016)
     Student Scholarship, Gender Conference East (2016)
     Farr Award for Excellence in Research (2016)
     Yale Office of International Medical Education Grant, Buenos Aires, Argentina (2016)
     Yale Office of International Medical Education Grant, VU Medical Center, The Netherlands (2016)
     Yale Summer Research Grant (2012)
     AIG International Scholar, Harvard College (2007-2011)
     Harvard International Study Grant, Alicante, Spain (2008)
     David Rockefeller International Study Grant, Shanghai, China (2009)

     PROFESSIONAL MEMBERSHIPS & COMMITTEES
     American Psychiatric Association, Member
     American Academy of Child & Adolescent Psychiatry, Member
     American Psychiatry Association, Council on Communications
     American Academy of Child & Adolescent Psychiatry, Media Committee
     American Academy of Child & Adolescent Psychiatry, Chair of Subcomittee on Interfacing with the Media
     World Professional Association for Transgrender Health, Member
     US Professional Association for Transgender Health, Member
     US Professional Association for Transgender Health, Research Committee
     Athlete Ally, Affiliate Scholar
     Psychiatric Times, Editorial Board


                                                                                                      ER1000
(66 of 130), Page 66 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 66 of 130
                   Case 1:23-cv-00269-BLW Document 70-4 Filed 10/13/23 Page 49 of 49

                                            Jack Lewis Turban III MD MHS
                                                     401 Parnassus Ave
                                                  San Francisco, CA 94143
                                                       412.965.9388
                                                   jack.turban@ucsf.edu


     ACADEMIC JOURNAL SERVICE & AD HOC PEER REVIEW
     PLoS One, Academic Editor
     JAACAP, Contributing Editor
     JAMA, Peer Reviewer
     JAMA Pediatrics, Peer Reviewer
     JAMA Psychiatry, Peer Reviewer
     JAMA Network Open, Peer Reviewer
     Annals of Internal Medicine, Peer Reviewer
     Pediatrics, Peer Reviewer
     Journal of the American Academy of Child & Adolescent Psychiatry, Peer Reviewer
     JAACAP Open, Peer Reviewer
     Journal of Child Psychology and Psychiatry, Peer Reviewer
     Journal of Adolescent Health, Peer Reviewer
     Academic Psychiatry, Peer Reviewer
     Journal of Autism and Developmental Disorders, Peer Reviewer
     American Journal of Public Health, Peer Reviewer
     Perspectives on Psychological Science, Peer Reviewer
     Transgender Health, Peer Reviewer
     Journal of Clinical Medicine, Peer Reviewer
     Brain Sciences, Peer Reviewer
     Social Science & Medicine, Peer Reviewer
     Sexual Health, Peer Reviewer
     Women, Peer Reviewer




                                                                                       ER1001
(67 of 130), Page 67 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 67 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 1 of 39




             RAÚL R. LABRADOR
             ATTORNEY GENERAL

             LINCOLN DAVIS WILSON, ISB #11860            DAVID H. THOMPSON (PHV)
             Chief, Civil Litigation and                 Special Deputy Attorney General
             Constitutional Defense                      BRIAN W. BARNES (PHV)
             RAFAEL J. DROZ, ISB #9934                   Special Deputy Attorney General
             Deputy Attorney General                     JOHN D. RAMER (PHV)
             Office of the Attorney General              Special Deputy Attorney General
             P. O. Box 83720                             Cooper & Kirk PLLC
             Boise, ID 83720-0010                        1523 New Hampshire Ave NW
             Telephone: (208) 334-2400                   Washington, DC 20036
             Fax: (208) 854-8073                         Tel: (202) 220-9600
             lincoln.wilson@ag.idaho.gov                 dthompson@cooperkirk.com
             rafael.droz@ag.idaho.gov                    bbarnes@cooperkirk.com
                                                         jramer@cooperkirk.com
             Attorneys for Defendants Raúl Labrador
             and Individual Members of the Idaho
             Code Commission


                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO

             PAM POE, by and through her
             parents and next friends, et al.
                                                            Case No. 1:23-cv-00269-BLW
                                 Plaintiffs,
                                                            COMBINED MEMORANDUM OF
             v.                                             LAW IN OPPOSITION TO MO-
                                                            TION FOR PRELIMINARY IN-
             RAÚL LABRADOR, in his official                 JUNCTION AND IN SUPPORT
             capacity as Attorney General of the State      OF MOTION TO DISMISS
             of Idaho, et al.

                                 Defendants.




                                                                                     ER1002
(68 of 130), Page 68 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 68 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 2 of 39




                                                           TABLE OF CONTENTS


            TABLE OF AUTHORITIES ................................................................................................. iv

            INTRODUCTION ............................................................................................................... 1

            BACKGROUND ................................................................................................................. 3

            I.       Gender dysphoria is a psychiatric diagnosis .................................................... 3

            II.      “Transitioning” minors inflicts irreversible harms and unknown risk ........... 5

                     A. Taking cross-sex hormones before puberty causes sterility ....................... 5

                     B. The neurological effects of suppressing puberty are unknown .................. 6

                     C. Puberty blockers and cross-sex hormones cause other harms.................... 7

            III.     No reliable science evidence justifies medical transition for minors ............... 7

                     A. Medical ethics require benefits outweigh the risks..................................... 7

                     B. European Authorities find benefits do not outweigh the risks ................... 8

                     C. Detransitioners cast significant doubt on Plaintiffs’ claims ....................... 9

            IV.      Idaho enacts the Vulnerable Child Protection Act ......................................... 10

            STANDARD OF DECISION .............................................................................................. 10

            ARGUMENT ................................................................................................................... 11

            I.       The Court lacks subject matter jurisdiction ................................................... 11

            II.      Plaintiffs fail to demonstrate a likelihood of success on the merits .............. 12

                    A. The Act does not discriminate by sex or transgender status ..................... 13

                         1. The Act does not discriminate based on sex .......................................... 13

                         2. The Act does not discriminate based on transgender status ................ 15

                    B. Parents have no right to experimental and harmful treatments .............. 17

                                                  COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                               PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – ii
                                                                                                                           ER1003
(69 of 130), Page 69 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 69 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 3 of 39




                    C. The Act satisfies any level of scrutiny ........................................................ 19

                    D. Plaintiffs’ experts’ opinions are unreliable ................................................. 24

            III.    Plaintiffs have not met the remaining preliminary-injunction factors........... 27

            IV.     The scope of Plaintiffs’ requested relief is inappropriate ................................ 29

            CONCLUSION............................................................................................................ 31




                                                COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                            PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – iii
                                                                                                                     ER1004
(70 of 130), Page 70 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 70 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 4 of 39




                                                         TABLE OF AUTHORITIES

            CASES

            Abigail All. for Better Access to Developmental Drugs v. von Eschenbach,
             495 F.3d 695 (D.C. Cir. 2007) .................................................................................. 19

            California v. Azar,
             911 F.3d 558 (9th Cir 2018)............................................................................... 12, 27

            Coalition for the Econ. Equity v. Wilson,
            122 F.3d 718 (9th Cir. 1997)...................................................................................... 27

            Daniels-Feasel v. Forest Pharms.,
             2021 WL 4037820 (S.D.N.Y. September 3, 2021), aff’d, 2023 WL 4837521 (2d Cir.
             July 28, 2023) ........................................................................................................... 24

            Dobbs v. Jackson Women’s Health Organization,
            142 S. Ct. 2228 (2022) ......................................................................................... passim

            Doe v. Snyder,
             28 F.4th 103 (9th Cir. 2022) .................................................................................... 16

            Doe 1 v. Thornbury,
             75 F.4th 655 (6th Cir. 2023) .................................................................................... 28

            Drakes Bay Oyster Co. v. Jewell,
             747 F.3d 1073 (9th Cir. 2014) .................................................................................. 28

            East Bay Sanctuary Covenant v. Barr,
             934 F.3d 1026 (9th Cir 2019) ................................................................................... 29

            EEOC v. Freeman,
             778 F.3d 463 (4th Cir. 2015).................................................................................... 24

            Eknes-Tucker v. Gov of Alabama,
             No., 22-11707, ___F.4th___ 2023 WL 5344981 (11th Cir. August 21, 2023) .. passim

            Ex parte McCardle,
             74 U.S. 506 ............................................................................................................... 11

            Ex parte Young,
             209 U.S. 123 (1908) .................................................................................................. 11



                                                 COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                              PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – iv
                                                                                                                           ER1005
(71 of 130), Page 71 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 71 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 5 of 39




            Geduldig v. Aiello,
             417 U.S. 484 (1974) .................................................................................................. 13

            Godecke v. Kinetic Concepts, Inc.,
             937 F.3d 1201 (9th Cir. 2019) .................................................................................. 10

            Gonzales v. Carhart,
             550 U.S. 124 (2007) .................................................................................................. 19

            Hecox v. Little,
             Nos. 20-35813, 20-35815, ___F.4th___ 2023 WL 5283127 (9th Cir. August 17, 2023)
                  passim

            In re Lipitor,
              892 F.3d 624 (4th Cir. 2018).................................................................................... 24

            In re Lipitor,
              185 F. Supp. 3d (D.S.C. 2016) ........................................................................... 26, 27

            In re Zoloft,
              26 F. Supp. 3d 449 (E.D. Penn. 2014) ..................................................................... 24

            Karnoski v. Trump,
             926 F.3d 1180 (9th Cir. 2019) .............................................................................. 3, 16

            Latta v. Otter,
             771 F.3d 496 (9th Cir. 2014)..................................................................................... 27

            Lopez v. Candaele,
             630 F.3d 775 (9th Cir. 2010).................................................................................... 11

            L.W. v. Skrmetti,
              73 F.4th 408 (6th Cir. 2023) ............................................................................. passim

            Newman v. Lance,
             129 Idaho 98, 922 P.2d 395 (Idaho 1996)................................................................ 12

            Planned Parenthood Greater Northwest v. Labrador,
              No. 1:23-cv-00142-BLW, ___F.Supp.3d___, 2023 WL 4864962 (D. Idaho July 31,
                   2023) ................................................................................................................. 11

            Parham v. J. R.,
             442 U.S. 584 (1979) .................................................................................................. 18



                                                  COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                               PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – v
                                                                                                                            ER1006
(72 of 130), Page 72 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 72 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 6 of 39




            Raidoo v. Moylan,
             75 F.4th 1115 (9th Cir. 2023) ................................................................................... 19

            Reed v. Reed,
             404 U.S. 71 (1971) .................................................................................................... 12

            Rink v. Cheminova, Inc.,
             400 F.3d 1286 (11th Cir 2005) ................................................................................. 24

            Roman v. Wolf,
             977 F.3d 935 (9th Cir. 2020).................................................................................... 27

            Rosen v. Ciba-Geigy Corp.,
             78 F.3d 316 (7th Cir. 1996)...................................................................................... 26

            State v. Summer,
             139 Idaho 219, 76 P.3d 963 (Idaho 2003)................................................................ 12

            Tingley v. Ferguson,
             47 F.4th 1055 (9th Cir 2022) ................................................................................... 22

            Trump v. Hawaii,
             138 S. Ct. 2392 (2018) .............................................................................................. 21

            Tuan Anh Nguyen v. Immigration Naturalization Services,
             533 U.S. 53 (2001) .................................................................................................... 14

            Twitter, Inc. v. Paxton,
             56 F.4th 1170 (9th Cir. 2022) .................................................................................. 11

            United States v. Hansen,
             143 S. Ct. 1932 (2023) .............................................................................................. 30

            United States v. Virginia,
             518 U.S. 515 (1996) .................................................................................................. 14

            United States v. Wilson,
             484 F.3d 267 (4th Cir. 2007).................................................................................... 26

            Washington v. Glucksberg,
             521 U.S. 702 (1997) ............................................................................................ 17, 18

            Winter v. Nat. Res. Def. Council, Inc.,
             555 U.S. 7 (2008) ...................................................................................................... 10

                                                COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                             PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – vi
                                                                                                                        ER1007
(73 of 130), Page 73 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 73 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 7 of 39




            STATUTES

            Idaho Code § 18-1506.................................................................................................. 10

            Idaho Code § 31-2227.................................................................................................. 12

            Idaho Code § 31-2604.................................................................................................. 12

            OTHER AUTHORITIES

            Academie Nationale de Medecine of France, Medicine and gender transidentity in
             children and adolescents, February 25, 2022 ........................................................... 9

            Attorney General Opinion No. 23-1 ........................................................................... 11

            Diagnostic and Statistical Manual of Mental Disorders 5-TR (“DSM-5”) ................. 3,

            Guidelines from the World Professional Association for Transgender Health
             (WPATH) and the Endocrine Society .................................................................. 5, 30

            Health services for children and young people with gender dysphoria,
             Ugeskr Læger 2023; 185; V11220740 (July 3, 2023) ................................................ 9

            Senate Chamber Session Day 78 (March 27, 2023)
             https://tinyurl.com/3ebfbknt .................................................................................... 22

            Swedish Socialstyrelsen Support 2022 ...................................................................... 21

            Testimony of Dr. Roger Hiatt, February 7, 2023,
             House Judiciary, Rules & Administration Hearing
             https://tinyurl.com/59jt7376 .................................................................................... 23

            The Cass Review, Independent Review of Gender Identity Services for Children and
             Young People: Interim Report at 33 (February 2022)
             http://tinyurl.com/5s55653n ...................................................................................... 4




                                                COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                            PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – vii
                                                                                                                     ER1008
(74 of 130), Page 74 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 74 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 8 of 39




                                                INTRODUCTION

                  Idaho’s Vulnerable Child Protection Act regulates specific medical treatments

            for a specific psychiatric diagnosis in a specific age group. In particular, it prohibits

            the use of medical interventions (like puberty blockers and cross-sex hormones) and

            surgical interventions (like mastectomies and penectomies) as a treatment for gender

            dysphoria in minors. The Act permits the use of mental health therapy to treat gender

            dysphoria in minors. And the Act permits adults to obtain any intervention.

                  The reason for prohibiting these interventions for minors is clear: The inter-

            ventions provide no proven benefit, impose lifelong and irreversible harm, and carry

            significant unknown risks. The harms include not only near-certain sterilization and

            lack of sexual function, but also increased chances of heart disease, stroke, blood clots,

            breast and uterine cancer, liver dysfunction, hypertension, and osteoporosis. The un-

            knowns include a complete lack of evidence regarding long-term outcomes for the

            current patient population and total uncertainty regarding the neurological and cog-

            nitive effects resulting from the suppression of healthy puberty in adolescents. No

            benefit from these interventions has been reported in any reliable study. And not a

            single systematic review—the highest form of medical evidence—has ever demon-

            strated reduced death by suicide from these interventions.

                  Governments around the globe have taken note. Specifically, public health au-

            thorities in Europe have acknowledged that the risks associated with these interven-

            tions outweigh any demonstrated benefits. Several states in the U.S. have likewise

            acknowledged the danger of these interventions and corresponding lack of proven

            benefit and prohibited the practice of this experimental medicine on minors.
                                        COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                     PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 1
                                                                                          ER1009
(75 of 130), Page 75 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 75 of 130
                     Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 9 of 39




                  Two federal courts of appeals have concluded that such commonsense regula-

            tions are likely constitutional. The Eleventh Circuit Court of Appeals recently va-

            cated a preliminary injunction against Alabama’s law protecting minors from these

            interventions. And the Sixth Circuit Court of Appeals stayed preliminary injunctions

            against similar laws in both Tennessee and Kentucky.

                  The reasoning of those decisions shows why Idaho’s Vulnerable Child Protec-

            tion Act is likewise constitutional. Specifically, the Act is not subject to heightened

            scrutiny merely because it acknowledges biological differences that must be consid-

            ered in the medical context. The Act is not subject to heightened scrutiny absent some

            showing of invidious discrimination—which cannot be made here. Lastly, the Parent

            Plaintiffs’ claims fail because parents do not have a substantive Due Process right to

            obtain for their children puberty blockers, cross-sex hormones, and surgeries that are

            prohibited by state law. One cannot conclude that these interventions are “deeply

            rooted in our Nation’s history.”

                  Moreover, even if the Act were subject to heightened scrutiny, it easily passes.

            The Act serves the compelling government interest of protecting minors from harmful

            and unproven medical interventions. And a prohibition on those interventions is nec-

            essary to adequately serve that compelling interest because almost nothing is known

            about the long-term consequences associated with them. In addition, the existence of

            detransitioners—those who have transitioned but later come to identify with their

            sex—offers living proof that, as Plaintiffs’ experts conceded, providers cannot know

            who has a “true” need for these interventions ahead of time.



                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 2
                                                                                        ER1010
(76 of 130), Page 76 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 76 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 10 of 39




                    Finally, even if Plaintiffs are entitled to injunctive relief, they have offered no

            justification for either statewide relief or an injunction against the Act in all its ap-

            plications. Therefore, if the Court enters an injunction, it should limit the scope of

            that injunction to Plaintiffs and their providers.

                                                  BACKGROUND

            I.      Gender dysphoria is a psychiatric diagnosis.

                    There are two human sexes—male and female. Malone Decl. (“Malone”) ¶ 59.

            An individual’s sex is an objective and biological fact that cannot be changed. Id.;

            Weiss Decl. (“Weiss”)¶ 34. Distinct from “sex,” an individual’s “gender identity” is his

            or her personal sense of being male or female. See Malone ¶ 62. Individuals “identify

            as transgender” when their sex is different from their gender identity. Karnoski v.

            Trump, 926 F.3d 1180, 1187 n.1 (9th Cir. 2019). “Gender dysphoria,” in contrast, is a

            specific psychiatric diagnosis defined by diagnostic criteria set out in the Diagnostic

            and Statistical Manual of Mental Disorders 5-TR (“DSM-5”). Cantor Decl. (“Cantor”)

            ¶ 109. Although its definitions vary slightly for children, adolescents, and adults, all

            cases are characterized by a strong and lasting desire to be the opposite sex and “clin-

            ically significant” distress that impairs the individual’s ability to function in daily

            life. Id.

                    In the last decade, the number of minors diagnosed with gender dysphoria has

            exploded. Cantor ¶ 64; Malone ¶ 15. This explosion has disproportionately affected

            adolescent natal females. Malone ¶ 16. The following chart displays the number of

            minors, distinguished by sex, referred to the UK’s Gender Identity Services clinic be-

            tween 2009 and 2016:
                                         COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                      PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 3
                                                                                           ER1011
(77 of 130), Page 77 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 77 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 11 of 39




                          Figure 1: Sex ratio in children and adolescents referred to GIOS in the UK (2009-16)

                                        2000
                                        1800
                                        1600
                                        1400
                                        1200
                                        1000
                                          800
                                          600
                                          400
                                          200
                                            0


                                                 2009      2010     2011     2012     2013     2014     2015      2016

                           ■Adolescents F          15      48·      18·      141"     221·     314•      689"    1011·


                           ■Adolescents M          24      44'       41       n·      120·     185•      293'     426'

                           ■ Children F            2        7        12       17       22       36       77"      138'


                           ■ Children M            10       19       29       30       31       55•      103'     131

                          AFAB = assigned female at birth; AMAB = assigned male at birth
                          *Indicates p<.O5 which shows a significant increase of referrals compared to the previous year
                          Source: de Graaf NM, Giovanardi G, Zitz C, Carmichael P (2018).32




            The Cass Review, Independent Review of Gender Identity Services for Children and

            Young People: Interim Report at 33 (Feb. 2022), available at http://ti-

            nyurl.com/5s56653n.

                  Health authorities in the UK, Sweden, and Finland have noted this phenome-

            non is “unexplained,” with this group of “later-presenting birth-registered female

            teenagers” now the “current predominant cohort” of minors with gender dysphoria.

            Cantor ¶¶ 64-65. Some researchers posit that “social contagion,” meaning the “well-

            established psychological concept defined as the spread of behaviors, attitude and

            affect through crowds and other types of social aggregates from one member to an-

            other,” may be a “factor in both the rise of new cases and the demographic shift
                                             COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                          PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 4
                                                                                                                           ER1012
(78 of 130), Page 78 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 78 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 12 of 39




            towards females.” Malone ¶¶ 16-17. Others have noted the correlation between this

            increase and social media. Cantor ¶¶ 287-89.

            II.   “Transitioning” minors inflicts irreversible harms and unknown risk.

                  Psychotherapy is an accepted approach to treating gender dysphoria. Cantor

            ¶¶ 16, 290. Advocates of so-called “gender-affirming care,” however, also endorse

            medically and surgically “transitioning” as a treatment for minors with gender dys-

            phoria. These interventions cause known harms and carry unknown risks.

                  A.     Taking cross-sex hormones before puberty causes sterility.

                  The protocol for medical interventions to treat gender dysphoria calls for the

            suppression of an adolescent’s natural puberty. As Plaintiffs explain, under the guide-

            lines from the World Professional Association for Transgender Health (WPATH) and

            the Endocrine Society, providers prescribe GnRH agonists (puberty blockers) to sup-

            press an adolescent’s natural puberty. Dkt. 32-1 at 4. This suppression allegedly pre-

            vents the distress associated with going through natural puberty when the adoles-

            cents’ gender identity is not consistent with their sex. See id.

                  Next, as Plaintiffs also explain, providers prescribe cross-sex hormones.

            See id.This means that natal females take testosterone, and natal males take estro-

            gen. Id. Adolescents who are prescribed cross-sex hormones for this purpose “will re-

            quire continuing treatment with cross-sex hormones for life.” Cantor ¶ 224.

                  It is a near certainty that treatment in accordance with either the WPATH or

            Endocrine Society Guidelines will result in sterility. It is essentially indisputable that

            taking cross-sex hormones without first going through puberty will sterilize a person.

            Cantor ¶ 205; Malone ¶ 118; Weiss ¶ 116. Relatedly, these individuals may never be
                                        COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                     PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 5
                                                                                          ER1013
(79 of 130), Page 79 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 79 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 13 of 39




            able to achieve an orgasm. Cantor ¶ 208; Weiss ¶ 115. Even for those who begin such

            treatment at a later stage of puberty, “no studies at all have been done” regarding

            “when, … or with what probability either males or females can achieve healthy fer-

            tility if they later regret their transition” and cease treatment. Cantor ¶ 206. “Infer-

            tility is frequent in those females treated with testosterone even if not given puberty

            blockers.” Weiss ¶ 134. And the “hormonal and surgical treatment pathway” will ster-

            ilize a person. Malone ¶ 19.

                  There are no established fertility options for minors who undergo medical tran-

            sition. For minors who take cross-sex hormones without going through puberty, “no

            viable fertility preservation options exist.” Cantor ¶ 205. The “fertility options” for

            natal females who have been exposed to cross-sex hormones are so uncertain “that

            mouse studies are being done to try to understand how to mitigate the harm.” Weiss

            ¶ 135. In addition, when natal females undergo a so-called “gender-affirming mastec-

            tomy,” Connelly Decl. ¶ 26, “it is functionally irreversible” and “breast-feeding a child

            will never be possible.” Cantor ¶ 207.

                  B.     The neurological effects of suppressing puberty are unknown.

                  Pubertal hormones “drive important stages of neural development.” Cantor ¶

            209. As UK health authorities have put it, a “further concern” regarding pubertal

            suppression “is that adolescent sex hormone surges may trigger the opening of a crit-

            ical period for experience-dependent rewiring of neural circuits underlying executive

            function,” meaning “maturation of the part of the brain concerned with planning, de-

            cision making and judgment.” Id. (quotations omitted).



                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 6
                                                                                         ER1014
(80 of 130), Page 80 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 80 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 14 of 39




                   “To date, there has been very limited research on the short-, medium- or

            longer-term impact of puberty blockers on neurocognitive development.” Id. (quota-

            tions omitted). Given this lack of knowledge, many “have expressed concern that

            blocking the process of puberty during its natural time could have a negative and

            potentially permanent impact on brain development.” Cantor ¶ 212.

                   C.    Puberty blockers and cross-sex hormones cause other harms.

                   In addition to near-certain infertility, medicalized transition causes additional

            harms. These harms include “increased risks of heart disease, stroke, blood clots,

            breast and uterine cancer, liver dysfunction, hypertension, and osteoporosis.” Malone

            ¶ 24; see also Cantor ¶¶ 214-225; Weiss ¶¶ 133, 136-49.

            III.   No reliable science evidence justifies medical transition for minors.

                   Because the “fundamental objective of medicine is to enhance an individual’s

            health and well-being,” a medical intervention is justified only when its probable ben-

            efits outweigh its probable risks. Malone ¶ 40. Systematic reviews of the evidence—

            including those by European health authorities—have concluded that the evidence

            does not show the benefits of medically or surgically “transitioning” minors outweigh

            the risks. European health authorities concluded that the experience of “detransition-

            ers” casts doubt on the safety and efficacy of these treatments.

                   A.    Medical ethics require benefits outweigh the risks.

                   Any particular medical treatment cannot simply be labeled “safe.” Cantor ¶

            70. Instead, a medical treatment is appropriate only when the probable benefits out-

            weigh the probable risks associated with the treatment. Cantor ¶ 71. Under this risk-

            benefit analysis, serious risks associated with a particular treatment cannot be

                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 7
                                                                                        ER1015
(81 of 130), Page 81 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 81 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 15 of 39




            justified “without evidence of correspondingly greater benefit.” Cantor ¶ 52. There-

            fore, no medical intervention that carries risks should be used unless there is “a

            higher degree of certainty regarding its benefits.” Malone ¶ 40. Given the significant

            irreversible risks—including sterility—of medically and surgically transitioning mi-

            nors, these interventions cannot be justified unless there is a high degree of certainty

            regarding their benefits. Id. ¶¶ 40-42.

                  B.     European Authorities find benefits do not outweigh the risks.

                  Several European countries have concluded that the demonstrated benefits do

            not clearly outweigh the risks. Id. ¶¶ 124-30. In particular, health authorities in

            Sweden and the U.K. have engaged in systematic reviews of the evidence surrounding

            these treatments. Cantor ¶¶ 78-85. This means the health authorities engaged in “a

            comprehensive analysis of the entire body of evidence” surrounding the “transition”

            of minors, rather than focused on “individual research studies alone.” Malone ¶ 27.

            The point of the systematic review is to “minimiz[e] opportunities for bias in gather-

            ing and evaluating research evidence.” Cantor ¶ 40. A systematic review is the high-

            est form of medical evidence. Id.

                  Every systematic review of medically and surgically transitioning minors

            shows a “low” or “very-low” degree of certainty in mental-health improvement.

            Malone ¶ 28. No systematic review has ever demonstrated reduced death by suicide

            resulting from these treatments. Id. After Swedish health authorities conducted their

            systematic review, they concluded that the “risks of puberty suppressing treatment

            with GnRH-analogues and gender-affirming hormonal treatment currently outweigh

            the possible benefits.” Cantor ¶ 28 (quotations omitted). UK health authorities have
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 8
                                                                                        ER1016
(82 of 130), Page 82 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 82 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 16 of 39




            said “it is an unanswered question whether the evidence for the use and safety of

            [puberty blockers] is strong enough as judged by reasonable clinical standards.” Id. ¶

            19 (quotations omitted). Health authorities and researchers in Finland, Norway,

            France, and Denmark have expressed similar caution. Id. ¶¶ 21-24, 29-33; Malone ¶

            129. Meanwhile, in the United States, the FDA has not approved the use of puberty

            blockers or cross-sex hormones as a treatment for gender dysphoria. L.W. v. Skrmetti,

            73 F.4th 408, 418 (6th Cir. 2023) (noting “the FDA is not prepared to put its credibility

            and careful testing protocols behind the use” of these drugs for this purpose).

                  C.     Detransitioners cast significant doubt on Plaintiffs’ claims.

                  With the rise of minors being diagnosed with gender dysphoria has come the

            rise of “detransitioners”—those who have previously undergone some form of “gender-

            affirming” treatment but later come to identify with their natal sex. Malone ¶ 12. At

            least two recent studies suggest the medical detransition rate among youth who un-

            derwent gender transitions in recent years may be as high as 30%—and that is only

            within a few years of beginning transition. Id. ¶ 34. A study based on a highly reliable

            dataset from the U.S. military healthcare system similarly showed that nearly 30%

            of youth who commenced medical transition discontinued it within the first four

            years. Id. ¶ 35. The existence of detransitioners has been part of the basis for caution

            throughout the world. Cantor ¶ 29 (citing Press Release, Academie Nationale de

            Medecine of France, Medicine and gender transidentity in children and adolescents,

            February 25, 2022); Malone ¶ 129 (citing Status Article, Health services for children

            and young people with gender dysphoria, Ugeskr Læger 2023; 185: V11220740 (July

            3, 2023)). The unexplained fact of those who transitioned as minors and later came
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 9
                                                                                         ER1017
(83 of 130), Page 83 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 83 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 17 of 39




            to identify with their natal sex casts doubt on the entire practice of “youth

            transgender medicine.”

            IV.   Idaho enacts the Vulnerable Child Protection Act.

                  This past spring, Idaho passed a law to protect children and adolescents from

            the dangers of these unproven medical and surgical interventions. The Vulnerable

            Child Protection Act (the Act) makes it a crime to perform particular surgical or med-

            ical interventions on minors “for the purpose of attempting to alter the appearance of

            or affirm the child’s perception of the child’s sex if that perception is inconsistent with

            the child’s biological sex.” See Idaho Code § 18-1506(c)(3). The Act will go into effect

            on January 1, 2024.

                  Plaintiffs filed this lawsuit in May. See Dkt. 1. The Plaintiffs are two minors

            and their respective parents. Id. ¶¶ 6-7. They allege they are currently receiving care

            that will be prohibited by the Act in January. Id. Plaintiffs filed this motion for a

            preliminary injunction in July. See Dkt. 32.

                                            STANDARD OF DECISION

                  A motion to dismiss under Rule 12(b)(6) may seek dismissal based on “the lack

            of a cognizable legal theory or the absence of sufficient facts alleged under a cogniza-

            ble legal theory.” Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201, 1208 (9th Cir.

            2019). “A plaintiff seeking a preliminary injunction must establish that he is likely to

            succeed on the merits, that he is likely to suffer irreparable harm in the absence of

            preliminary relief, that the balance of the equities tips in his favor, and that an in-

            junction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,



                                        COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                    PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 10
                                                                                           ER1018
(84 of 130), Page 84 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 84 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 18 of 39




            20 (2008). And a court cannot grant a preliminary injunction if it lacks subject matter

            jurisdiction. See Ex parte McCardle, 74 U.S. 506, 514.

                                                 ARGUMENT

            I.    The Court lacks subject matter jurisdiction.

                  At the outset, Plaintiffs’ claims against the Attorney General and the members

            of the Idaho Code Commission fail for lack of subject matter jurisdiction. These De-

            fendants have Eleventh Amendment immunity, and the Ex parte Young exception

            applies only if they are “clothed with some duty in regard to the enforcement of the

            laws of the state, and ... threaten and are about to commence proceedings ... to enforce

            against parties affected [by] an unconstitutional act.” Ex parte Young, 209 U.S. 123,

            155–56 (1908). And proving a justiciable controversy in the pre-enforcement context

            also requires a threat: for standing, “whether the prosecuting authorities have com-

            municated a specific warning or threat to initiate proceedings,” Twitter, Inc. v. Pax-

            ton, 56 F.4th 1170, 1174 (9th Cir. 2022), and for ripeness, a “specific and credible

            threat of adverse action.” Lopez v. Candaele, 630 F.3d 775, 781 (9th Cir. 2010).

                  Plaintiffs do not meet these standards as to the Attorney General and the Code

            Commission Defendants. As the Attorney General has recently explained, he lacks

            authority to enforce Idaho criminal law absent a referral by county prosecutors, and

            Plaintiffs do not allege that any such referral has occurred, much less that the Attor-

            ney General has made any threat of enforcement. 1 See Formal Att’y Gen. Op. 23-1;



            1 The Attorney General recognizes that the Court has recently rejected this argument

            but he asserts it here to preserve his immunity defense. Planned Parenthood v. Lab-
            rador, ___ F.Supp.3d ____, 2023 WL 4864962, at *7 (D. Idaho July 31, 2023).

                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 11
                                                                                        ER1019
(85 of 130), Page 85 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 85 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 19 of 39




            Idaho Code § 31-2227; Idaho Code § 31-2604;Newman v. Lance, 922 P.2d 395, 399

            (Idaho 1996); State v. Summer, 76 P.3d 963, 968 (Idaho 2003). And there is even less

            of a connection to the members of the Idaho Code Commission, which has no enforce-

            ment authority of any kind, nor do Plaintiffs allege otherwise. The mere act of publi-

            cation of the code is not enforcement, and it has no nexus to Plaintiffs’ purported

            harm. Dkt. 1 ¶ 123. In fact, the only claim they assert against the members of the

            Code Commission—that the law is void for vagueness—is not even one on which they

            seek a preliminary injunction. See Dkt. 1, Count III.

            II.   Plaintiffs fail to demonstrate a likelihood of success on the merits.

                  Plaintiffs fail to demonstrate a likelihood of success on the merits—the “most

            important” preliminary-injunction factor—for several reasons. California v. Azar,

            911 F.3d 558, 575 (9th Cir. 2018) (quotations omitted). First, the Act is not subject to

            heightened scrutiny because it does not discriminate on the basis of either sex or

            transgender status. Second, even if the Act were subject to heightened scrutiny, it is

            constitutional given the compelling interest served by the Act and the fact that the

            treatments at issue offer no proven benefit, impose numerous long-term irreversible

            harms, and carry risks that are completely unknown.

                  A.     The Act does not discriminate by sex or transgender status.

                         1. The Act does not discriminate based on sex.

                  Under the Equal Protection Clause, sex discrimination is a “preference to

            members of either sex over members of the other.” Reed v. Reed, 404 U.S. 71, 76

            (1971). The Act clearly does not violate this constitutional principle because it applies

            to both males and females the same. Instead, as the Eleventh Circuit held with
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 12
                                                                                         ER1020
(86 of 130), Page 86 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 86 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 20 of 39




            respect to a similar law, the Act “is best understood as a law that targets specific

            medical interventions for minors, not one that classifies on the basis of any suspect

            characteristic under the Equal Protection Clause.” Eknes-Tucker v. Gov. of Ala., No.

            22-11707, --- F.4th---, 2023 WL 5344981, at *15 (11th Cir. Aug. 21, 2023).

                  Moreover, a statute regulating medical procedures does not trigger heightened

            scrutiny when it acknowledges sex-based distinctions. As the Supreme Court recently

            explained, “[t]he regulation of a medical procedure that only one sex can undergo does

            not trigger heightened constitutional scrutiny” absent a showing of “‘invidious dis-

            crimination against members of one sex or the other.’” Dobbs v. Jackson Women’s

            Health Org., 142 S. Ct. 2228, 2245–46 (2022) (quoting Geduldig v. Aiello, 417 U.S.

            484, 496 n.20 (1974)). “In Geduldig, the Supreme Court stated that a classification

            based on pregnancy is not per se a classification based on sex, even though ‘it is true

            that only women can become pregnant.’” Hecox v. Little, Nos. 20-35813, 20-35815, ___

            F.4th ____, 2023 WL 5283127, at *11 (9th Cir. Aug. 17, 2023) (quoting Geduldig, 417

            U.S. at 496 n.20). Here, the Act regulates two separate “medical procedure[s] that

            only one sex can undergo,” id., because a natal female “cannot transition through use

            of estrogen” and a natal male “cannot transition through use of testosterone,” L.W.,

            73 F.4th at 419. The Act does not trigger heightened scrutiny simply because it

            acknowledges these biological distinctions.

                  It is true the Act “mentions the word ‘sex.’” Id. But as the Sixth Circuit recently

            asked with respect to a similar law, “how could it not?” Id. “That is the point of the

            existing hormone treatments—to help a minor transition from one gender to an-

            other.” Id. Thus, the Act “refers to sex only because the medical procedures that it
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 13
                                                                                         ER1021
(87 of 130), Page 87 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 87 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 21 of 39




            regulates—puberty blockers and cross-sex hormones as a treatment for gender dys-

            phoria—are themselves sex-based.” Eknes-Tucker, 2023 WL 5344981 at *16.

                  Plaintiffs’ sex-stereotyping argument fails for a similar reason. Dkt. 32-1 at

            14–15. First, “[p]hysical differences between men and women are . . . enduring.”

            United States v. Virginia, 518 U.S. 515, 533 (1996). They are “not a stereotype.” Tuan

            Anh Nguyen v. INS, 533 U.S. 53, 68 (2001). And this enduring biological reality ex-

            plains why the “regulation of a medical procedure that only one sex can undergo does

            not trigger heightened constitutional scrutiny.” Dobbs, 142 S. Ct. at 2245–46.

                  Second, the diagnosis of gender dysphoria turns expressly on sex stereotypes.

            For example, the criteria for pre-pubertal children asks whether the child has shown

            a preference “for the toys, games, or activities stereotypically used or engaged in by

            the other gender.” Dkt. 32-6 ¶ 18 (emphasis added). For boys, it asks if the child re-

            jected “typically masculine toys, games, and activities” and demonstrated an “avoid-

            ance of rough-and-tumble play.” Id. (emphasis added). For girls, it asks whether the

            child rejected “typically feminine toys, games, and activities.” Id. (emphasis added).

            Thus, the Act “targets certain medical interventions for minors meant to treat the

            condition of gender dysphoria,” which is expressly diagnosed based on gender stereo-

            types. Eknes-Tucker, 2023 WL 5344981 at *17. But the Act itself “does not further

            any particular gender stereotype.” Id. Instead, it simply regulates particular inter-

            ventions for a diagnosis that turns on gender stereotypes. Id.

                  Third, Plaintiffs’ examples of medical procedures that, they say, demonstrate

            sex-based discrimination only undermine their argument. Specifically, Plaintiffs

            highlight treatments for gynecomastia in natal males and polycystic ovarian
                                      COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                  PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 14
                                                                                       ER1022
(88 of 130), Page 88 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 88 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 22 of 39




            syndrome (PCOS) in natal females. See Dkt. 32-1 at 15. But neither gynecomastia

            nor PCOS are psychological disorders. As Plaintiff’s own expert admitted, gyneco-

            mastia is “diagnosed clinically by physical exam” and “does not turn on the presence

            or lack thereof of psychological distress.” Connelly Dep. (“Ex. A”) 247:6-8, 14-17. Sim-

            ilarly, Plaintiffs’ expert admitted that the diagnosis for PCOS “is not dependent o[n]

            psychological distress.” Ex. A 248:1-6. Thus, treatments for gynecomastia and PCOS

            do not “affirm” the gender of a patient to treat psychological distress; rather, they

            treat physical conditions. In contrast, and also as Plaintiffs’ expert admitted, the pur-

            pose of prescribing puberty blockers and cross-sex hormones is to treat the psycho-

            logical condition of gender dysphoria. Ex. A 70:12-25. Plaintiffs provide no example

            of a treatment permitted in Idaho that “affirms” the gender of a natal male as male

            or a natal female as female to treat psychological distress. Therefore, permitting

            treatments for gynecomastia and PCOS does not reflect any sort of sex-based discrim-

            ination in the Act’s regulation of medical interventions as a treatment for gender

            dysphoria in minors.

                         2. The Act does not discriminate based on transgender status.

                  The Ninth Circuit has “held that heightened scrutiny applies to laws that dis-

            criminate on the basis of transgender status” because transgender persons are a

            “‘quasi-suspect class.’” Hecox, 2023 WL 5283127 at *11. While Defendants dispute

            that holding and reserve their right to challenge it en banc or before the Supreme

            Court, even if it were correct, it would not apply here based on the testimony of Plain-

            tiffs’ own experts. That is because the Act regulates medical and surgical treatments

            for a particular psychiatric diagnosis—gender dysphoria—that Plaintiffs’ experts say
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 15
                                                                                         ER1023
(89 of 130), Page 89 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 89 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 23 of 39




            is not the same as transgender status. Brady Dep. (Ex. B”) 71:12-14 (individual can

            be “transgender without having gender dysphoria”). Regulating treatment for a psy-

            chiatric diagnosis does not classify based on identity.

                  First, Ninth Circuit precedent does not establish that regulation of treatments

            for gender dysphoria constitute discrimination based on transgender status. To be

            sure, a law may not be drafted with “seemingly neutral criteria that are so closely

            associated with the disfavored group that discrimination on the basis of such criteria

            is, constructively, facial discrimination against the disfavored group.” Hecox, 2023

            WL 5283127 at *10 (cleaned up). But the Ninth Circuit has expressly reserved the

            question whether the regulation of “gender dysphoria” is so “closely correlated with

            being transgender” that a regulation related to gender dysphoria “constitutes dis-

            crimination against transgender persons.” Karnoski, 926 F.3d at 1201 n.18; see also

            Doe v. Snyder, 28 F.4th 103, 114 (9th Cir. 2022) (treating as an open question whether

            “disallowing gender reassignment surgery should be treated as discriminating

            against transgender persons”).

                  Second, even if transgender identity were equivalent to having gender dyspho-

            ria, that still does not suggest heightened scrutiny applies to the regulation of specific

            treatments for gender dysphoria. It does not trigger heightened scrutiny to “restrict[]

            a specific course of medical treatment that, by the nature of things, only gender non-

            conforming individuals may receive.” Eknes-Tucker, 2023 WL 5344981 at *17. As the

            Ninth Circuit explained in Hecox, if “a classification based on pregnancy is not per se

            a classification based on sex, even though it is true that only women can become preg-

            nant.” Hecox, 2023 WL 5283127 at *11 (cleaned up). For the same reasons, then, a
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 16
                                                                                          ER1024
(90 of 130), Page 90 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 90 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 24 of 39




            classification based on a gender dysphoria is not per se a classification based on

            transgender status even if only transgender persons can be diagnosed with gender

            dysphoria. Therefore, just as the regulation of a procedure that only one sex can un-

            dergo “does not trigger heightened constitutional scrutiny” absent proof of invidious

            discrimination against members of one sex, Dobbs, 142 S. Ct. at 2245–46, so too “the

            regulation of a course of treatment that only gender nonconforming individuals un-

            dergo would not trigger heightened scrutiny unless the regulation were a pretext for

            invidious discrimination against such individuals.” Eknes-Tucker, 2023 WL 5344981

            at *17. And as explained in more detail below, there is no plausible basis to conclude

            that the Act is a mere pretext for invidious discrimination. In sum, the Act does not

            discriminate by sex or transgender status, and heightened scrutiny does not apply.

                  B.     Parents have no right to experimental and harmful treatments.

                  Hidden away in the Due Process Clause, the Parent Plaintiffs purport to have

            discovered a constitutional right to obtain puberty blockers, cross-sex hormones, and

            gender-transition surgeries for their children. But their analysis falls well short of

            the Supreme Court’s requirements for a substantive Due Process right. That test re-

            quires that the right is “fundamental” or “deeply rooted in this Nation’s history and

            tradition.” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997). “But the use of

            these medications in general—let alone for children—almost certainly is not ‘deeply

            rooted’ in our nation’s history.” Eknes-Tucker 2023 WL 5344981 at *10. The “earliest-

            recorded uses of puberty blocking medication and cross-sex hormone treatment for

            purposes of treating the discordance between an individual’s biological sex and sense

            of gender identity did not occur until well into the twentieth century.” Id.
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 17
                                                                                           ER1025
(91 of 130), Page 91 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 91 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 25 of 39




                  In light of this history, the Parent Plaintiffs seek to raise the level of generality

            for the right they are asserting. They primarily rely on principles discussed in the

            Supreme Court’s decision in Parham v. J.R., 442 U.S. 584, 602 (1979), regarding the

            right of parents to make medical decisions for their children. See Dkt. 32-1 at 23. But

            because courts seek to “exercise the utmost care whenever” they “are asked to break

            new ground in th[e] field” of substantive Due Process, they require “a careful descrip-

            tion of the asserted fundamental liberty interest.” Glucksberg, 521 U.S. at 721. And

            “Parham does not at all suggest that parents have a fundamental right to direct a

            particular medical treatment for their child that is prohibited by state law.” Eknes-

            Tucker, 2023 WL 5344981 at *12.

                  Indeed, there is not even a “historical recognition of a fundamental right of

            adults to obtain the medications at issue for themselves.” Id. at *13 n.18. Therefore,

            “it would make little sense for adults to have a parental right to obtain these medica-

            tions for their children but not a personal right to obtain the same medications for

            themselves.” Id. It would make little sense to find a parental right to a pharmacolog-

            ical treatment that the FDA has not even approved to treat gender dysphoria. L.W.,

            73 F.4th at 418. This perhaps explains why the United States does not endorse this

            argument. See Dkt. 45 at 1 n.2. And the cases Plaintiffs cite “applying the fundamen-

            tal parental right in the context of medical decision-making do not establish that par-

            ents have a derivative fundamental right to obtain a particular medical treatment for

            their children as long as a critical mass of medical professionals approve.” Eknes-

            Tucker, 2023 WL 5344981 at *13; see also L.W., 73 F.4th at 417-18 (citing Abigail All.

            for Better Access to Dev. Drugs v. von Eschenbach, 495 F.3d 695, 703 (D.C. Cir. 2007)
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 18
                                                                                           ER1026
(92 of 130), Page 92 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 92 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 26 of 39




            (en banc)). Thus, Plaintiffs “have not shown that a right to new medical treatments”

            such as these “is deeply rooted in our history and traditions and thus beyond the

            democratic process to regulate.” L.W. 73 F.4th at 417.

                  C.     The Act satisfies any level of scrutiny.

                  The Act, “like other health and welfare laws, is entitled to a strong presump-

            tion of validity.” Dobbs, 142 S. Ct. at 2284. And “[j]udicial deference is especially ap-

            propriate where ‘medical and scientific uncertainty’ exists.” L.W., 73 F.4th at 417

            (quoting Gonzales v. Carhart, 550 U.S. 124, 163 (2007)). Because the Act does not

            trigger heightened scrutiny for reasons already explained, it is subject only to ra-

            tional-basis review, which “is a paradigm of judicial restraint.” Raidoo v. Moylan, 75

            F.4th 1115, 1121 (9th Cir. 2023) (quotations omitted). And the Act clearly satisfies

            that standard, which “is highly deferential to the government” and asks only whether

            “some conceivable legitimate purpose could have supported it.” Id.

                  Nevertheless, the Act satisfies any level of scrutiny that might be applied.

            Even if strict scrutiny applies, the Act survives, since States “have a compelling in-

            terest in protecting children from drugs, particularly those for which there is uncer-

            tainty regarding benefits, recent surges in use, and irreversible effects.” Eknes-

            Tucker, 2023 WL 5344981 at *13. And the unknown long-term effects of these treat-

            ments, when combined with the impossibility of identifying who will persist in their

            identity as transgender, underscores that the Act’s ban is necessary to adequately

            serve the compelling interest of protecting children and adolescents.

                  Here, the seriousness of the unknowns is staggering. For example, Plaintiffs’

            expert Dr. Connelly forthrightly admitted that she does not “think there’s enough
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 19
                                                                                         ER1027
(93 of 130), Page 93 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 93 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 27 of 39




            data to draw conclusions about adverse effects on brain development in patients

            treated with medical interventions.” Ex. A 208:5-8. In addition, Dr. Connelly also ad-

            mitted she is not aware of a single study suggesting that natal females who transition

            during adolescence will be able to achieve pregnancy. Ex. A 253:16-20. And even

            from a clinical perspective, Dr. Connelly has no idea what the long-term outcomes are

            for her patients because over 90% of them move to different providers by the time

            they are 22 years old. Ex. A 66:8-13. And her clinic does not even attempt to contact

            them. Ex. A 67:23-25. To her knowledge, not a single one of her patients who has

            received medical interventions has ever conceived a child. Ex. A 258:25-259:2.

                  Moreover, the unexplained existence of detransitioners and those who regret

            their transition also justifies the need for a ban. Critically, as Plaintiffs’ expert Dr.

            Connelly admitted, it is not possible to identify those who will detransition ahead of

            time. Ex. A 84:21-23; see also id. 271:15-22 (agreeing that it would “be unrealistic to

            predict or eliminate” gender-related regret “that results from a change in gender iden-

            tity”). Plaintiffs’ experts generally treat the existence of detransitioners as an incon-

            venient fact to be minimized—stating that there has been a “‘weaponization of infor-

            mation on regret,’” Ex. A 269:3-15, or that regret “‘has been woefully politicized.’” Ex.

            B. 190:17-25. But no amount of downplaying the tragic stories of detransitioners can

            undermine the fact that they are living proof of the lack of evidence to justify using

            these interventions on minors.

                  Because the Act satisfies strict scrutiny, it necessarily satisfies intermediate

            scrutiny. That standard asks whether the Act “serves important governmental objec-

            tives” and the alleged “‘discriminatory means employed are substantially related to
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 20
                                                                                         ER1028
(94 of 130), Page 94 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 94 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 28 of 39




            the achievement of those objectives.’” Hecox, 2023 WL 5283127 at *13 (quoting Vir-

            ginia, 518 U.S. at 516). Here, the State of Idaho clearly “has an ‘exceedingly persua-

            sive justification’ for regulating these drugs” and surgeries given the “potentially un-

            certain risks,” the “uncertainty about how to tell which patients need these interven-

            tions for this purpose and which don’t.” Eknes-Tucker, 2023 WL 5344981 at *21

            (Brasher, J., concurring). Thus, “even if [Idaho’s] statute triggered intermediate scru-

            tiny, it would likely survive that heightened scrutiny.” Id.

                  Plaintiffs assert that the Act would fail even rational-basis review. Specifically,

            both Plaintiffs and the United States assert that the Legislature enacted the Act out

            of animus. But “[o]n the few occasions where” the Supreme Court has held that a law

            fails rational basis, the “common thread has been that the laws at issue lack any

            purpose other than a bare . . . desire to harm a politically unpopular group.” Trump

            v. Hawaii, 138 S. Ct. 2392, 2420 (2018) (cleaned up) (emphasis added). Given the

            state of scientific evidence regarding these treatments, it is impossible to suggest that

            the Act lacks any purpose other than a bare desire to harm transgender persons. As

            Swedish health authorities have concluded, the “risks of puberty suppressing treat-

            ment with GnRH-analogues and gender-affirming hormonal treatment currently out-

            weigh the possible benefits.” Cantor ¶ 28 (citing Swedish Socialstyrelsen Support

            2022 at 10-12). The law clearly has a rational basis.

                  In support of their animus argument, Plaintiffs and the United States cite two

            statements from Senator Tammy Nichols. But of course, “[s]tray remarks of individ-

            ual legislators are among the weakest evidence of legislative intent.” Tingley v. Fer-

            guson, 47 F.4th 1055, 1087 (9th Cir. 2022). Indeed, the evidence of legislative intent
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 21
                                                                                         ER1029
(95 of 130), Page 95 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 95 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 29 of 39




            demonstrates beyond doubt that Idaho legislators were motivated by their concern

            regarding the lack of benefit and the harm associated with these treatments: The

            United States itself acknowledges that Idaho legislators deem these treatments “dan-

            gerous,” “experimental, irreversible, and medically unnecessary.” Dkt. 45 at 16, 17

            n.38 (quotations omitted). Moreover, “[e]ven when an argument about legislative mo-

            tive is backed by statements made by legislators who voted for a law,” courts should

            be reluctant “to attribute those motives to the legislative body as a whole.” Dobbs,

            142 S. Ct. at 2256. “What motivates one legislator to make a speech about a statute

            is not necessarily what motivates scores of others to enact it.” Id.

                  In any event, the statements that Plaintiffs and the United States highlight

            are far from probative. For one, they came after the law was enacted. Moreover, Plain-

            tiffs’ assertion that Senator Nichols’s support for this law was motivated by animus

            is belied by the public record. Before the bill was passed, Senator Nichols noted that

            the Act addressed a “very sensitive topic.” Senate Chamber Session Day 78 (Mar. 27,

            2023)(https://tinyurl.com/3ebfbknt) 3:08:23-3:08:24. Specifically, she highlighted that

            many children diagnosed with gender dysphoria may have other underlying mental

            health conditions that should be treated with therapy rather than medical interven-

            tion. See id. 3:08:45-3:12:10. Senator Nichols also discussed the experience of a

            transgender individual who came to Idaho to describe the adverse effects the individ-

            ual suffered as a result of these treatments. See id. 3:12:15- 3:12:32. The Senator’s

            thoughtful consideration of this “sensitive topic” is not a desire to harm transgender

            individuals.



                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 22
                                                                                        ER1030
(96 of 130), Page 96 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 96 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 30 of 39




                   In a footnote, the United States cites certain statements from Senator Ben Ad-

            ams and Representative Bruce Skaug relating to a child’s mental state and gender

            dysphoria. Dkt. 45 at 19, n.45. The United States says these statements demonstrate

            animus because they “did not refer to or cite any medical or scientific support.” Id.

            But this argument ignores the testimony offered at the hearings on these bills—

            namely, that providing medical interventions to affirm a child or adolescent’s gender

            identity, rather than mental health therapy to treat the gender dysphoria, is harmful,

            not helpful. See, e.g., Testimony of Dr. Roger Hiatt, February 7, 2023, House Judici-

            ary, Rules & Administration Hearing, 24:07-24:21 (https://tinyurl.com/59jt7376)(“Ef-

            forts to medicalize a psychiatric disorder robs otherwise healthy children of the op-

            portunity to rediscover their innate biology and instead doom them to a lifetime as

            medical patients in pursuit of an impossible dream.”). As noted by one individual who

            had transitioned as an adult and, after many complications, is transitioning back,

            children with gender dysphoria “need help, they need mental care help, not gender-

            affirming help.” February 7, 2023, House Judiciary, Rules & Administration Hearing,

            18:15-18:20. In sum, given the compelling interest served by the Act and the fact that

            the long-term outcomes and harms are completely unknown, the Act satisfies any

            level of scrutiny.

                   D.     Plaintiffs’ experts’ opinions are unreliable.

                   As set forth above, the totality of the scientific literature shows that the risks

            of the procedures banned by the Act far outweigh their benefits. And Plaintiffs’ ex-

            perts opinions to the contrary are unreliable. Although the Rules of Evidence do not

            technically apply at the preliminary injunction stage, the serious defects in Plaintiffs’
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 23
                                                                                         ER1031
(97 of 130), Page 97 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 97 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 31 of 39




            experts' methodologies would preclude them from satisfying the reliability require-

            ments of Rule 702. This absence of reliable scientific proof too is a reason Plaintiffs

            cannot show they are likely to succeed on the merits.

                  First, Plaintiffs’ experts show a shocking lack of familiarity with the medical

            evidence surrounding these interventions. “[S]ound scientific methodology requires

            that a scientist consider all of the scientific evidence when making causation deter-

            minations,” In re Zoloft, 26 F. Supp. 3d 449, 463 (E.D. Penn. 2014), and “expert testi-

            mony that ‘cherry-picks’ relevant data” should be excluded. EEOC v. Freeman, 778

            F.3d 463, 469 (4th Cir. 2015) (Agee, J., concurring) (collecting cases); In re Lipitor,

            892 F.3d 624, 634 (4th Cir. 2018); Rink v. Cheminova, Inc., 400 F.3d 1286, 1293 n.7

            (11th Cir. 2005). But not only did Dr. Brady not consider contrary evidence, she has

            never even read a single publication from any European health authority regarding

            the treatment for gender dysphoria. Ex. B. 203:4-7. Indeed, at her deposition, she

            could not recall ever reading a research publication that disagreed with her conclu-

            sions. Ex. B. 133:13–18. Nor had she ever read a systematic review relating to the

            treatment of gender dysphoria. Ex. B. 137:5–10. Dr. Connelly, for her part, said she

            had read one systematic review but could not “remember the title of it.” Ex. A 118:11–

            15. Neither of them cited these reviews in their declarations. It is frankly “alarming”

            that Plaintiffs’ experts engaged in this “biased reliance on favorable sources” while

            ignoring systematic reviews by European medical authorities that “could not be more

            relevant” to their opinions. Daniels-Feasel v. Forest Pharms., Inc., 2021 WL 4037820,

            at *12 (S.D.N.Y. Sept. 3, 2021), aff’d, 2023 WL 4837521 (2d Cir. July 28, 2023).



                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 24
                                                                                        ER1032
(98 of 130), Page 98 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 98 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 32 of 39




                  Second, Dr. Connelly and Dr. Brady either misunderstand or overstate the con-

            clusions that can be drawn from the studies they cite. At her deposition, Dr. Brady

            could not recall whether any study of medical and surgical interventions, including

            those she cites, controlled for whether the participants were receiving mental-health

            therapy. Ex. B. 49:6-12. Where, as here, a critical question is whether the more in-

            trusive interventions of medical and surgical interventions are necessary given the

            less intrusive option of mental-health therapy, the failure to control for mental-health

            therapy is a confounding variable that forecloses any reliable conclusion. Cantor ¶¶

            179-81; see Ex. B. (161:4-11) (agreeing that, all else being equal, providers should

            “prefer the less invasive procedure”). Relatedly, in her declaration, Dr. Brady asserts

            there are “no scientific studies demonstrating that non-medical treatments alone” are

            effective in the treatment of gender dysphoria. Brady Decl. ¶ 41. But not “only do

            such studies exist, Dr. Brady cited one herself in her declaration.” Cantor ¶ 290 (high-

            lighting Dr. Brady’s reliance on the Costa study, which found that “psychotherapy”

            was “effective in improving mental health”). With respect to Dr. Connelly’s opinion,

            when Swedish researchers conducted a systematic review, they “excluded due to high

            risk of bias” many of the studies that Dr. Connelly cites as her leading authorities.

            Compare Cantor Table 1 at 33-34 (noting exclusion by Swedish researchers of Achille,

            Allen, de Vries, and López de Lara studies), with Connelly Decl. ¶ 32 n.7 (relying on

            those same studies).

                  Third, it is no answer for Dr. Connelly and Dr. Brady to say they are relying

            on their clinical experience. Ex. A 288:6-16; Ex. B. 141:11-19. In “evidence-based med-

            icine, opinion based on clinical experience” is “the least reliable source of medical
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 25
                                                                                        ER1033
(99 of 130), Page 99 of 130 Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 99 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 33 of 39




            knowledge.” Cantor ¶ 54. Compared to other forms of evidence, “non-systematic rec-

            ollections of unstructured clinical experiences with” individuals “in an uncontrolled

            setting” is “the most subject to bias.” Id. Indeed, it was reliance on this anecdotal

            evidence that led to development of evidence-based medicine. See id. Thus, an expert

            who grounds an opinion in clinical experience must “explain how his experience leads

            to the conclusion reached, why his experience is a sufficient basis for the opinion, and

            how his experience is reliably applied to the facts.” United States v. Wilson, 484 F.3d

            267, 274 (4th Cir. 2007). Plaintiffs’ experts make “no attempt to do this,” In re Lipitor,

            185 F. Supp. 3d 786, 806 (D.S.C. 2016), and their opinions are little more than “un-

            scientific speculation offered by a genuine scientist.” Rosen v. Ciba-Geigy Corp., 78

            F.3d 316, 318 (7th Cir. 1996).

                  The distinction between clinical expertise and reported data is perhaps most

            stark with respect to Dr. Connelly’s testimony. In her declaration, she states that her

            clinic sees “dramatic improvements” when patients “begin gender-affirming medical

            care” as measured by the anxiety-screening tool GAD-7 and the depression-screening

            tool PHQ-9. Connelly Decl. ¶ 31. But in an article published with data from her clinic

            that measured anxiety and depression using the GAD-7 and PHQ-9, the data showed

            that, between first and second visits at the clinic, the average scores indicating both

            anxiety and depression increased for patients on cross-sex hormones and decreased

            for patients who were not on cross-sex hormones. Ex. A 189:23-190:13; 191:8-23. In

            other words, the published data shows precisely the opposite of what Dr. Connelly

            reports seeing in her declaration. And even if these recorded changes were not statis-

            tically significant, that fact in and of itself refutes Dr. Connelly’s claim of seeing
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 26
                                                                                          ER1034
(100 of 130), Page 100 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 100 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 34 of 39




            “dramatic improvement” at her clinic when patients “begin gender-affirming medical

            care.” Connelly Decl. ¶ 31. Plaintiffs’ experts’ reliance on their unsupported clinical

            judgment is all the more troubling because their “opinion runs contrary to the pub-

            lished literature” in systematic reviews, which they fail to even cite. In re Lipitor, 185

            F. Supp. 3d at 806.

            III.   Plaintiffs have not met the remaining preliminary-injunction factors.

                   Although likelihood of success on the merits “is the most important factor”

            when analyzing a request for injunctive relief, California v. Azar, 911 F.3d at 575

            (quotations omitted), Plaintiffs invoke the Ninth Circuit precedent that “serious ques-

            tions going to the merits” are sufficient to obtain an injunction when “the balance of

            hardships tips sharply towards the plaintiff.” See Dkt. 32-1 11 (citing Roman v. Wolf,

            977 F.3d 935, 941 (9th Cir. 2020)). But even accounting for this standard, Plaintiffs

            have still failed to show they are entitled to a preliminary injunction.

                   Idaho “will suffer irreparable harm from its inability to enforce the will of its

            legislature, to further the public-health considerations undergirding the law, and to

            avoid irreversible health risks to its children.” L.W., 73 F.4th at 421; see also Latta v.

            Otter, 771 F.3d 496, 500 (9th Cir. 2014) (noting authority for the proposition “that ‘a

            state suffers irreparable injury whenever an enactment of its people or their repre-

            sentatives is enjoined’” (quoting Coal. for Econ. Equity v. Wilson, 122 F.3d 718, 719

            (9th Cir. 1997))). Moreover, as catalogued above, Plaintiffs have failed to provide ev-

            idence showing that the benefits of these treatments outweigh the harms associated

            with them. Indeed, the entire point of the Act is to prevent irreparable harm to chil-

            dren and adolescents from these specific interventions. Idaho acknowledges that
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 27
                                                                                          ER1035
(101 of 130), Page 101 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 101 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 35 of 39




            Plaintiffs disagree about how best to treat gender dysphoria in minors, but Idaho’s

            “elected representatives made these precise cost-benefit decisions” in adopting the

            Act. L.W., 73 F.4th at 421. Finally, timing does not favor Plaintiffs because the Act

            does not go into effect until January 1, 2024. That provides Plaintiffs time to draw

            down their medication, which “‘lessens the harm’ to minors ‘who wish to continue

            receiving treatment.’” Doe 1 v. Thornbury, 75 F.4th 655, 657 (6th Cir. 2023) (per cu-

            riam) (quoting L.W., 73 F.4th at 421).

                  “When the government is a party,” the balance of equities and public-interest

            “factors merge.” Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).

            Here, Idaho’s “interests in applying the law to its residents and in being permitted to

            protect its children from health risks weigh heavily in favor of the State at this junc-

            ture.” L.W., 73 F.4th at 421–22. If the Act is enjoined, untold numbers of children in

            Idaho will face lasting harm and irreversible damage to their bodies. Plaintiffs have

            not shown they are entitled to an injunction imposing that harm to the public.

            IV.   The scope of Plaintiffs’ requested relief is inappropriate.

                  Even if this Court concludes that Plaintiffs are entitled to injunctive relief,

            Plaintiffs have failed to demonstrate that the scope of relief they request is appropri-

            ate. As an initial matter, Plaintiffs’ remedial argument seemingly conflates two dis-

            tinct questions—whether Plaintiffs are entitled to a statewide injunction and whether

            Plaintiffs are entitled to an injunction against enforcement of the statute in all




                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 28
                                                                                        ER1036
(102 of 130), Page 102 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 102 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 36 of 39




            applications. This conflation is ultimately irrelevant, however, because Plaintiffs

            have failed to demonstrate an entitlement to either form of relief.

                  With respect to the question of statewide relief, an “injunction must be nar-

            rowly tailored to remedy the specific harm shown.” East Bay Sanctuary Covenant v.

            Barr, 934 F.3d 1026, 1029 (9th Cir. 2019) (quotations omitted). Plaintiffs would be

            entitled to an injunction throughout the State of Idaho only if “such breadth was nec-

            essary to remedy” Plaintiffs’ “harm.” Id. To obtain an injunction of that scope, Plain-

            tiffs’ request must be “supported by the record as it stands.” Id. at 1028. The relief

            they seek is access to particular medical interventions, which could be provided by an

            injunction prohibiting enforcement of the Act against Plaintiffs and their providers.

            And the two premises of their request for that relief are flawed.

                  First, Plaintiffs speculate that providers would not know who the Plaintiffs

            are. Dkt. 32-1 at 28. But Plaintiffs provide no support for this speculation, and the

            Court’s grant of leave for them to proceed anonymously cannot be used to leverage

            relief for non-parties. Moreover, the injunction runs against Defendants, and the

            Court could enter a protective order disclosing the identity of Plaintiffs and their Pro-

            viders to ensure Defendants comply, so a statewide injunction is not “necessary.” Sec-

            ond, Plaintiffs worry that “the institutions where” providers “work may implement

            policies prohibiting” the relevant care. Dkt. 32-1 at 28. But institutions may already

            prohibit the relevant care, which has nothing to do with any injunctive relief from

            this Court. Plaintiffs’ speculative assertions are not “supported by the record” and

            come woefully short of showing a statewide injunction is “necessary to remedy” Plain-

            tiffs’ harm. East Bay Sanctuary Covenant, 934 F.3d at 1028–29.
                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 29
                                                                                         ER1037
(103 of 130), Page 103 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 103 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 37 of 39




                  With respect to whether Plaintiffs are entitled to facial, as opposed to as-ap-

            plied relief, “litigants mounting a facial challenge to a statute normally must estab-

            lish that no set of circumstances exists under which the statute would be valid.”

            United States v. Hansen, 143 S. Ct. 1932, 1939 (2023) (cleaned up). Plaintiffs do not

            argue the Act is unconstitutional in every circumstance. Nor could they, since the

            substance of their constitutional claims turn entirely on WPATH and Endocrine So-

            ciety guidelines. Even the guidelines that Plaintiffs champion impose limitations on

            gender-affirming medical and surgical interventions. See Dkt. 32-1 at 3–5.

                  Thus, even under Plaintiffs’ theory, the Legislature may clearly regulate the

            provision of interventions not in accordance with those guidelines. This regulation

            would include prohibiting the provision of any medical or surgical interventions to

            any child before puberty, Dkt. 32-1 at 3; providing any interventions to individuals

            who are not formally diagnosed with gender dysphoria under the DSM-V, id.; or

            providing interventions when an individual’s co-occuring mental-health issues may

            interfere with diagnostic clarity or the ability to provide informed consent, id. at 4–

            5. And the concern that providers may not strictly follow the guidelines is not merely

            hypothetical: Plaintiffs’ own expert stated that, in her opinion, “there may be exten-

            uating circumstances” where “different care may be provided that may not be in-

            cluded in the guidelines.” Ex. A 103:25–104:14. Plaintiffs are entitled to neither

            statewide relief nor an injunction against the Act in all applications.

                                                CONCLUSION

                  The Court should deny an injunction and dismiss the Complaint.



                                       COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                   PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 30
                                                                                        ER1038
(104 of 130), Page 104 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 104 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 38 of 39




            DATED: September 5, 2023.

                                                 STATE OF IDAHO
                                                 OFFICE OF THE ATTORNEY GENERAL


                                             By: /s/ Lincoln D. Wilson
                                                 LINCOLN DAVIS WILSON
                                                 Chief, Civil Litigation and
                                                 Constitutional Defense




                                     COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                 PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 31
                                                                                     ER1039
(105 of 130), Page 105 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 105 of 130
                    Case 1:23-cv-00269-BLW Document 56 Filed 09/05/23 Page 39 of 39




                                      CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on September 5, 2023, I electronically filed the forego-
            ing with the Clerk of the Court using the CM/ECF system which sent a Notice of
            Electronic Filing to the following persons:

             Alexia D. Korberg                       Heather M. McGarthy
             akorber@paulweiss.com                   hmccarthy@adacounty.id.gov
             mao_fednational@paulweiss.com           telemons@adacounty.id.gov

             Ariella C. Barel                        Jackson Cory Yates
             ariella.barel@groombridgewu.com         jyates@paulweiss.com

             Brad S. Karp                            Jordan E. Orosz
             bkarp@paulweiss.com                     jorosz@paulweiss.com

             Casey Parsons                           Kyle N. Bersani
             casey@wrest.coop                        kyle.bersani@groombridgewu.com

             Colleen Rosannah Smith                  Richard Alan Eppink
             csmith@stris.com                        ritchie@wrest.coop
             6969944420@filings.docketbird.com

             Cortlin H. Lannin                       Li Nowlin-Sohl
             clannin@cov.com                         lnowlin-sohl@aclu.org
             docketing@cov.com

             D Jean Veta                             Meredith Taylor Brown
             jveta@cov.com                           tbrown@aclu.org

             Dana Kennedy                            Philip S. May
             dkennedy@paulweiss.com                  philip.may@groombridgewu.com

             Leslie Jill Cooper                      Dayton Patrick Reed
             lcooper@aclu.org                        dreed@adacounty.id.gov
             ccaicedo@aclu.org                       civilpafiles@adacounty.id.gov
             sgarcia@aclu.org                        citedemann@adacounty.id.gov


                                               By:/s/ Lincoln D. Wilson
                                                    LINCOLN DAVIS WILSON




                                      COMBINED MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR
                                  PRELIMINARY INJUNCTION AND IN SUPPORT OF MOTION TO DISMISS – 32
                                                                                      ER1040
(106 of 130), Page 106 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 106 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 1 of 6




            RAÚL R. LABRADOR
            ATTORNEY GENERAL

            JOSHUA N. TURNER, ISB #12193
            Acting Solicitor General

            JAMES E. M. CRAIG, ISB #6365
            Chief, Civil Litigation and
            Constitutional Defense
            RAFAEL J. DROZ, ISB #9934
            Deputy Attorney General
            Office of the Attorney General
            P. O. Box 83720
            Boise, ID 83720-0010
            Telephone: (208) 334-2400
            Facsimile: (208) 854-8073
            josh.turner@ag.idaho.gov
            james.craig@ag.idaho.gov
            rafael.droz@ag.idaho.gov

            Attorneys for Defendant Raúl Labrador

                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF IDAHO

             PAM POE, by and through her parents and
             next friends, Penny and Peter Poe, et al.              Case No. 1:23-cv-00269-BLW
                                                      Plaintiffs,
                                                                    NOTICE OF APPEAL
             v.
                                                                    PRELIMINARY
             RAÚL LABRADOR, in his official capacity as             INJUNCTION APPEAL
             Attorney General of the State of Idaho, et al.
                                                    Defendants.     ELEVENTH AMENDMENT
                                                                    IMMUNITY APPEAL




                                                                           NOTICE OF APPEAL — 1
                                                                                        ER1041
(107 of 130), Page 107 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 107 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 2 of 6




                  Defendant Raúl Labrador, in his official capacity as Attorney General for the

            State of Idaho, hereby appeals to the Ninth Circuit Court of Appeals the district court’s

            December 26, 2023 Memorandum Decision and Order [Dkt. 78], granting Plaintiffs’

            Motion for a Preliminary Injunction. Attorney General Labrador further appeals the

            district court’s decision [Dkt. 78] denying Attorney General Labrador’s Motion to

            Dismiss, which motion argued that he is immune from suit under the Eleventh

            Amendment. See 28 U.S.C § 1292(a)(1); Puerto Rico Aqueduct & Sewer Auth. v. Metcalf &

            Eddy, Inc., 506 U.S. 139, 147 (1993) (“We hold that States and state entities that claim

            to be ‘arms of the State’ may take advantage of the collateral order doctrine to appeal a

            district court order denying a claim of Eleventh Amendment immunity.”).

                                            FORM 1 INFORMATION

                      • Date case was first filed in U.S. District Court: May 31, 2023

                      • Date of judgment or order being appealed: December 26, 2023.

                      • Docket entry number of judgment or order appealed from: 78

                         (Memorandum Decision and Order).

                      • Docketing fee of $605 paid to the U.S. District Court for the District of

                         Idaho.

                      • Appellant: Defendant Raúl Labrador.

                      • This is not a cross-appeal.




                                                                           NOTICE OF APPEAL — 2
                                                                                         ER1042
(108 of 130), Page 108 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 108 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 3 of 6




                     • A representation statement follows on the next page.

                  DATED: January 3, 2024.
                                                    STATE OF IDAHO
                                                    OFFICE OF THE ATTORNEY GENERAL

                                              By:     /s/ James E. M. Craig
                                                        JAMES E. M. CRAIG
                                                        Chief, Civil Litigation and
                                                        Constitutional Defense
                                                        JOSHUA N. TURNER
                                                        Acting Solicitor General




                                                                         NOTICE OF APPEAL — 3
                                                                                      ER1043
(109 of 130), Page 109 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 109 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 4 of 6




                                      REPRESENTATION STATEMENT

               I.    Counsel for Appellant

                     JOSHUA N. TURNER
                     Acting Solicitor General
                     josh.turner@ag.idaho.gov

                     JAMES E. M. CRAIG
                     Chief, Civil Litigation and
                     Constitutional Defense
                     james.craig@ag.idaho.gov

                     Idaho Office of the Attorney General
                     P.O. Box 83720
                     Boise, ID 83720-0010

               II.   Counsel for Appellees

                     LI NOWLIN-SOHL
                     lnowlin-sohl@aclu.org
                     LESLIE COOPER
                     lcooper@aclu.org
                     American Civil Liberties Union Foundation
                     125 Broad St.
                     New York, NY 10004

                     RICHARD EPPINK
                     ritchie@wrest.coop
                     CASEY PARSONS
                     casey@wrest.coop
                     DAVID A. DEROIN
                     david@wrest.coop
                     Wrest Collective
                     812 W. Franklin St.
                     Boise, ID 83702




                                                                     NOTICE OF APPEAL — 4
                                                                                  ER1044
(110 of 130), Page 110 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 110 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 5 of 6




                     BRAD S. KARP
                     bkar@paulweiss.com
                     ALEXIA D. KORBERG
                     akorberg@paulweiss.com
                     JACKSON YATES
                     jyates@paulweiss.com
                     DANA L. KENNEDY
                     dkennedy@paulweiss.com
                     Paul, Wiess, Rifkind, Wharton & Garrison LLP
                     1285 Avenue of the Americas
                     New York, NY 10019

                     ERIC ALAN STONE
                     eric.stone@groombridgewu.com
                     ARIELLA C. BAREL
                     ariella.barel@groombridgewu.com
                     KYLE BERSANI
                     kyle.bersani@groombridgewu.com
                     Groombridge, Wu, Baughman and Stone LLP
                     565 5th Avenue, Suite 2900
                     New York, NY 10017

                     PHILIP S. MAY
                     philip.may@groombridgewu.com
                     Groombridge, Wu, Baughman and Stone LLP
                     801 17th St. NW, Suite 1050
                     Washington, DC 20006

                     JORDAN OROSZ
                     jorosz@paulweiss.com
                     Paul, Weiss, Rifkind, Wharton & Garrison LLP
                     2001 K Street, NW
                     Washington, DC 20006-1047

                     DINA FLORES-BREWER
                     dfloresbrrewer@acluidaho.org
                     ACLU of Idaho Foundation
                     P.O. Box 1897
                     Boise, ID 83701



                                                                     NOTICE OF APPEAL — 5
                                                                                  ER1045
(111 of 130), Page 111 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 111 of 130
                     Case 1:23-cv-00269-BLW Document 79 Filed 01/03/24 Page 6 of 6




                                     CERTIFICATE OF SERVICE


                   I HEREBY CERTIFY that on January 3, 2024, I electronically filed the foregoing
            with the Clerk of the Court using the CM/ECF system which caused the same to be
            served by electronic service upon all counsel of record.


                                                       /s/ James E. M. Craig
                                                       JAMES E. M. CRAIG
                                                       Chief, Civil Litigation and
                                                       Constitutional Defense




                                                                        NOTICE OF APPEAL — 6
                                                                                      ER1046
(112 of 130), Page 112 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 112 of 130


                                                                     REVISED


                                                      STATEMENT OF PURPOSE
                                                             RS29985C2 I H0071

          The Vulnerable Child Protective Act would prohibit puberty blockers, cross-sex hormones, and sex
          reassignment surgeries for children under the age of 18 when administered or performed for the purpose of
          changing the appearance of a child's sex. These medical and surgical interventions can cause irreversible
          physical alterations; and some render the patient sterile or with lifelong sexual dysfunction, while others
          mutilate healthy body organs. This legislation also provides for exemptions for medically necessary uses of
          these drugs and procedures.

                                                               FISCAL NOTE
          There is no anticipated fiscal impact on the general fund because it requires no expenditure of State funds nor
          is there an impact on local governments.

          Contact:
              Representative Bruce D . Skaug
              (208) 332-1000
              Senator Lori Den Hartog
              (208) 332-1000
              Blaine Conzatti
              ldaho Family Policy Center
              (208) 260-5844




         DISCLAIMER: This statement of purpose and fiscal note are a mere attachment to this bill and prepared by a proponent
         of the bill. It is neither intended as an expression of legislative intent nor intended for any use outside of the legislative
         process, including judicial review (Joint Rule 18).


         Statement of Purpose/ Fiscal Note                                           Bill SOP/FN REVISED: 03/24/2023, 8:01 AM


                                                                                                                       ER1047
(113 of 130), Page 113 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 113 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                                     -./01 2/34056ÿ 859:959/6ÿ ;/:3 <4=ÿ>.5
                                                                                    ?@@A?BCBDEFCBDEGCHI?JAK
                                    LMNMÿPQRSTQUSÿVWXTS
                 PQRSTQUSÿWYÿZ[\]Wÿ^_Z`abÿcdeSfdgÿhMiÿ^jWQRdÿkÿNWXS]dTgb
                  VZ`Z_ÿPlVmanÿolpÿVqNaÿrsÿhstukUvkwwtxykj_z
     @{|ÿ|~ÿÿÿB{ÿ|~ÿ                         K~|ÿ|ÿFEF
     ?|ÿ~{ÿH|{ÿ|ÿÿBÿ ÿK|ÿ{|
     D|ÿÿ{~|ÿ{~ÿ~ÿD~ÿD{~ÿ{ ~|ÿ{ÿH~ÿFÿDÿ~
                         ?|CÿFFE                ~|
     D|ÿEÿDÿ~ÿ?~                    ~{ÿ||ÿ¡|~{
     P\SdÿoQ¢d[ r PWU£dSÿndeS
     FEF EÿD ¤@B?¥Iÿ¦§¨ÿª«¬­®¨®¯§¨°ÿ®±²ÿ³±µ́±¬¯¶·«ÿ̧«­¶«¦ÿ~ÿ?
                      K||~ÿ¹ÿÿ||ÿºÿFÿ||~ÿ|ÿ?¥KKD
                      GG»Cÿ|ÿÿ?ÿ@~ÿ¹?~~|~ÿ¼ÿEÿD{|
                      H||~»¹A½Cÿ»
     FEF ÿ¤ I¥ÿ ÿ@ ÿ¾?Dÿ¿¥DAÿ?@@A??DAÿÿ?|ÿD
                      |ÿ¹ÿÿ||ÿºÿFÿ||~ÿ|ÿ?¥KKD
                      GGG»ÿ?ÿA½ÿ|ÿ{ÿ@~ÿ|
                      K{|Cÿ{ÿK{|Cÿ{ÿK{|Cÿ@ÿ@{|Cÿ@|ÿ@{|Cÿ@|~|ÿ@{|
                      |{|ÿ|ÿÿÀEFÿ¹A½Cÿ»
     FEF ÿ¤ I¥ÿ ÿ@ ÿ¾?Dÿ¿¥DAÿ?@@A??DAÿÿ?|ÁÿK
                      Â{|ÿ¹ÿÿ||ÿºÿFÿ||~ÿ|ÿ?¥KKD
                      GG»ÿ?ÿA½ÿ|ÿ{ÿ@~ÿ|
                      K{|Cÿ{ÿK{|Cÿ{ÿK{|Cÿ@ÿ@{|Cÿ@|ÿ@{|Cÿ@|~|ÿ@{|
                      |{|ÿ|ÿÿÀEFÿ¹A½Cÿ»
     FEF ÿ¤ I¥ÿ ÿ@ ÿ¾?Dÿ¿¥DAÿ?@@A??DAÿÿAÿ?
                      H~{|ÿ¹ÿÿ||ÿºÿFÿ||~ÿ|ÿ?¥KKD
                      GGÀ»ÿ?ÿA½ÿ|ÿ{ÿ@~ÿ|
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1048   717,
(114 of 130), Page 114 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 114 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDG NÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿY/=ZJ/ÿ2JZZ
                   W..>/:;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N_B`;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDG BÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿYJ
                   S.aZJ4^b.5Z;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N__D;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDG _ÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿ23LK=.4
                   c39/=;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N__d;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDG eÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿ-343ÿY;
                   f/44/?8;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N__e;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDG `ÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿ2.:?34ÿI;
                   P:.=g;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N_eE;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDGEFÿOPQRPSÿTP<ÿ6<PÿUVWÿXRWIÿV66IV<VSWIÿA8ÿO/:/?J95
                   Q38Z.:ÿh:.a4;ÿHÿTJZJ4[ÿ\//ÿ]ÿDNFÿ:/L/J>9ÿ4@7A/:ÿVR--W^
                   DN_N_eD;M<JL53:?ÿVZ34ÿI>>J4Kÿ3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/
                   -./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637ÿ6./0ÿ6/448ÿ6./0ÿ6/9/:ÿ6./;
                   </=>.4=/=ÿ?@/ÿA8ÿBCDECDFDGÿHI>>J4K0ÿ<JL53:?M
      FNCGECDFDGEEÿOPQRPSÿ9.ÿ6:.L//?ÿ@4?/:ÿ6=/@?.487=ÿ<JL53:?ÿVZ34ÿI>>J4K
                   3>>/3:J4[ÿ\.:ÿ6Z3J49J\\=ÿ234/ÿ-./0ÿ2.34ÿ-./0ÿ2.54ÿ-./0ÿ637
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1049   017,
(115 of 130), Page 115 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 115 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./0ÿ-/223ÿ-./0ÿ-/4/5ÿ-./6ÿ7/89.28/8ÿ:;/ÿ<3ÿ=>?@>?A?B
                   CD44EFGH/248IÿJÿ@ÿK/H.5E2:;HÿL2ÿM;99.540ÿJÿ?ÿN/FOE5E4L.2ÿ.P
                   -/223ÿ-./0ÿJÿBÿN/FOE5E4L.2ÿ.PÿQ.E2ÿN./RCS99L2T0ÿ7LFGE5:R
      A=>A@>?A?B@?ÿNUVWSXÿSYX7ZÿU7NS7ÿE995.[L2\ÿ?ÿBÿ]ÿ^ÿ=ÿ_ÿ̀ÿaÿ@A
                   K.4L.28ÿP.5ÿ-5.ÿbEFÿcLF/ÿD99/E5E2F/ÿ.PÿE44.52/38ÿD5L/OOEÿV6
                   dE5/O0ÿDO/eLEÿN6ÿW.5</5\0ÿS5LFÿDOE2ÿM4.2/0ÿf/8OL/ÿQLOOÿV..9/50ÿfL
                   Y.gOL2hM.GO0ÿQEFT8.2ÿZE4/80ÿNE2Eÿf6ÿW/22/:30ÿQ.5:E2ÿS6ÿU5.8i0
                   K/5/:L4GÿXE3O.5ÿd5.g2ÿP.5ÿ-EHÿ-./0ÿ-/223ÿ-./0ÿ-/4/5ÿ-./0ÿQE2/
                   N./0ÿQ.E2ÿN./0ÿE2:ÿQ.G2ÿN./6ÿ-/5ÿf.FEOÿ7;O/ÿ̀B6]C/R0ÿ.;4h.Ph
                   84E4/ÿF.;28/Oÿ8GEOOÿLHH/:LE4/O3ÿ5/\L84/5ÿP.5ÿSVj6ÿCY.4LF/ÿ8/24ÿ4.
                   VK>SVjÿ7/\L845E4L.2ÿVO/5TRÿCFE;8/:ÿ4.ÿ</ÿHELO/:ÿ4.ÿ2.2
                   7/\L84/5/:ÿ-E54LFL9E248ÿE4ÿ4G/ÿE::5/88/8ÿOL84/:ÿ.2ÿ4G/ÿY.4LF/ÿ.P
                   SO/F45.2LFÿjLOL2\ÿCYSjRÿ<3ÿCG8R
      A=>A^>?A?B@BÿfkXklDXkUYÿU7NS7ÿDYNÿYUXkVSÿUjÿXSfS-bUYkV
                   MVbSNmfkYlÿVUYjS7SYVSÿhÿU2ÿ.5ÿ</P.5/ÿQ;O3ÿB0ÿ?A?B0
                   4G/ÿ9E54L/8ÿH;84ÿPLO/ÿgL4Gÿ4G/ÿV.;54ÿ4G/ÿn.L24ÿfL4L\E4L.2ÿ-OE2ÿE2:
                   NL8F.[/53ÿ-OE26ÿX/O/9G.2LFÿMFG/:;OL2\ÿV.2P/5/2F/ÿ8/4ÿP.5
                   _>@A>?A?Bÿ@@IAAÿDKÿL2ÿX/O/9G.2LFÿb/E5L2\ÿhÿd.L8/ÿVGEH</58
                   </P.5/ÿmMÿKE\L845E4/ÿQ;:\/ÿVE2:3ÿoÿNEO/6ÿML\2/:ÿ<3ÿmM
                   KE\L845E4/ÿQ;:\/ÿVE2:3ÿoÿNEO/6ÿCFE;8/:ÿ4.ÿ</ÿHELO/:ÿ4.ÿ2.2
                   7/\L84/5/:ÿ-E54LFL9E248ÿE4ÿ4G/ÿE::5/88/8ÿOL84/:ÿ.2ÿ4G/ÿY.4LF/ÿ.P
                   SO/F45.2LFÿjLOL2\ÿCYSjRÿ<3ÿCn:R
      A=>@=>?A?B@]ÿYUXkVSÿ.PÿD99/E5E2F/ÿ<3ÿNL2EÿKÿjO.5/8hd5/g/5ÿ.2ÿ</GEOPÿ.P
                   DOOÿ-OEL24LPP8ÿCjO.5/8hd5/g/50ÿNL2ER
      A=>?A>?A?B@^ÿKUXkUYÿjU7ÿ-7UÿbDVÿckVSÿD--SD7DYVSÿ<3ÿW3O/ÿY6
                   d/58E2L6ÿCÿjLOL2\ÿP//ÿpÿ?^Aÿ5/F/L94ÿ2;H</5ÿDkNNVh
                   ?^`=@?`6R7LFGE5:ÿDOE2ÿS99L2TÿE99/E5L2\ÿP.5ÿ-OEL24LPP8ÿQE2/
                   N./0ÿQ.E2ÿN./0ÿQ.G2ÿN./0ÿ-EHÿ-./0ÿ-/223ÿ-./0ÿ-/4/5ÿ-./6
                   7/89.28/8ÿ:;/ÿ<3ÿ_>@@>?A?BÿCS99L2T0ÿ7LFGE5:R
      A=>?A>?A?B@=ÿKUXkUYÿjU7ÿ-7UÿbDVÿckVSÿD--SD7DYVSÿ<3ÿ-GLOL9ÿM6
                   KE36ÿCÿjLOL2\ÿP//ÿpÿ?^Aÿ5/F/L94ÿ2;H</5ÿDkNNVh
                   ?^`=@]@6R7LFGE5:ÿDOE2ÿS99L2TÿE99/E5L2\ÿP.5ÿ-OEL24LPP8ÿQE2/
                   N./0ÿQ.E2ÿN./0ÿQ.G2ÿN./0ÿ-EHÿ-./0ÿ-/223ÿ-./0ÿ-/4/5ÿ-./6
                   7/89.28/8ÿ:;/ÿ<3ÿ_>@@>?A?BÿCS99L2T0ÿ7LFGE5:R
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1050   *17,
(116 of 130), Page 116 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 116 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      -./01/0-0213ÿ56789:ÿ9;:<=ÿ6<59<ÿ>??@ABCDEÿ1Fÿ1.ÿGAHCADIÿJA@ÿK@A
                   L>MÿNCMOÿP??O>@>DMOÿAJÿ>HHA@DOQIÿ8QROÿ;SÿTO@I>DCUÿKVCRC?ÿWS
                   G>QÿJA@ÿX>DOÿ5AOUÿXA>Dÿ5AOUÿXAVDÿ5AOUÿK>YÿKAOUÿKODDQÿKAOU
                   KOHO@ÿKAOSÿKO@ÿZAM>Rÿ<[ROÿ\2S]^O_UÿA[H̀AJ`IH>HOÿMA[DIORÿIV>RR
                   CYYOaC>HORQÿ@OECIHO@ÿJA@ÿ97bSÿ^;AHCMOÿIODHÿHAÿ7G/97b
                   <OECIH@>HCADÿ7RO@c_ÿ^M>[IOaÿHAÿdOÿY>CROaÿHAÿDADÿ<OECIHO@Oa
                   K>@HCMC?>DHIÿ>HÿHVOÿ>aa@OIIOIÿRCIHOaÿADÿHVOÿ;AHCMOÿAJÿ9ROMH@ADCM
                   bCRCDEÿ^;9b_ÿdQÿ^VI_
      -./0e/0-021\ÿfPgN9<ÿ6bÿW9<Ng79ÿ<OH[@DOaÿ9hOM[HOaÿdQÿKOHO@ÿKAOUÿK>Y
                   KAOUÿKODDQÿKAOUÿX>DOÿ5AOUÿXA>Dÿ5AOUÿXAVDÿ5AOSÿX>DÿGÿTODDOHHI
                   i>CBO@ÿIODHÿADÿ./03/0-02Uÿ>DIiO@ÿa[Oÿ\/0\/0-02Sÿ^9??CDcU
                   <CMV>@a_
      -./2-/0-021eÿW:P:jWÿ<9K6<:ÿklmÿolkpqrlÿstÿusvwxyqz{ÿdQÿX>DOÿ5AOUÿXA>D
                   5AOUÿXAVDÿ5AOUÿK>YÿKAOUÿKODDQÿKAOUÿKOHO@ÿKAOSÿ^9??CDcU
                   <CMV>@a_
      -./2-/0-020-ÿ56789:ÿ9;:<=ÿ6<59<ÿ̀ÿ:VOÿHORO?VADCMÿIMVOa[RCDE
                   MADJO@ODMOÿM[@@ODHRQÿIOHÿJA@ÿX[RQÿ1-Uÿ0-02Uÿ>Hÿ11|--ÿPGUÿ>Daÿ>RR
                   >IIAMC>HOaÿaO>aRCDOIUÿ>@OÿVO@OdQÿNP7P:95Sÿ:VOÿ?>@HCOIÿ>@OÿHA
                   ?@A?AIOÿ>ÿd@COJCDEÿIMVOa[ROÿ@OR>HOaÿHAÿKR>CDHCJJI}ÿ>DHCMC?>HOa
                   YAHCADÿJA@ÿ?@ORCYCD>@QÿCD~[DMHCADSÿWVA[RaÿHVOÿ?>@HCOIÿDOOa
                   >IICIH>DMOÿiCHVÿHVOÿI>YOUÿHVOQÿY>QÿMADH>MHÿMV>YdO@IÿHAÿ@O[OIH
                   >ÿIH>H[IÿMADJO@ODMOÿiCHVÿHVOÿ7A[@HS
                   WCEDOaÿdQÿjWÿG>ECIH@>HOÿX[aEOÿ7>DaQÿfÿ5>ROSÿ^cRi_
      -3/10/0-0201ÿ5gW<9P<5ÿ?O@ÿ7A@@OMHCBOÿ9DH@Qÿ^fCRIADUÿZCDMARD_SÿGAaCJCOa
                   ADÿ3/12/0-02ÿ^cY_S
      -3/10/0-0200ÿ9<<P:PÿdQÿ5OJODa>DHIÿgDaCBCa[>RÿGOYdO@IÿAJÿHVOÿga>VAÿ7AaO
                   7AYYCIICADUÿ<>[RÿZ>d@>aA@ÿ@Oÿ01ÿ;AHCMOÿAJÿP??O>@>DMO
                   uskklr{lÿs{qrlÿstÿwwlykyzrlSÿ^fCRIADUÿZCDMARD_
      -3/10/0-0202ÿ;6:g79ÿAJÿP??O>@>DMOÿdQÿXAIV[>ÿ;Sÿ:[@DO@ÿADÿdOV>RJÿAJ
                   gDaCBCa[>RÿGOYdO@IÿAJÿHVOÿga>VAÿ7AaOÿ7AYYCIICADUÿ<>[R
                   Z>d@>aA@ÿ^:[@DO@UÿXAIV[>_
      -3/12/0-02 ÿ76<<97:gN9ÿ9;:<=ÿ̀ÿKRO>IOÿaCI@OE>@aÿaAMcOHÿD[YdO@ÿ01
                   ;AHCMOÿAJÿP??O>@>DMOÿ>IÿHVOÿaAM[YODHÿi>IÿCD>aBO@HODHRQÿJCROaÿCD
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1051   317,
(117 of 130), Page 117 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 117 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./ÿ12345ÿ678/9ÿ:./ÿ;<=<45ÿ>72-?ÿ2/8@AB<--/Cÿ-./ÿ6322/6-ÿ;<=<45ÿ7-
                   C36D/-ÿ439ÿEFÿ9ÿGDBH
      IJKLMKEIEFEMÿNO:PQRÿ3;ÿS88<54B/4-ÿ-3ÿT75<8-27-/ÿU@C5/ÿ74CÿV/W@<2/B/4-
                   ;32ÿQ348/4-ÿ8/4-ÿ-3ÿ63@48/=ÿ;32ÿ2/ÿLÿQ3B>=7<4-XÿEFÿN3-<6/ÿ3;
                   S>>/72746/ÿQ348/4-KOAY/6-<34ÿ-3ÿT75<8-27-/ÿC@/ÿA?ÿZKLEKEIEF9
                   G.8H
      IJKLMKEIEFE[ÿTO:PONÿ\OVÿ]VOÿ^SQÿ_PQRÿS]]RSVSNQRÿA?ÿ̀27Cÿa9
                   b72>9ÿGÿ\<=<45ÿ;//ÿcÿE[Iÿ2/6/<>-ÿ4@BA/2ÿSPddQe
                   E[ZZLfM9HV<6.72CÿS=74ÿR>><4Dÿ7>>/72<45ÿ;32ÿ]=7<4-<;;8ÿU74/
                   d3/XÿU374ÿd3/XÿU3.4ÿd3/Xÿ]7Bÿ]3/Xÿ]/44?ÿ]3/Xÿ]/-/2ÿ]3/9
                   V/8>348/8ÿC@/ÿA?ÿgKMKEIEFÿGR>><4DXÿV<6.72CH
      IJKLJKEIEFEfÿdOQbR:ÿRN:VhÿOVdRVÿ7>>23i<45ÿE[ÿT3-<34ÿ;32ÿ]23ÿ^76
                   _<6/ÿS>>/72746/ÿ3;ÿ7--324/?ÿ̀27Cÿa9ÿb72>ÿ;32ÿU74/ÿd3/X̀27Cÿa9
                   b72>ÿ;32ÿU374ÿd3/X̀27Cÿa9ÿb72>ÿ;32ÿU3.4ÿd3/X̀27Cÿa9ÿb72>ÿ;32
                   ]7Bÿ]3/X̀27Cÿa9ÿb72>ÿ;32ÿ]/44?ÿ]3/X̀27Cÿa9ÿb72>ÿ;32ÿ]/-/2ÿ]3/
                   ]/2ÿj367=ÿV@=/ÿgF9MG/HXÿ3@-e3;e8-7-/ÿ63@48/=ÿ8.7==ÿ<BB/C<7-/=?
                   2/5<8-/2ÿ;32ÿRQ\9ÿGN3-<6/ÿ8/4-ÿ-3ÿQTKRQ\ÿV/5<8-27-<34ÿQ=/2DH
                   G67@8/Cÿ-3ÿA/ÿB7<=/Cÿ-3ÿ434ÿV/5<8-/2/Cÿ]72-<6<>74-8ÿ7-ÿ-./
                   7CC2/88/8ÿ=<8-/Cÿ34ÿ-./ÿN3-<6/ÿ3;ÿR=/6-234<6ÿ\<=<45ÿGNR\HÿA?ÿGYCH
      IJKLgKEIEFEJÿTO:PONÿ;32ÿj/7i/ÿ-3ÿ\<=/ÿRk6/88ÿ]75/8ÿlmnopqrmnstÿvwx
                   yvnwznt{ÿl|}w~pqwÿrt~ÿr{wÿnnmÿstÿsmnstÿj<ÿN31=<4ea3.=
                   7>>/72<45ÿ;32ÿ]=7<4-<;;8ÿU74/ÿd3/XÿU374ÿd3/XÿU3.4ÿd3/Xÿ]7B
                   ]3/Xÿ]/44?ÿ]3/Xÿ]/-/2ÿ]3/9ÿV/8>348/8ÿC@/ÿA?ÿgKgKEIEFÿGN31=<4e
                   a3.=Xÿj<H
      IJKLZKEIEFEgÿNO:PQRÿ3;ÿS88<54B/4-ÿ-3ÿT75<8-27-/ÿU@C5/ÿ74CÿV/W@<2/B/4-
                   ;32ÿQ348/4-ÿ8/4-ÿ-3ÿ63@48/=ÿ;32ÿU74ÿTÿ̀/44/--8ÿ2/ÿEJÿlmnopqrmnst
                   vwxÿyvnwznt{ÿl|}w~pqwÿrt~ÿr{wÿnnmÿstÿsmnst
                   Q348/4-KOAY/6-<34ÿ-3ÿT75<8-27-/ÿC@/ÿA?ÿZKLgKEIEF9ÿGDBH
      IJKLZKEIEFEZÿOVdRVÿ5274-<45ÿEJÿa-<>@=7-<34ÿ;32ÿ3i/2=/45-.ÿA2</;8ÿ74Cÿ-3
                   /k-/4C/CÿA2</;<45ÿ86./C@=/9
                   a<54/CÿA?ÿaÿT75<8-27-/ÿU@C5/ÿQ74C?ÿÿd7=/9ÿGD=1H
      IJKLZKEIEFFIÿdOQbR:ÿRN:VhÿOVdRVÿeÿ>34ÿ2/i</1ÿ3;ÿ-./ÿC36D/-ÿ<4ÿ-.<8
                   B7--/2Xÿ74Cÿ-./ÿ>72-</8ÿ8-<>@=7-<34ÿEJÿ6346/24<45ÿ]=7<4-<;;8
                   74-<6<>7-/CÿB3-<34ÿ;32ÿ>2/=<B<472?ÿ<4Y@46-<34Xÿ-./ÿQ3@2-ÿ;<4C8
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1052   217,
(118 of 130), Page 118 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 118 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -../ÿ12345ÿ6.ÿ47.8659ÿ675ÿ/52/:;95ÿ<;67;9ÿ<7;17ÿ6.ÿ1.94596ÿ6.
                   675ÿ=38;4/;16;.9ÿ.>ÿ2ÿ?2-;468265ÿ=3/-5@ÿABBÿCDÿEÿCFÿ@ÿG75ÿH286;54
                   472::ÿ72I5ÿ3Hÿ678.3-7ÿ29/ÿ;91:3/;9-ÿJKLKMNÿPPQÿRSRTQÿ<;67;9
                   <7;17ÿ6.ÿ1.94596ÿ6.ÿH8.155/ÿU5>.85ÿ2ÿ?2-;468265ÿ=3/-5@
                   V;-95/ÿUWÿXVÿY2-;468265ÿZ3/-5ÿ[29/Wÿ\ÿ]2:5@ÿ^_:<`
      abcdecCaCffdÿ]g[hiGÿijGklÿgk]ikÿmÿXH.9ÿ85I;5<ÿ.>ÿ675ÿddÿY.6;.9ÿG.
                   n8.155/ÿX9/58ÿn453/.9W?4ÿ29/ÿ675ÿH286;54oÿ46;H3:26;.9ÿCb
                   1.91589;9-ÿn:2;96;>>4oÿ296;1;H265/ÿ?.6;.9ÿ>.8ÿH85:;?;928W
                   ;9=3916;.9Eÿ675ÿ[.386ÿ7585UWÿgk]ikVÿ]5>59/2964ÿ6.ÿ854H.9/ÿ6.
                   675ÿ?.6;.9ÿddÿ.9ÿ.8ÿU5>.85ÿpKqrÿRsQÿRSRT@ÿt>ÿ]5>59/2964ÿ/.ÿ9.6
                   ;9659/ÿ6.ÿ.HH.45ÿ675ÿ?.6;.9ÿddÿEÿ675Wÿ?346ÿ>;:5ÿ2ÿ9.6;15ÿ.>ÿ9.9m
                   .HH.4;6;.9@ÿ];46@ÿt/27.ÿu.1@ÿ[;I@ÿk@ÿb@d^2`^v`@
                   V;-95/ÿUWÿXVÿY2-;468265ÿZ3/-5ÿ[29/Wÿ\ÿ]2:5@ÿ^_:<`
      abcCdcCaCffCÿYgGtgjÿ>.8ÿn85:;?;928Wÿt9=3916;.9ÿw:5x;2ÿ]@ÿh.8U58-
                   2HH528;9-ÿ>.8ÿn:2;96;>>4ÿZ295ÿ].5EÿZ.29ÿ].5EÿZ.79ÿ].5Eÿn2?
                   n.5Eÿn599Wÿn.5Eÿn5658ÿn.5@ÿk54H.9454ÿ/35ÿUWÿFcddcCaCf
                   ^w66217?5964yÿzÿdÿY5?.829/3?ÿ.>ÿu2<ÿ;9ÿV3HH.86ÿ.>ÿn:2;96;>>4o
                   Y.6;.9ÿ>.8ÿ2ÿn85:;?;928Wÿt9=3916;.9EÿzÿCÿ]51:2826;.9ÿ.>ÿn2?ÿn.5
                   ;9ÿV3HH.86ÿ.>ÿn:2;96;>>4oÿY.6;.9ÿ>.8ÿ2ÿn85:;?;928Wÿt9=3916;.9Eÿzÿf
                   ]51:2826;.9ÿ.>ÿn599Wÿn.5ÿ;9ÿV3HH.86ÿ.>ÿn:2;96;>>4oÿY.6;.9ÿ>.8ÿ2
                   n85:;?;928Wÿt9=3916;.9EÿzÿDÿ]51:2826;.9ÿ.>ÿZ295ÿ].5ÿ;9ÿV3HH.86
                   .>ÿn:2;96;>>4oÿY.6;.9ÿ>.8ÿ2ÿn85:;?;928Wÿt9=3916;.9Eÿzÿv
                   ]51:2826;.9ÿ.>ÿZ.29ÿ].5ÿ;9ÿV3HH.86ÿ.>ÿn:2;96;>>4oÿY.6;.9ÿ>.8ÿ2
                   n85:;?;928Wÿt9=3916;.9Eÿzÿ{ÿixH586ÿ]51:2826;.9ÿ.>ÿ[78;46;95
                   |82/WEÿn7]EÿzÿbÿixH586ÿ]51:2826;.9ÿ.>ÿh282ÿ[.995::WEÿY]EÿzÿF
                   ]51:2826;.9ÿ.>ÿw8;5::2ÿ|285:ÿ;9ÿV3HH.86ÿ.>ÿn:2;96;>>4oÿY.6;.9ÿ>.8
                   2ÿn85:;?;928Wÿt9=3916;.9`^h.8U58-Eÿw:5x;2`
      abcCvcCaCfffÿYgGtgjÿ>.8ÿu52I5ÿ6.ÿ};:5ÿ~Bÿÿ ÿBÿÿAÿ
                   ÿÿÿBÿÿ[.::559ÿk.429927
                   V?;67ÿ2HH528;9-ÿ>.8ÿw?;134ÿn286;54ÿw?58;129ÿw12/5?Wÿ.>
                   n5/;268;14Eÿw12/5?;1ÿn5/;268;1ÿw44.1;26;.9Eÿw?58;129ÿw12/5?W
                   .>ÿ[7;:/ÿÿw/.:541596ÿn4W17;268WEÿw?58;129ÿw12/5?Wÿ.>
                   }2?;:Wÿn7W4;1;294Eÿw?58;129ÿw12/5?Wÿ.>ÿj384;9-Eÿw?58;129
                   w44.1;26;.9ÿ.>ÿn7W4;1;294ÿ>.8ÿ3?29ÿk;-764Eÿt91@Eÿw?58;129
                   [.::5-5ÿ.>ÿgU46568;1;294ÿ29/ÿW951.:.-;464Eÿw?58;129ÿ[.::5-5
                   .>ÿg465.H267;1ÿn5/;268;1;294Eÿw?58;129ÿ[.::5-5ÿ.>ÿg465.H267;1
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1053   (17,
(119 of 130), Page 119 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 119 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./01230401567ÿ9:.30415ÿ;<==.>.ÿ<?ÿ-@A60401567ÿ9:.30415
                   B./041=ÿ966<40120<577ÿ9:.30415ÿ-./012304ÿC<40.2A7ÿ966<40120<5
                   <?ÿ9:.30415ÿB./041=ÿ;<==.>.67ÿ966<40120<5ÿ<?ÿB./041=ÿC4@<<=
                   -./012304ÿD.E132:.52ÿ;@10367ÿF54G7ÿH5/<4305.ÿC<40.2A7ÿF/1@<
                   ;@1E2.3ÿ<?ÿ2@.ÿ9:.30415ÿ941/.:Aÿ<?ÿ-./01230467ÿI120<51=
                   966<40120<5ÿ<?ÿ-./012304ÿIJ36.ÿ-3142020<5.367ÿ-./012304ÿH5/<4305.
                   C<40.2A7ÿC<40.20.6ÿ?<3ÿ-./012304ÿK3<=<>A7ÿC<40.2Aÿ?<3ÿ9/<=.64.52
                   L.1=2@ÿ15/ÿB./0405.7ÿC<40.2Aÿ?<3ÿ-./012304ÿM.6.134@7ÿC<40.2Aÿ<?
                   -./012304ÿIJ36.67ÿN<3=/ÿ-3<?.660<51=ÿ966<40120<5ÿ?<3
                   O3156>.5/.3ÿL.1=2@GÿM.6E<56.6ÿ/J.ÿPAÿQRSTRUVUWÿX92214@:.526Y
                   ZÿSÿ-3<E<6./ÿ9:040ÿ;J301.ÿ[30.?\XC:02@7ÿ;<==..5\
      V]RUTRUVUWW^ÿB_OF_Iÿ̀_Mÿ-M_ÿL9;ÿaF;Hÿ9--H9M9I;HÿPAÿDGÿb.15
                   a.21GÿXÿ̀0=05>ÿ?..ÿcÿUTVÿ3.4.0E2ÿ5J:P.3ÿ9FDD;d
                   UeVWfVUG\;<==..5ÿM<61551@ÿC:02@ÿ1EE.1305>ÿ?<3ÿ9:04J6ÿ-1320.6
                   941/.:04ÿ-./012304ÿ966<40120<57ÿ9:.30415ÿ941/.:Aÿ<?ÿ;@0=/ÿg
                   9/<=.64.52ÿ-6A4@0123A7ÿ9:.30415ÿ941/.:Aÿ<?ÿ̀1:0=A
                   -@A60401567ÿ9:.30415ÿ941/.:Aÿ<?ÿIJ3605>7ÿ9:.30415ÿ941/.:A
                   <?ÿ-./01230467ÿ9:.30415ÿ966<40120<5ÿ<?ÿ-@A6040156ÿ?<3ÿLJ:15
                   M0>@267ÿF54G7ÿ9:.30415ÿ;<==.>.ÿ<?ÿ_P62.23040156ÿ15/
                   hA5.4<=<>06267ÿ9:.30415ÿ;<==.>.ÿ<?ÿ_62.<E12@04ÿ-./01230401567
                   9:.30415ÿ;<==.>.ÿ<?ÿ_62.<E12@04ÿ-./01230401567ÿ9:.30415
                   ;<==.>.ÿ<?ÿ-@A60401567ÿ9:.30415ÿB./041=ÿ966<40120<577
                   9:.30415ÿ-./012304ÿC<40.2A7ÿ966<40120<5ÿ<?ÿ9:.30415ÿB./041=
                   ;<==.>.67ÿ966<40120<5ÿ<?ÿB./041=ÿC4@<<=ÿ-./012304ÿD.E132:.52
                   ;@10367ÿF54G7ÿH5/<4305.ÿC<40.2A7ÿF/1@<ÿ;@1E2.3ÿ<?ÿ2@.ÿ9:.30415
                   941/.:Aÿ<?ÿ-./01230467ÿI120<51=ÿ966<40120<5ÿ<?ÿ-./012304ÿIJ36.
                   -3142020<5.367ÿ-./012304ÿH5/<4305.ÿC<40.2A7ÿC<40.20.6ÿ?<3ÿ-./012304
                   K3<=<>A7ÿC<40.2Aÿ?<3ÿ9/<=.64.52ÿL.1=2@ÿ15/ÿB./0405.7ÿC<40.2A
                   ?<3ÿ-./012304ÿM.6.134@7ÿC<40.2Aÿ<?ÿ-./012304ÿIJ36.67ÿN<3=/
                   -3<?.660<51=ÿ966<40120<5ÿ?<3ÿO3156>.5/.3ÿL.1=2@GÿM.6E<56.6ÿ/J.
                   PAÿQRSTRUVUWÿXC:02@7ÿ;<==..5\
      V]RUTRUVUWWTÿB_OF_Iÿ̀_Mÿ-M_ÿL9;ÿaF;Hÿ9--H9M9I;HÿPAÿN0==01:ÿMG
                   F6160GÿXÿ̀0=05>ÿ?..ÿcÿUTVÿ3.4.0E2ÿ5J:P.3ÿ9FDD;d
                   UeVWfVWG\;<==..5ÿM<61551@ÿC:02@ÿ1EE.1305>ÿ?<3ÿ9:04J6ÿ-1320.6
                   941/.:04ÿ-./012304ÿ966<40120<57ÿ9:.30415ÿ941/.:Aÿ<?ÿ;@0=/ÿg
                   9/<=.64.52ÿ-6A4@0123A7ÿ9:.30415ÿ941/.:Aÿ<?ÿ̀1:0=A
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1054   817,
(120 of 130), Page 120 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 120 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./01213405ÿ789:1234ÿ723;98/ÿ<=ÿ>?:014@5ÿ789:1234ÿ723;98/
                   <=ÿ-9;13A:1205ÿ789:1234ÿ700<213A1<4ÿ<=ÿ-./0121340ÿ=<:ÿB?834
                   C1@.A05ÿD42E5ÿ789:1234ÿF<GG9@9ÿ<=ÿHI0A9A:121340ÿ34;
                   J/492<G<@10A05ÿ789:1234ÿF<GG9@9ÿ<=ÿH0A9<K3A.12ÿ-9;13A:1213405
                   789:1234ÿF<GG9@9ÿ<=ÿH0A9<K3A.12ÿ-9;13A:1213405ÿ789:1234
                   F<GG9@9ÿ<=ÿ-./01213405ÿ789:1234ÿL9;123Gÿ700<213A1<455
                   789:1234ÿ-9;13A:12ÿM<219A/5ÿ700<213A1<4ÿ<=ÿ789:1234ÿL9;123G
                   F<GG9@905ÿ700<213A1<4ÿ<=ÿL9;123GÿM2.<<Gÿ-9;13A:12ÿN9K3:A894A
                   F.31:05ÿD42E5ÿO4;<2:149ÿM<219A/5ÿD;3.<ÿF.3KA9:ÿ<=ÿA.9ÿ789:1234
                   723;98/ÿ<=ÿ-9;13A:1205ÿ>3A1<43Gÿ700<213A1<4ÿ<=ÿ-9;13A:12ÿ>?:09
                   -:32A1A1<49:05ÿ-9;13A:12ÿO4;<2:149ÿM<219A/5ÿM<219A190ÿ=<:ÿ-9;13A:12
                   P:<G<@/5ÿM<219A/ÿ=<:ÿ7;<G90294AÿB93GA.ÿ34;ÿL9;121495ÿM<219A/
                   =<:ÿ-9;13A:12ÿC9093:2.5ÿM<219A/ÿ<=ÿ-9;13A:12ÿ>?:0905ÿQ<:G;
                   -:<=9001<43Gÿ700<213A1<4ÿ=<:ÿR:340@94;9:ÿB93GA.EÿC90K<4090ÿ;?9
                   I/ÿSTUVTWXWYÿZM81A.5ÿF<GG994[
      X\TWVTWXWYY]ÿLHRDH>ÿ^HCÿ-CHÿB7Fÿ_DFOÿ7--O7C7>FOÿI/ÿF<:AG14ÿBE
                   `34414EÿZÿ^1G14@ÿ=99ÿaÿWVXÿ:9291KAÿ4?8I9:ÿ7DNNFb
                   W]XYcXdE[F<GG994ÿC<03443.ÿM81A.ÿ3KK93:14@ÿ=<:ÿ7812?0ÿ-3:A190
                   723;9812ÿ-9;13A:12ÿ700<213A1<45ÿ789:1234ÿ723;98/ÿ<=ÿF.1G;ÿe
                   7;<G90294Aÿ-0/2.13A:/5ÿ789:1234ÿ723;98/ÿ<=ÿ^381G/
                   -./01213405ÿ789:1234ÿ723;98/ÿ<=ÿ>?:014@5ÿ789:1234ÿ723;98/
                   <=ÿ-9;13A:1205ÿ789:1234ÿ700<213A1<4ÿ<=ÿ-./0121340ÿ=<:ÿB?834
                   C1@.A05ÿD42E5ÿ789:1234ÿF<GG9@9ÿ<=ÿHI0A9A:121340ÿ34;
                   J/492<G<@10A05ÿ789:1234ÿF<GG9@9ÿ<=ÿH0A9<K3A.12ÿ-9;13A:1213405
                   789:1234ÿF<GG9@9ÿ<=ÿH0A9<K3A.12ÿ-9;13A:1213405ÿ789:1234
                   F<GG9@9ÿ<=ÿ-./01213405ÿ789:1234ÿL9;123Gÿ700<213A1<455
                   789:1234ÿ-9;13A:12ÿM<219A/5ÿ700<213A1<4ÿ<=ÿ789:1234ÿL9;123G
                   F<GG9@905ÿ700<213A1<4ÿ<=ÿL9;123GÿM2.<<Gÿ-9;13A:12ÿN9K3:A894A
                   F.31:05ÿD42E5ÿO4;<2:149ÿM<219A/5ÿD;3.<ÿF.3KA9:ÿ<=ÿA.9ÿ789:1234
                   723;98/ÿ<=ÿ-9;13A:1205ÿ>3A1<43Gÿ700<213A1<4ÿ<=ÿ-9;13A:12ÿ>?:09
                   -:32A1A1<49:05ÿ-9;13A:12ÿO4;<2:149ÿM<219A/5ÿM<219A190ÿ=<:ÿ-9;13A:12
                   P:<G<@/5ÿM<219A/ÿ=<:ÿ7;<G90294AÿB93GA.ÿ34;ÿL9;121495ÿM<219A/
                   =<:ÿ-9;13A:12ÿC9093:2.5ÿM<219A/ÿ<=ÿ-9;13A:12ÿ>?:0905ÿQ<:G;
                   -:<=9001<43Gÿ700<213A1<4ÿ=<:ÿR:340@94;9:ÿB93GA.EÿC90K<4090ÿ;?9
                   I/ÿSTUVTWXWYÿZM81A.5ÿF<GG994[
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1055   ,17,
(121 of 130), Page 121 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 121 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      ./01201.133/ÿ56789:ÿ;<ÿ=>?ÿ@ÿAB??BCCDÿEBÿFFÿ@67865ÿCGÿHEGIBBJÿK?JBE
                   HDBKJG?<LDÿMNOPQRRNSTUTNOÿUNÿWNUTNOÿXYBBJZÿ[><CG?\
      ./01201.133]ÿ[69^:7ÿ:57Y_ÿ6Y[:Yÿ>``EGab?cÿ3dÿZÿ3eÿZÿ32ÿ@GCbG?DÿfGE
                   HEGÿg>IÿhbIBÿi``B>E>?IBÿGfÿ>CCGE?B<ÿ[ÿ=B>?ÿhBC>Zÿjbkkb>Lÿ8D>DbZ
                   9GECkb?ÿglÿm>??b?ÿfGEÿiI>JBLbIÿHBJb>CEbIÿiDDGIb>CbG?ZÿiLBEbI>?
                   iI>JBL<ÿGfÿ9nbkJÿoÿiJGkBDIB?CÿHD<Inb>CE<ZÿiLBEbI>?ÿiI>JBL<
                   Gfÿp>Lbk<ÿHn<DbIb>?DZÿiLBEbI>?ÿiI>JBL<ÿGfÿ5KEDb?cZÿiLBEbI>?
                   iI>JBL<ÿGfÿHBJb>CEbIDZÿiLBEbI>?ÿiDDGIb>CbG?ÿGfÿHn<DbIb>?DÿfGE
                   gKL>?ÿYbcnCDZÿ8?IlZÿiLBEbI>?ÿ9GkkBcBÿGfÿ6;DCBCEbIb>?Dÿ>?J
                   q<?BIGkGcbDCDZÿfGEÿiLBEbI>?ÿ9GkkBcBÿGfÿ6DCBG`>CnbI
                   HBJb>CEbIb>?DZÿiLBEbI>?ÿ9GkkBcBÿGfÿ6DCBG`>CnbIÿHBJb>CEbIb>?DZ
                   fGEÿiLBEbI>?ÿ9GkkBcBÿGfÿHn<DbIb>?DZÿiLBEbI>?ÿ@BJbI>k
                   iDDGIb>CbG?ZÿiLBEbI>?ÿHBJb>CEbIÿrGIbBC<ZÿiDDGIb>CbG?ÿGf
                   iLBEbI>?ÿ@BJbI>kÿ9GkkBcBDZÿiDDGIb>CbG?ÿGfÿ@BJbI>kÿrInGGk
                   HBJb>CEbIÿ[B`>ECLB?Cÿ9n>bEDZÿ8?IlZÿ:?JGIEb?BÿrGIbBC<Zÿ8J>nG
                   9n>`CBEÿGfÿCnBÿiLBEbI>?ÿiI>JBL<ÿGfÿHBJb>CEbIDZÿ5>CbG?>k
                   iDDGIb>CbG?ÿGfÿHBJb>CEbIÿ5KEDBÿHE>ICbCbG?BEDZÿHBJb>CEbIÿ:?JGIEb?B
                   rGIbBC<ZÿrGIbBCbBDÿfGEÿHBJb>CEbIÿsEGkGc<ZÿiJGkBDIB?CÿgB>kCnÿ>?J
                   @BJbIb?BZÿrGIbBC<ÿfGEÿHBJb>CEbIÿYBDB>EInZÿrGIbBC<ÿGfÿHBJb>CEbI
                   5KEDBDZÿjGEkJÿHEGfBDDbG?>kÿiDDGIb>CbG?ÿfGEÿ7E>?DcB?JBEÿgB>kCnl
                   HBEÿmGI>kÿYKkBÿ]3ldXB\ZÿGKCtGftDC>CBÿIGK?DBkÿDn>kkÿbLLBJb>CBk<
                   EBcbDCBEÿfGEÿ:9plÿX5GCbIBÿDB?CÿCGÿ9@0:9pÿYBcbDCE>CbG?ÿ9kBEu\
                   XI>KDBJÿCGÿ;BÿL>bkBJÿCGÿ?G?ÿYBcbDCBEBJÿH>ECbIb̀>?CDÿ>CÿCnB
                   >JJEBDDBDÿkbDCBJÿG?ÿCnBÿ5GCbIBÿGfÿ:kBICEG?bIÿpbkb?cÿX5:p\ÿ;<ÿXnD\
      ./01]01.133vÿY:rH65r:ÿCGÿ@GCbG?ÿEBÿFFÿ@67865ÿCGÿHEGIBBJÿK?JBE
                   HDBKJG?<LDÿMNOPQRRNSTUTNOÿUNÿWNUTNOÿfbkBJÿ;<ÿ8?JbabJK>k
                   @BL;BEDÿGfÿCnBÿ8J>nGÿ9GJBÿ9GLLbDDbG?ZÿY>Kkÿm>;E>JGEl
                   YB`kbBDÿJKBÿ;<ÿ]0FF01.13lXjbkDG?Zÿmb?IGk?\
      ./01]01.13d.ÿ[69^:7ÿ:57Y_ÿ6Y[:Yÿtÿs`G?ÿIG?DbJBE>CbG?ÿGfÿ[BfB?J>?CDw
                   ?G?tG``GDbCbG?ÿ3/ÿZÿ3vÿZÿ>?JÿcGGJÿI>KDBÿ>``B>Eb?cÿCnBEBfGEZ
                   Hk>b?CbffDwÿFFÿ@GCbG?ÿCGÿHEGIBBJÿK?JBEÿHDBKJG?<LDÿbD
                   qYi57:[l
                   rbc?BJÿ;<ÿsrÿ@>cbDCE>CBÿ=KJcBÿ9>?J<ÿjÿ[>kBlÿXI>KDBJÿCGÿ;B
                   L>bkBJÿCGÿ?G?ÿYBcbDCBEBJÿH>ECbIb̀>?CDÿ>CÿCnBÿ>JJEBDDBDÿkbDCBJÿG?
                   CnBÿ5GCbIBÿGfÿ:kBICEG?bIÿpbkb?cÿX5:p\ÿ;<ÿ^mj\ÿXukx\
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1056   ,17-
(122 of 130), Page 122 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 122 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      -./-0/1-1230ÿ56786ÿ9ÿ:;ÿ:<ÿ=868>?ÿ5678687@ÿABCDÿECDFGHIJKLGCDÿCM
                   LNIÿODCBBCFIHÿPCLGCDQÿLNIÿRCOJLÿNIJISTÿCJHIJFÿLNKLÿLNIÿPCLGCD
                   U7VLWÿ22ÿXÿGFÿY6Z[;87Wÿ;NIÿBJCBCFIHÿSJGIMÿKLÿ7CEVILÿ[CWÿ22
                   FNK\\ÿFLKDHÿKFÿLNIÿSJGIMÿCMÿZPGEOFÿROJGKIÿZPIJGEKDÿZEKHIPTÿCM
                   ]IHGKLJGEFÿKDHÿZHHGLGCDK\ÿ[KLGCDK\ÿKDHÿ<LKLIÿ^IHGEK\ÿKDH
                   ^IDLK\ÿ=IK\LNÿ5J_KDG̀KLGCDFWÿ:LÿGFÿMOJLNIJÿ5678687ÿLNKLÿLNI
                   <LKLIÿ7IMIDHKDLFÿPKTÿNKaIÿOBÿLCÿ2bÿBK_IFÿMCJÿLNIGJÿJIFBCDFIÿLC
                   LNIÿ]\KGDLGMMFcÿPCLGCDÿMCJÿKÿBJI\GPGDKJTÿGDdODELGCDWÿ<G_DIHÿSTÿA<
                   ^K_GFLJKLIÿeOH_IÿRKDHTÿfÿ7K\IWÿUEKOFIHÿLCÿSIÿPKG\IHÿLCÿDCD
                   6I_GFLIJIHÿ]KJLGEGBKDLFÿKLÿLNIÿKHHJIFFIFÿ\GFLIHÿCDÿLNIÿ[CLGEIÿCM
                   8\IELJCDGEÿgG\GD_ÿU[8gXÿSTÿUNFXÿU8DLIJIH@ÿ-./-1/1-12X
      -./-h/1-1231ÿ7CEVILÿIDLJTÿCD\Tÿ9ÿR5[<8[;ÿLCÿ^K_GFLJKLIÿeOH_IÿMG\IHWÿUNFX
      -./00/1-1232ÿ7CEVILÿIDLJTÿCD\Tÿ9ÿR5[<8[;ÿLCÿ^K_GFLJKLIÿeOH_IÿMG\IHWÿUNFX
                   U8DLIJIH@ÿ-./03/1-12X
      -./03/1-12 ÿ;NIÿi-ÿHKTÿHIKH\GDIÿNKFÿIjBGJIHWÿRKFIÿNKFÿSIIDÿJIKFFG_DIHÿLCÿK
                   7GFLJGELÿeOH_IWÿ[CÿPCJIÿDCLGEIÿCMÿKaKG\KSG\GLTÿCJÿKFFG_DPIDLÿkG\\
                   SIÿFIDLÿCOLWÿRCDFIDLÿHIKH\GDIUFXÿLIJPIHWÿUNFX
      -./03/1-12 ÿ75Rl8;ÿ8[;6?ÿ[5;:R8ÿCMÿRKFIÿ[OPSIJÿRNKD_IQÿRKFI
                   JIKFFG_DIHÿLCÿeOH_Iÿ>ÿmTDDÿfGDPG\\ÿMCJÿK\\ÿMOJLNIJÿBJCEIIHGD_FW
                   A<ÿ^K_GFLJKLIÿeOH_IÿRKDHTÿfÿ7K\IÿDCÿ\CD_IJÿKFFG_DIHÿLCÿEKFIW
                   ]\IKFIÿOFIÿLNGFÿEKFIÿDOPSIJÿCDÿK\\ÿMOLOJIÿB\IKHGD_FQÿ0@129Ea9
                   1in9>mfÿUNFX
      -./0i/1-1233ÿ866Z;ZÿSTÿ]\KGDLGMMFÿeKDIÿ7CIQÿeCKDÿ7CIQÿeCNDÿ7CIQÿ]KPÿ]CIQ
                   ]IDDTÿ]CIQÿ]ILIJÿ]CIÿJIÿ21ÿ^5;:5[ÿMCJÿ]JI\GPGDKJTÿ:DdODELGCD
                   opqrstusvvwxÿz{us|}ÿ{vÿ~rurÿ}rstÿ}|qrrus{twÿ{vÿ
                     swust}ÿrÿrtÿÿrrÿ{tt}qqÿuwÿÿW
                   UZLLKENPIDLF@ÿÿ0ÿ8jBIJLÿ7IE\KJKLGCDÿCMÿRNJGFLGDIÿ>JKHTQÿ]N7Qÿ
                   1ÿ8jBIJLÿ7IE\KJKLGCDÿCMÿlKJKÿRCDDI\\TQÿ^7XUlCJSIJ_QÿZ\IjGKX
      -./12/1-123bÿ[5;:R8ÿSTÿADGLIHÿ<LKLIFÿCMÿZPIJGEKÿJIÿ21ÿ^5;:5[ÿMCJ
                   ]JI\GPGDKJTÿ:DdODELGCDÿuru}}tuÿ{vÿtu}}wuÿUfCTENGEVQ
                   [GENC\KFX
      -./12/1-123iÿ[5;:R8ÿCMÿZBBIKJKDEIÿSTÿ6KMKI\ÿeCNDÿ7JC`ÿCDÿSINK\MÿCM
                   :DHGaGHOK\ÿ^IPSIJFÿCMÿLNIÿ:HKNCÿRCHIÿRCPPGFFGCDQÿ6KO\
                   mKSJKHCJÿU7JC`Qÿ6KMKI\X
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1057   7)17,
(123 of 130), Page 123 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 123 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      -./01/0-0123ÿ56789:ÿ;<ÿ=>>?@A@BC?ÿDEÿF@G?Hÿ:IJ@AIÿK;BA;?ÿ9A@LMÿ;B
                   D?N@O<ÿ;<ÿ8BILPLIQ@OÿK?GD?AHÿ;<ÿRN?ÿ8I@N;ÿ9;I?ÿ9;GGLHHL;BS
                   T@QOÿU@DA@I;AÿV9A@LMSÿF@G?HW
      -./0X/0-012.ÿK67865ÿY6TÿZT6ÿ[=9ÿ\89:ÿ=ZZ:=T=59:ÿDEÿF;NBÿ]^
                   T@G?A^ÿVÿYLOLBMÿ<??ÿ_ÿ0X-ÿA?C?L>RÿBQGD?Aÿ=8]]9`
                   0abcbb2^WULBC;OBÿ]@PLHÿdLOH;Bÿ@>>?@ALBMÿ<;Aÿ]?<?BI@BRH
                   8BILPLIQ@OÿK?GD?AHÿ;<ÿRN?ÿ8I@N;ÿ9;I?ÿ9;GGLHHL;BSÿT@QO
                   U@DA@I;A^ÿT?H>;BH?HÿIQ?ÿDEÿc/bX/0-01ÿVdLOH;BSÿULBC;OBW
      -./0X/0-012cÿK67865ÿY6TÿZT6ÿ[=9ÿ\89:ÿ=ZZ:=T=59:ÿDEÿ]@PLIÿ[^
                   7N;G>H;B^ÿVÿYLOLBMÿ<??ÿ_ÿ0X-ÿA?C?L>RÿBQGD?Aÿ=8]]9`
                   0abcbbc^WULBC;OBÿ]@PLHÿdLOH;Bÿ@>>?@ALBMÿ<;Aÿ]?<?BI@BRH
                   8BILPLIQ@OÿK?GD?AHÿ;<ÿRN?ÿ8I@N;ÿ9;I?ÿ9;GGLHHL;BSÿT@QO
                   U@DA@I;A^ÿT?H>;BH?HÿIQ?ÿDEÿc/bX/0-01ÿVdLOH;BSÿULBC;OBW
      -./0X/0-01X-ÿK67865ÿY6TÿZT6ÿ[=9ÿ\89:ÿ=ZZ:=T=59:ÿDEÿeAL@Bÿd^
                   e@AB?H^ÿVÿYLOLBMÿ<??ÿ_ÿ0X-ÿA?C?L>RÿBQGD?Aÿ=8]]9`
                   0abcb0a^WULBC;OBÿ]@PLHÿdLOH;Bÿ@>>?@ALBMÿ<;Aÿ]?<?BI@BRH
                   8BILPLIQ@OÿK?GD?AHÿ;<ÿRN?ÿ8I@N;ÿ9;I?ÿ9;GGLHHL;BSÿT@QO
                   U@DA@I;A^ÿT?H>;BH?HÿIQ?ÿDEÿc/bX/0-01ÿVdLOH;BSÿULBC;OBW
      -./0X/0-01XbÿK67865ÿR;ÿ]LHGLHHÿ<;AÿU@Cfÿ;<ÿFQALHILCRL;Bÿ]@ER;BÿZ@RALCf
                   T??Iÿ@>>?@ALBMÿ<;Aÿ]?<?BI@BRÿF@BÿKÿe?BB?RRH^ÿT?H>;BH?HÿIQ?
                   DEÿc/bX/0-01ÿV=RR@CNG?BRHgÿhÿbÿK?G;A@BIQGÿLBÿiQ>>;ARW
                   VT??ISÿ]@ER;BW
      -./0./0-01X0ÿ]69j:7ÿ:57Tkÿ6T]:Tÿ@>>A;PLBMÿ2.ÿSÿ2cÿ@BIÿX-ÿK;RL;B
                   <;AÿZA;ÿ[@Cÿ\LC?ÿ=>>?@A@BC?ÿ;<ÿ@RR;AB?EÿF;NBÿ]^ÿT@G?ASÿ]@PLI
                   [^ÿ7N;G>H;Bÿ@BIÿeAL@Bÿd^ÿe@AB?Hÿ<;Aÿ8BILPLIQ@OÿK?GD?AHÿ;<
                   RN?ÿ8I@N;ÿ9;I?ÿ9;GGLHHL;Bÿ@BIÿT@QOÿU@DA@I;A^ÿZ?AÿU;C@OÿTQO?
                   .1^2V?WSÿ;QR̀;<`HR@R?ÿC;QBH?OÿHN@OOÿLGG?IL@R?OEÿA?MLHR?Aÿ<;Aÿ:9Y^
                   V5;RLC?ÿH?BRÿR;ÿ9K/:9YÿT?MLHRA@RL;Bÿ9O?AfWÿVC@QH?IÿR;ÿD?
                   G@LO?IÿR;ÿB;BÿT?MLHR?A?IÿZ@ARLCL>@BRHÿ@RÿRN?ÿ@IIA?HH?HÿOLHR?Iÿ;B
                   RN?ÿ5;RLC?ÿ;<ÿ:O?CRA;BLCÿYLOLBMÿV5:YWÿDEÿVlIW
      -./1-/0-01X1ÿ56789:ÿ;<ÿ=>>?@A@BC?ÿDEÿ]@PLIÿ=GL@DO?ÿ]?T;LBÿ;BÿD?N@O<ÿ;<
                   =OOÿZO@LBRL<<HÿV]?T;LBSÿ]@PLIW
      -./1b/0-01X2ÿ]69j:7ÿ:57Tkÿ56789:ÿ6Yÿ[:=T85mgÿ=ÿiR@RQH
                   9;B<?A?BC?ÿLHÿH?Rÿ<;Aÿc/X/0-01ÿ@Rÿbbg1-ÿ=KÿK;QBR@LBÿ7LG?ÿPL@
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1058   7717,
(124 of 130), Page 124 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 124 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -../ÿ123.42ÿ56782ÿ9ÿ:;<<ÿ=></>??@ÿAÿ-../ÿ?><BÿC>??ÿ12
                   D4.E>727ÿ1;ÿF2DG4GH2ÿ<.H>3>IGH>.<@ÿJK?8L
      MNOMPOQMQRPPÿSTSUVAWXYSÿ><ÿUDD.F>H>.<ÿ42ÿRQÿSUZ[UWÿ3.4
                   \42?>/><G4;ÿ[<K6<IH>.<ÿ3>?27ÿ1;ÿ5G<ÿSÿ92<<2HHF@ÿV2D?>2Fÿ762ÿ1;
                   NO]NOQMQR@JV227^ÿXG;H.<L
      MNOMPOQMQRP_ÿSTSUVAWXYSÿ><ÿUDD.F>H>.<ÿ42ÿRQÿSUZ[UWÿ3.4
                   \42?>/><G4;ÿ[<K6<IH>.<ÿ̀abÿdaÿefgghijÿhkÿlhjmhaÿjhÿnmopmoo
                   3>?27ÿ1;ÿ[<7>E>76G?ÿS2/124Fÿ.3ÿHq2ÿ[7Gq.ÿr.72ÿr.//>FF>.<^
                   VG6?ÿ:G14G7.4@ÿV2D?>2Fÿ762ÿ1;ÿNO]NOQMQR@ÿJAHHGIq/2<HFsÿtÿ]
                   Tuq>1>HÿAÿvÿX4@ÿr.<<2?;ÿX2D.F>H>.<ÿZ4G<FI4>DH^ÿtÿQÿTuq>1>Hÿ9ÿv
                   X4@ÿ94G7;ÿX2D.F>H>.<ÿZ4G<FI4>DH^ÿtÿRÿX2I?G4GH>.<ÿ.3ÿX4@ÿXG<>2?
                   =2>FF^ÿtÿwÿX2I?G4GH>.<ÿ.3ÿX4@ÿ5G/2FÿrG<H.4^ÿtÿPÿ=[ZxXVA=W
                   vÿX2I?G4GH>.<ÿ.3ÿX4@ÿ=>??>G/ÿSG?.<2LJ=>?F.<^ÿ:><I.?<L
                   S.7>3>27ÿ.<ÿ]MOQOQMQR^ÿF22ÿ.4724ÿ2<H2427ÿ]MOQOQRÿJK7L@
      MNOMPOQMQRPyÿSUZ[UWÿH.ÿX>F/>FFÿ:><I.?<ÿXGE>Fÿ=>?F.<ÿGDD2G4><8ÿ3.4
                   X232<7G<HFÿ[<7>E>76G?ÿS2/124Fÿ.3ÿHq2ÿ[7Gq.ÿr.72ÿr.//>FF>.<^
                   VG6?ÿ:G14G7.4@ÿV2FD.<F2Fÿ762ÿ1;ÿNOQ_OQMQRÿJ=>?F.<^ÿ:><I.?<L
      MNOMPOQMQRPzÿSTSUVAWXYSÿ><ÿ{6DD.4Hÿ42ÿPyÿSUZ[UWÿH.ÿX>F/>FFÿ3>?27
                   1;ÿ[<7>E>76G?ÿS2/124Fÿ.3ÿHq2ÿ[7Gq.ÿr.72ÿr.//>FF>.<^ÿVG6?
                   :G14G7.4@J=>?F.<^ÿ:><I.?<L
      MNOMPOQMQRPNÿX.IB2HÿZ2uHÿS><6H2ÿT<H4;ÿ3.4ÿD4.I227><8Fÿq2?7ÿ123.42ÿ56782ÿ9
                   :;<<ÿ=></>??sÿA<ÿ><3.4/G?ÿ{HGH6Fÿr.<3242<I2ÿCGFÿq2?7ÿE>G
                   -../ÿ.<ÿNOPOQMQR@ÿADD2G4G<I2Fsÿ:>ÿW.C?><v{.q?ÿ.<ÿ12qG?3ÿ.3
                   \?G><H>33F@ÿ:><I.?<ÿ=>?F.<ÿ.<ÿ12qG?3ÿ.3ÿX232<7G<HÿVG6?
                   :G14G7.4@ÿXG;H.<ÿV227ÿ.<ÿ12qG?3ÿ.3ÿX232<7G<Hÿ5G<ÿ92<<2HHF@
                   Zq2ÿr.64HÿF2HÿGÿq2G4><8ÿ.<ÿHq2ÿ3.??.C><8ÿ/.H>.<FsÿRQÿSUZ[UW
                   3.4ÿ\42?>/><G4;ÿ[<K6<IH>.<^ÿP]ÿSUZ[UWÿH.ÿX>F/>FFÿ3.4ÿ:GIBÿ.3
                   564>F7>IH>.<^ÿG<7ÿPyÿSUZ[UWÿH.ÿX>F/>FF@ÿZq2ÿS.H>.<ÿx2G4><8
                   >FÿF2Hÿ3.4ÿ]]O_OQMQRÿGHÿ]sRMÿ\Sÿ><ÿ9.>F2ÿvÿr.64H4../ÿRÿ123.42
                   56782ÿ9ÿ:;<<ÿ=></>??@ÿx2G4><8ÿW.HÿV2I.4727@ÿJZ>/2sÿ]]sRNÿv
                   ]]sPQÿG@/@LÿJK?8LÿJT<H2427sÿMNOMyOQMQRL
      MNO]POQMQR_MÿSTSUVAWXYSÿ><ÿUDD.F>H>.<ÿ42ÿP]ÿSUZ[UWÿH.ÿX>F/>FFÿ3.4
                   :GIBÿ.3ÿ564>F7>IH>.<ÿ3>?27ÿ1;ÿ5G<2ÿX.2^ÿ5.G<ÿX.2^ÿ5.q<ÿX.2^
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1059   7017,
(125 of 130), Page 125 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 125 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./ÿ-123ÿ-2445ÿ-123ÿ-2627ÿ-128ÿ92:;<2=ÿ>?2ÿ@5ÿABCABCDCE8
                   F-.7=14=3ÿG.=25H
      DABCIBCDCEJIÿ9KL-MNLKÿ61ÿO16<14ÿ72ÿPQÿOMRSMNÿ61ÿT<=/<==ÿU<;2>ÿ@5ÿV.42
                   T123ÿV1.4ÿT123ÿV1W4ÿT123ÿ-./ÿ-123ÿ-2445ÿ-123ÿ-2627ÿ-128
                   92:;<2=ÿ>?2ÿ@5ÿIDBPBCDCE8FX17@27Y3ÿZ;2[<.H
      DABCQBCDCEJCÿLRS-\]ZRSMNÿ72ÿPJÿO2/17.4>?/ÿ<4ÿM::1=<6<14ÿ61ÿO16<143
                   ECÿOMRSMNÿU17ÿ-72;</<4.75ÿS4^?4_6<14ÿ̀abÿd`eafeghÿijkalmnao
                   im``apnqoÿrglÿis̀eteghÿufÿvajnr`rseugÿufÿvẁÿxrnugaÿ@5ÿV.42
                   T123ÿV1.4ÿT123ÿV1W4ÿT123ÿ-./ÿ-123ÿ-2445ÿ-123ÿ-2627ÿ-128
                   FK::<4y3ÿ9<_W.7>H
      DABCABCDCEJEÿK99ZRZÿ@5ÿ-;.<46<UU=ÿV.42ÿT123ÿV1.4ÿT123ÿV1W4ÿT123ÿ-./ÿ-123
                   -2445ÿ-123ÿ-2627ÿ-12ÿ8ÿFZ66._W/246=zÿ{ÿIÿK77.6.HF-.7=14=3
                   G.=25H
      DABCABCDCEJ|ÿ9K-]}ÿ61ÿ92=:14=2ÿ61ÿO16<14ÿ72ÿPIÿOMRSMNÿ61ÿT<=/<==ÿU17
                   ]._yÿ1UÿV?7<=><_6<14ÿU<;2>ÿ@5ÿV.4ÿOÿ~244266=8O16<14ÿ9<:2
                   T2.>;<42ÿ=26ÿU17ÿIDBCBCDCE8F922>3ÿT.5614H
      IDBDCBCDCEJPÿOKOM9ZNT\Oÿ<4ÿM::1=<6<14ÿ72ÿECÿOMRSMNÿU17
                   -72;</<4.75ÿS4^?4_6<14ÿU<;2>ÿ@5ÿS4><<>?.;ÿO2/@27=ÿ1Uÿ6W2ÿS>.W1
                   G1>2ÿG1//<==<143ÿ9.?;ÿ].@7.>178ÿ92:;<2=ÿ>?2ÿ@5ÿIDBIJBCDCE8
                   F<;=143ÿ]<4_1;4H
      IDBDCBCDCEJJÿOKOM9ZNT\Oÿ<4ÿL?::176ÿ72ÿPQÿOMRSMNÿ61ÿT<=/<==ÿU<;2>
                   @5ÿS4><<>?.;ÿO2/@27=ÿ1Uÿ6W2ÿS>.W1ÿG1>2ÿG1//<==<143ÿ9.?;
                   ].@7.>178F<;=143ÿ]<4_1;4H
      IDBDCBCDCEJQÿM9TK9ÿOMTS}SNÿTKZT]SNKL3ÿLR9SXSN
                   TKG]Z9ZRSMNÿZNTÿ9ZNRSNÿL\99K-]}ÿÿL<Y42>ÿ@5
                   V?>Y2ÿ~ÿ]544ÿ<4/<;;8ÿF_.?=2>ÿ61ÿ@2ÿ/.<;2>ÿ61ÿ414ÿ92Y<=6272>
                   -.76<_<:.46=ÿ.6ÿ6W2ÿ.>>72==2=ÿ;<=62>ÿ14ÿ6W2ÿN16<_2ÿ1UÿK;2_6714<_
                   <;<4YÿFNKHÿ@5ÿF^>H
      IDBDCBCDCE ÿL26B92=26ÿT2.>;<42=ÿ.=ÿ61ÿECÿOMRSMNÿU17ÿ-72;</<4.75
                   S4^?4_6<14ÿ8ÿ92=:14=2=ÿ>?2ÿ@5ÿIDBCBCDCE8ÿ92:;<2=ÿ>?2ÿ@5
                   IDBIEBCDCE8ÿL?772:;5ÿ>?2ÿIDBCQBCE8ÿF^>H
      IDBDPBCDCEJÿ9K-]}ÿ61ÿ92=:14=2ÿ61ÿO16<14ÿ72ÿPQÿOMRSMNÿ61ÿT<=/<==ÿU<;2>
                   @5ÿS4><<>?.;ÿO2/@27=ÿ1Uÿ6W2ÿS>.W1ÿG1>2ÿG1//<==<143ÿ9.?;
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1060   7*17,
(126 of 130), Page 126 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 126 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./0.1203425627ÿ96:;ÿ<;.1=67;ÿ>;5ÿ?20ÿ@ABCBDADE3FG6=>27H
                   -67I2=7J
      @ABACBDADECKÿLMNOPQÿ/RÿO716S61T.=ÿ4;U/;0>ÿ2?ÿ5V;ÿO1.V2ÿP21;
                   P2UU6>>627Hÿ9.T=ÿ-./0.120ÿWXÿZ[\]^_`a`bÿWXÿcWdefgbÿFG6=>27H
                   -67I2=7J
      @AB@EBDADEhAÿ9Qi-jÿ52ÿ9;>:27>;ÿ52ÿ425627ÿ0;ÿEDÿ4MNOMLÿ?20ÿi0;=6U67.0R
                   O7kT7I5627ÿ?6=;1ÿ/Rÿl.7;ÿ<2;Hÿl2.7ÿ<2;Hÿl2V7ÿ<2;Hÿi.Uÿi2;H
                   i;77Rÿi2;Hÿi;5;0ÿi2;3425627ÿ96:;ÿ<;.1=67;ÿ>;5ÿ?20ÿ@AB@CBDADE3
                   Fm55.IVU;75>nÿoÿ@ÿ<;I=.0.5627ÿ2?ÿm=;p6.ÿ<3ÿq20/;0rHÿoÿD
                   9;/T55.=ÿ<;I=.0.5627ÿ2?ÿq.0.ÿP277;==RHÿoÿEÿ9;/T55.=ÿ<;I=.0.5627
                   2?ÿPV06>567;ÿs0.1RHÿoÿtÿ9;/T55.=ÿ<;I=.0.5627ÿ2?ÿl.IuÿNT0/.7J
                   Fq20/;0rHÿm=;p6.J
      @ABDhBDADEh@ÿ9Qi-jÿ0;ÿhAÿ9;:=Rÿ52ÿ9;>:27>;ÿ52ÿ425627Hÿ?6=;1ÿ/RÿO716S61T.=
                   4;U/;0>ÿ2?ÿ5V;ÿO1.V2ÿP21;ÿP2UU6>>627Hÿ9.T=ÿ-./0.120
                   vd__gwbxÿygz`_^[ezÿ\]gÿ{g|b̀_`\[WeÿWXÿ{_}ÿ~`|ÿd_`e3ÿFP0.6rH
                   l.U;>J
      @ABDhBDADEhDÿQ99mNmÿ/Rÿ<;?;71.75>ÿO716S61T.=ÿ4;U/;0>ÿ2?ÿ5V;ÿO1.V2ÿP21;
                   P2UU6>>627Hÿ9.T=ÿ-./0.120ÿ0;ÿh@ÿ9;:=RÿFr;7;06IJÿvd__gwbx
                   ygz`_^[ezÿ\]gÿ{g|b̀_`\[WeÿWXÿ{_}ÿ~`|ÿd_`e3ÿFm55.IVU;75>nÿo
                   @ÿQpV6/65ÿmÿÿN0.7>I06:5ÿ2?ÿ<;:2>65627ÿ2?ÿ<03ÿl.IuÿNT0/.7JF<02H
                   9.?.;=J
      @@BADBDADEhEÿLMNOPQÿ/Rÿl.7;ÿ<2;Hÿl2.7ÿ<2;Hÿl2V7ÿ<2;Hÿi.Uÿi2;Hÿi;77R
                   i2;Hÿi;5;0ÿi2;ÿ0;ÿC@ÿ9;>:27>;ÿ52ÿ425627HÿCEÿQ00.5.ÿW\[|gÿWX
                   vdwwbgge\`bÿd\]W_[\xÿFm55.IVU;75>nÿoÿ@ÿK5VÿP60ÿM:67627J
                   Fq20/;0rHÿm=;p6.J
      @@BADBDADEhtÿLMNOPQÿ/Rÿl.7;ÿ<2;Hÿl2.7ÿ<2;Hÿl2V7ÿ<2;Hÿi.Uÿi2;Hÿi;77R
                   i2;Hÿi;5;0ÿi2;ÿ0;ÿhDÿQ00.5.HÿCÿ4;U20.71TUÿ67ÿM::2>65627ÿ52
                   425627HHÿEDÿ4MNOMLÿ?20ÿi0;=6U67.0RÿO7kT7I5627ÿHÿh@ÿ9;:=R
                   Fr;7;06IJÿW\[|gÿWXÿ{gwWf[\[Weÿ__`\`ÿ̀e^ÿ_`ef|_[w\
                   Fm55.IVU;75>nÿoÿ@ÿQ00.5.ÿ52ÿ<;:2>65627ÿ2?ÿPV06>567;ÿs0.1RH
                   iV3<3HÿoÿDÿP2U:=;5;ÿN0.7>I06:5ÿ2?ÿ<;:2>65627ÿ2?ÿl.IuÿNT0/.7H
                   43<3Hÿ4HÿoÿEÿQ00.5.ÿ52ÿ<;:2>65627ÿ2?ÿl.IuÿNT0/.7Hÿ43<3H
                   4JF4.RHÿiV6=6:J
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1061   7317,
(127 of 130), Page 127 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 127 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      --./0.1/1234ÿ6789:;ÿ<8:=>ÿ?@=ÿA=@B;;C78DEÿF;GCÿH;?@=;ÿI9CD;ÿJÿK>88
                   L78M7GGNÿOÿ6@:7@8ÿP;Q=78DÿRQEÿF;GCÿ@8ÿ--.0.1/12ÿ=;ÿ21
                   6STUSVÿ?@=ÿW=;G7M78Q=>ÿU8X98B:7@8Yÿ4-ÿ6STUSVÿ:@ÿZ7EM7EE
                   ?@=ÿKQB[ÿ@?ÿI9=7EC7B:7@8YÿQ8Cÿ43ÿ6STUSVÿ:@ÿZ7EM7EE\ÿOÿR=7::;8
                   C;B7E7@8ÿ7Eÿ?@=:FB@M78D\ÿ]^@9=:ÿ_;A@=:;=ÿTQMM>ÿP@F;8G;7:8;=\`
                   ]XGD`ÿ]<8:;=;CNÿ--./a.1/12`
      -1.--.1/1230ÿV@:7B;ÿ@?ÿb7G78Dÿ@?ÿS??7B7QGÿT=Q8EB=7A:ÿ@?ÿW=@B;;C78DEÿF;GCÿ@8
                   --.0.12ÿH;?@=;ÿI9CD;ÿJ\ÿK>88ÿL78M7GG\ÿ^@9=:ÿ_;A@=:;=ÿTQMQ=Q
                   P@F;8G;7:8;=Yÿ<MQ7Gÿ:QMM>cF@F;8G;7:8;=d7C\9EB@9=:E\D@e\
                   T=Q8EB=7A:ÿMQ>ÿH;ÿe7;R;CÿQ:ÿ:F;ÿB@9=:ÿA9HG7Bÿ:;=M78QGÿ@=
                   A9=BFQE;Cÿ:F=@9DFÿ:F;ÿ^@9=:ÿ_;A@=:;=ÿH;?@=;ÿ:F;ÿC;QCG78;ÿ?@=
                   _;G;QE;ÿ@?ÿT=Q8EB=7A:ÿ_;E:=7B:7@8\ÿO?:;=ÿ:FQ:ÿCQ:;ÿ7:ÿMQ>ÿH;
                   @H:Q78;Cÿ:F=@9DFÿWO^<_\ÿTF7Eÿ:=Q8EB=7A:ÿ7Eÿ8@:ÿQeQ7GQHG;ÿ:@ÿ:F;
                   D;8;=QGÿA9HG7BÿQ8CÿQEÿE9BFÿ7EÿE;QG;Cÿ98:7Gÿ=;G;QE;ÿ@?ÿ:=Q8EB=7A:
                   =;E:=7B:7@8ÿ=;ÿ34ÿ6@:7@8ÿP;Q=78D\ÿ_;CQB:7@8ÿ_;f9;E:ÿC9;
                   -.-.1/1g\ÿ_;CQB:;CÿT=Q8EB=7A:ÿZ;QCG78;ÿE;:ÿ?@=ÿ-.--.1/1g\
                   _;G;QE;ÿ@?ÿT=Q8EB=7A:ÿ_;E:=7B:7@8ÿE;:ÿ?@=ÿ2.--.1/1g\ÿ]:F`
      -1.-g.1/1233ÿVSTU^<ÿH>ÿIQ8;ÿZ@;YÿI@Q8ÿZ@;YÿI@F8ÿZ@;YÿWQMÿW@;YÿW;88>
                   W@;YÿW;:;=ÿW@;ÿhiÿklmnopqrqsÿhiÿthuvwxsÿyzq{shpÿ|phrv}
                   ]<AA78[Yÿ_7BFQ=C`
      -1.10.1/123aÿ6<6S_OVZ~6ÿZ<^UUSVÿÿS_Z<_ÿ78ÿRF7BFÿUTÿU
                   S_Z<_<Zÿ:FQ:ÿ]-`ÿW=@E;B9:@=ÿJ;88;::Eÿ6@:7@8ÿ:@ÿZ7EM7EE
                   ]Z[:\ÿ4-`ÿ7EÿZ<VU<Zÿ]1`ÿO::@=8;>ÿ;8;=QGÿKQH=QC@=ÿQ8Cÿ:F;
                   UCQF@ÿ^@C;ÿ^@MM7EE7@8ÿ6;MH;=Eÿ6@:7@8ÿ:@ÿZ7EM7EEÿ]Z[:\ÿ43`
                   7Eÿ_OVT<Zÿ78ÿAQ=:ÿQ8CÿZ<VU<Zÿ78ÿAQ=:ÿQEÿ?@GG@RENÿTF;
                   M@:7@8ÿ7Eÿ_OVT<ZÿQEÿ:@ÿ:F;ÿUCQF@ÿ^@C;ÿ^@MM7EE7@8
                   C;?;8CQ8:EÿQ8CÿZ<VU<ZÿQEÿ:@ÿZ;?;8CQ8:ÿO::@=8;>ÿ;8;=QG
                   KQH=QC@=ÿQ8Cÿ]2`ÿWGQ78:7??Eÿ6@:7@8ÿ?@=ÿQÿW=;G7M78Q=>ÿU8X98B:7@8
                   ]Z[:\ÿ21`ÿ7Eÿ_OVT<Z\ÿOBB@=C78DG>YÿZ;?;8CQ8:EÿO::@=8;>
                   ;8;=QGÿKQH=QC@=ÿQ8CÿOCQÿ^@98:>ÿW=@E;B9:@=ÿJ;88;::EÿQ8Cÿ:F;7=
                   E9BB;EE@=Eÿ78ÿ@??7B;ÿQ=;ÿ;8X@78;Cÿ?=@Mÿ;8?@=B78DÿQ8>ÿA=@e7E7@8
                   @?ÿP@9E;ÿJ7GGÿ3-ÿC9=78Dÿ:F;ÿA;8C;8B>ÿ@?ÿ:F7EÿG7:7DQ:7@8\ÿ7D8;C
                   H>ÿI9CD;ÿJÿK>88ÿL78M7GGÿ]BQ9E;Cÿ:@ÿH;ÿMQ7G;Cÿ:@ÿ8@8
                   _;D7E:;=;CÿWQ=:7B7AQ8:EÿQ:ÿ:F;ÿQCC=;EE;EÿG7E:;Cÿ@8ÿ:F;ÿV@:7B;ÿ@?
                   <G;B:=@87Bÿb7G78Dÿ]V<b`ÿH>ÿ]MGE`
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1062   7217,
(128 of 130), Page 128 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 128 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      -./-0/1-1234ÿ6789:;ÿ7<ÿ=>>;=?ÿ@AB:=ÿ12C.21DÿEFÿGHIJÿ?HEKHLMKNÿ<OJOPQ
                   <RRÿSIRNÿTÿU-VWÿKRXROYZÿPI[ERKÿ=9SS:C1U\12\.Nÿ@6MZOXRÿ]RPZ
                   ZMÿ:MIKZÿGRYMKZRKÿ^ÿ4Z_ÿ:OKDÿ@:KHOQWÿ̀H[R]DÿaMLObORLÿMP
                   ./4/1-12ÿZMÿHLLÿAB:=ÿXH]RÿPI[ERK@_]DN
      -./-0/1-12\-ÿ;[RKQRPXFÿa78976ÿZMÿBZHFÿKRÿ3\ÿ7KLRKÿMPÿaMZOMPÿbMK
                   >KRJO[OPHKFÿ9PcIPXZOMPWWWWÿ7KLRKÿMPÿaMZOMPÿZMÿSO][O]]/?HXdÿMb
                   `IKO]LOXZOMPWWWWWWWÿ̀H[R]ÿ;LeHKLÿaMPKMRÿ:KHOQÿHYYRHKOPQÿbMK
                   SRbRPLHPZÿGHIJÿ?HEKHLMKNÿGR]YMP]R]ÿLIRÿEFÿ./12/1-12
                   @=ZZHX_[RPZ]fÿgÿ.ÿaR[MKHPLI[ÿOPÿBIYYMKZÿMbÿ;[RKQRPXF
                   aMZOMPÿZMÿBZHFÿ>RPLOPQÿ=YYRHJD@:KHOQWÿ̀H[R]D
      -./-0/1-12\.ÿa78976ÿZMÿ;hYRLOZRÿ̀H[R]ÿ;LeHKLÿaMPKMRÿ:KHOQÿHYYRHKOPQ
                   bMKÿSRbRPLHPZÿGHIJÿ?HEKHLMKNÿGR]YMP]R]ÿLIRÿEFÿ./12/1-12
                   @:KHOQWÿ̀H[R]D
      -./-2/1-12\1ÿS7:i;8ÿ;68Gjÿ7GS;GÿQKHPZOPQÿOPÿYHKZÿHPLÿLRPFOPQÿOPÿYHKZ
                   \.ÿaMZOMPÿZMÿ;hYRLOZRNÿ8_Rÿ:MIKZÿeOJJÿQKHPZÿZ_Rÿ[MZOMPÿZM
                   RhYRLOZRÿZMÿZ_RÿRhZRPZÿZ_HZÿOZÿeOJJÿYIZÿZ_RÿbMJJMeOPQÿEKORbOPQ
                   ]X_RLIJRÿOPÿYJHXRfÿ>JHOPZObb]kÿKR]YMP]RÿZMÿZ_RÿR[RKQRPXFÿ[MZOMP
                   ZMÿ]ZHFÿZ_RÿOPcIPXZOMPÿYRPLOPQÿHYYRHJÿ@bOJRLÿHZÿSdZNÿ\-Dÿ]_HJJÿER
                   LIRÿMPÿ̀HPIHKFÿ.-Wÿ1-12ÿHZÿUf0-ÿYN[NÿaMIPZHOPÿ8O[RNÿSRbRPLHPZ
                   ?HEKHLMKk]ÿMYZOMPHJÿKRYJFWÿObÿHPFWÿ]_HJJÿERÿbOJRLÿEFÿ̀HPIHKFÿ.1W
                   1-12Nÿ8_Rÿ:MIKZÿeOJJÿKR]MJlRÿZ_Rÿ[MZOMPÿH]ÿmIOXdJFÿH]ÿYM]]OEJR
                   HbZRKÿOZÿKOYRP]WÿZ_MIQ_ZÿOZÿXHPPMZÿQIHKHPZRRÿHÿKIJOPQÿEFÿ̀HPIHKF
                   .3Wÿ1-12ÿH]ÿ_H]ÿERRPÿKRmIR]ZRLNÿ98ÿ9BÿB7ÿ7GS;G;SNÿBOQPRLÿEF
                   `ILQRÿnNÿ?FPPÿoOP[OJJÿ@XHI]RLÿZMÿERÿ[HOJRLÿZMÿPMPÿGRQO]ZRKRL
                   >HKZOXOYHPZ]ÿHZÿZ_RÿHLLKR]]R]ÿJO]ZRLÿMPÿZ_Rÿ6MZOXRÿMbÿ;JRXZKMPOX
                   <OJOPQÿ@6;<DÿEFÿ@[J]D
      -./-4/1-12\0ÿAB:=ÿ:H]Rÿ6I[ERKÿ12C.21ÿbMKÿ34ÿ6MZOXRÿMbÿ=YYRHJÿbOJRLÿEF
                   GHIJÿ?HEKHLMKNÿ@_]D
      -./-4/1-12\2ÿAB:=ÿ12C.21ÿBX_RLIJOPQÿ7KLRKÿH]ÿZMÿ34ÿ6MZOXRÿMbÿ=YYRHJÿbOJRL
                   EFÿGHIJÿ?HEKHLMKNÿ@6MZOXRÿ]RPZÿEFÿRC[HOJÿZMÿ:MIKZÿGRYMKZRKDÿ@_]D
      -./.-/1-12\VÿG;B>76B;ÿZMÿaMZOMPÿKRÿ\-ÿ;[RKQRPXFÿa78976ÿZMÿBZHFÿKRÿ3\
                   7KLRKÿMPÿaMZOMPÿbMKÿ>KRJO[OPHKFÿ9PcIPXZOMPWWWWÿ7KLRKÿMPÿaMZOMP
                   ZMÿSO][O]]/?HXdÿMbÿ̀IKO]LOXZOMPWWWWWWWÿpqrstusvvwxÿz{x|}tx{ÿu}
                   ~{v{trtuÿrr}wxÿ{{tÿ}us}tÿ}ÿurÿ}vÿttus}t
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1063   7(17,
(129 of 130), Page 129 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 129 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
                   -./01/2ÿ455.67ÿ89:;<ÿ=><ÿ?@AÿCDEFGÿHIÿJKLFÿMNFOÿJNKLÿMNFOÿJNPL
                   MNFOÿQKRÿQNFOÿQFLLIÿQNFOÿQFSFTÿQNFUÿVFWEDFXÿGYFÿHIÿZ[\][\^\]U
                   _MFVNDLOÿMK`DGa
      ^Z[Z\[\^\]bcÿdVefghViQdÿVjkljgdÿ9.m12/6;1>/ÿn>opÿHIÿVKYEÿqKHTKGNT
                   CNTÿWTNrFFGDLsXÿPFEGÿNLÿZZ[^c[\^\tÿHFCNTFÿJYGsFÿuUÿqILL
                   vDLRDEEUUÿ_hTKDsOÿJKRFXa
      ^Z[Z\[\^\]bwÿVjQqxÿSNÿVFXWNLXFÿSNÿyNSDNLÿTFÿb^ÿjRFTsFLrIÿyzdizfÿSN
                   gSKIÿTFÿwbÿzTGFTÿNLÿyNSDNLÿCNTÿQTFEDRDLKTIÿiL{YLrSDNLOOOOÿzTGFT
                   NLÿyNSDNLÿSNÿMDXRDXX[qKr|ÿNCÿJYTDXGDrSDNLOOOOOOOÿCDEFGÿHIÿVKYE
                   qKHTKGNTUyNSDNLÿVDWFÿMFKGEDLFÿXFSÿCNTÿZ[Zc[\^\]U_hTKDsOÿJKRFXa
      ^Z[Zc[\^\]bbÿyjyzVefMlyÿMjhigizfÿefMÿzVMjVÿ}ÿMFCFLGKLS
                   eSSNTLFIÿ~FLFTKEÿqKHTKGNTXÿjRFTsFLrIÿyNSDNLÿCNTÿKÿgSKI
                   QFLGDLsÿeWWFKEÿ_M|SUÿb^ÿaÿDXÿMjfijMUÿgDsLFGÿHIÿgFLDNTÿJYGsF
                   uUÿqILLÿvDLRDEEUÿ_rKYXFGÿSNÿHFÿRKDEFGÿSNÿLNLÿVFsDXSFTFG
                   QKTSDrDWKLSXÿKSÿSPFÿKGGTFXXFXÿEDXSFGÿNLÿSPFÿfNSDrFÿNCÿjEFrSTNLDr
                   DEDLsÿ_fjaÿHIÿ_{Ga
      ^Z[Z[\^\]^ÿzVMjVÿNCÿlgheÿ\]}Z]\ÿKXÿSNÿwÿfNSDrFÿNCÿeWWFKEÿCDEFGÿHI
                   VKYEÿqKHTKGNTÿ_PXaÿ_jLSFTFGÿ^Z[\\[\^\]a
      ^Z[\\[\^\]bÿMzhjdÿjfdVxÿfzdihjÿzÿjeVif~ÿeÿDGFNÿgSKSYX
                   hNLCFTFLrFÿDXÿXFSÿCNTÿ\[Z[\^\]ÿKSÿZ^t^ÿeyÿ_yNYLSKDLÿdDRFa
                   HFCNTFÿgFLDNTÿJYGsFÿuUÿqILLÿvDLRDEEUÿeÿNNRÿEDL|ÿDEEÿHF
                   WTN`DGFGÿWTDNTÿSNÿSPFÿGKSFÿNCÿSPFÿXSKSYXÿrNLCFTFLrFUÿ_{Esa
      ^Z[t^[\^\]ZÿzVMjVÿNCÿlgheÿ\]}Z]\ÿKXÿSNÿwÿfNSDrFÿNCÿeWWFKEÿCDEFGÿHI
                   VKYEÿqKHTKGNTÿ_PXa
      ^Z[tZ[\^\]\ÿMzhjdÿjfdVxÿfzdihjÿzÿjeVif~ÿeÿgSKSYX
                   hNLCFTFLrFÿDXÿXFSÿCNTÿ\[Z[\^\]ÿKSÿZ^t^ÿeyÿyNYLSKDLÿSDRFÿ̀DK
                     NNRÿHFCNTFÿgFLDNTÿJYGsFÿuUÿqILLÿvDLRDEEUÿhNYLXFEÿTFrFD̀FGÿK
                   `DGFNÿEDL|ÿ̀DKÿXFWKTKSFÿLNSDCDrKSDNLUÿyFRHFTXÿNCÿSPFÿWYHEDrÿRKI
                   YXFÿSPFÿCNEENDLsÿSNÿKSSFLGÿSPDXÿRKSSFTÿ̀DKÿeYGDNÿzfqxÿZ}cc}
                   \]}\\OÿyFFSDLsÿiMÿZcZÿ]tÿ^cc\OÿyFFSDLsÿQKXXrNGF
                   tw\tZUÿQFTXNLXÿsTKLSFGÿTFRNSFÿKrrFXXÿSNÿWTNrFFGDLsXÿKTF
                   TFRDLGFGÿNCÿSPFÿsFLFTKEÿWTNPDHDSDNLÿYLGFTÿCFGFTKEÿEKÿKLGÿqNrKE
                   VYEFÿbtUZÿKsKDLXSÿWPNSNsTKWPDLsOÿTFrNTGDLsOÿKLGÿTFHTNKGrKXSDLs
                   NCÿrNYTSÿWTNrFFGDLsXUÿ_{Esa
    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1064   7817,
(130 of 130), Page 130 of 130
                            Case: 24-142, 02/06/2024, DktEntry: 26.6, Page 130 of 130
    0121034ÿ0678ÿ9                                                   ÿÿÿÿ 1
      -./0./1-1230ÿ56789:ÿ9;:<=ÿ;6:>79ÿ6?ÿ@A7A:95ÿB9A<>;CDÿ:EF
                   GHIHJKÿ7LMNFOFMPFÿKPEFQJRFQÿNLOÿ?FSOJIOTÿ.Uÿ1-12ÿIHÿ.-D0-ÿIVWV
                   SFNLOFÿXJQYFÿZVÿ[TMMÿ\]MW]RRÿ]Kÿ@A7A:95Vÿ^_RY`
      -./0./1-1232ÿG:A=ÿ6<59<ÿaÿ>:ÿ>Gÿ6<59<95ÿHEIHDÿ:E]KÿWIHHFOÿ]KÿG:A=95
                   bFMQ]MYÿHEFÿ;]MHEÿ7]OPJ]HcKÿOFKLRJH]LMÿLNÿHEFÿAHHLOMFTÿCFMFOIRcK
                   bFMQ]MYÿIbbFIRUÿbOLd]QFQUÿELeFdFOUÿHEIHÿHE]Kÿ7LJOHcKÿ5FPFWSFO
                   1fUÿ1-10ÿbOFR]W]MIOTÿ]M_JMPH]LMÿKEIRRÿOFWI]Mÿ]MÿFNNFPHÿQJO]MYÿHEF
                   KHITVÿ:EFÿKHIHJKÿPLMNFOFMPFÿKPEFQJRFQÿNLOÿ?FSOJIOTÿ.Uÿ1-12ÿ]K
                   @A7A:95VÿG]YMFQÿSTÿGFM]LOÿXJQYFÿZVÿ[TMMÿ\]MW]RRVÿ^PIJKFQ
                   HLÿSFÿWI]RFQÿHLÿMLMÿ<FY]KHFOFQÿgIOH]P]bIMHKÿIHÿHEFÿIQQOFKKFK
                   R]KHFQÿLMÿHEFÿ;LH]PFÿLNÿ9RFPHOLM]Pÿ?]R]MYÿ^;9?`ÿSTÿ^EK`ÿ^9MHFOFQD
                   -1/-./1-12`

                                              hijklÿnopqrsoÿjotuop
                                                     vpwtxwsurytÿlosorzu
                                               -1/-{/1-12ÿ.2D.|D0}
                                   hijkl P]MQTFd]RRF jrotu
                                  I~yrt
                                               5L PFH
                                                      I    jyo
                                                           nowps
                                                                      IC JD
                                                                   .D10aPda
                                   oxsprzuryt<FbLOH jpruoprw --1f3a
                                   rwo 3
                                                                   Z[\ []□
                                  Ihwox             I    jyxu □
                                                          IC       -V3-




    6111 !"#1$%&'78(8320)(20(7*2!+7+)!7                              ER1065   7,17,
